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                             IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                            )
In re:                                                      ) Chapter 11
                                                            )
NEIMAN MARCUS GROUP LTD LLC, et al.1                        ) Case No. 20-32519 (DRJ)
                                                            )
                      Debtors.                              ) (Jointly Administered)
                                                            )

                                           CERTIFICATE OF SERVICE

       I, Victoria X. Tran, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned case.

        On June 28, 2021, at my direction and under my supervision, employees of Stretto caused
the following documents to be served via first-class mail on the service list attached hereto as
Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

     •     Certificate of No Objection to Liquidating Trustee’s Thirteenth Omnibus Objection
           to Claims (Books and Records Claims) (Docket No. 2574)

     •     Certificate of No Objection to Liquidating Trustee’s Fourteenth Omnibus Objection
           to Claims (Books and Records Claims) (Docket No. 2575)

     •     Certificate of No Objection to Liquidating Trustee’s Fifteenth Omnibus Objection to
           Claims (Books and Records Claims) (Docket No. 2576)

     •     Certificate of No Objection to Liquidating Trustee’s Sixteenth Omnibus Objection to
           Claims (Books and Records Claims) (Docket No. 2577)

     •     Certificate of No Objection to Liquidating Trustee’s Seventeenth Omnibus Objection
           to Claims (No Supporting Documents Claims) (Docket No. 2578)

     •     Certificate of No Objection to Liquidating Trustee’s Eighteenth Omnibus Objection
           to Claims (Duplicate Claims) (Docket No. 2579)

     •     Certificate of No Objection to Liquidating Trustee’s Twenty-First Omnibus
           Objection to Claims (Books and Records Claims) (Docket No. 2580)



________________________________________
1
 A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at http://cases.stretto.com/NMG. The location of Debtor Neiman Marcus Group LTD LLC’s
principal place of business and the Debtors’ service address in these chapter 11 cases is One Marcus Square, 1618
Main Street, Dallas, Texas 75201.
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        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit C, via electronic mail on the service list attached hereto as Exhibit D, and on 1
(one) confidential party, not included herein:

   •   Certificate of No Objection to Liquidating Trustee’s Thirteenth Omnibus Objection
       to Claims (Books and Records Claims) (Docket No. 2574)

        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit E, via electronic mail on the service list attached hereto as Exhibit F, and on 1
(one) confidential party, not included herein:

   •   Certificate of No Objection to Liquidating Trustee’s Fourteenth Omnibus Objection
       to Claims (Books and Records Claims) (Docket No. 2575)

        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit G, via electronic mail on the service list attached hereto as Exhibit H, and on 5
(five) confidential parties, not included herein:

   •   Certificate of No Objection to Liquidating Trustee’s Fifteenth Omnibus Objection to
       Claims (Books and Records Claims) (Docket No. 2576)

        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit I, via electronic mail on the service list attached hereto as Exhibit J, and on 9
(nine) confidential parties, not included herein:

   •   Certificate of No Objection to Liquidating Trustee’s Sixteenth Omnibus Objection to
       Claims (Books and Records Claims) (Docket No. 2577)

        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit K, and via electronic mail on the service list attached hereto as Exhibit L:

   •   Certificate of No Objection to Liquidating Trustee’s Seventeenth Omnibus Objection
       to Claims (No Supporting Documents Claims) (Docket No. 2578)

        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit M, and via electronic mail on the service list attached hereto as Exhibit N:

   •   Certificate of No Objection to Liquidating Trustee’s Eighteenth Omnibus Objection
       to Claims (Duplicate Claims) (Docket No. 2579)
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        Furthermore, on June 28, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit O, via electronic mail on the service list attached hereto as Exhibit P, and on 1
(one) confidential party, not included herein:

   •   Certificate of No Objection to Liquidating Trustee’s Twenty-First Omnibus
       Objection to Claims (Books and Records Claims) (Docket No. 2580)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following documents to be served via first-class mail on the service list attached
hereto as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

   •   Order Sustaining Liquidating Trustee’s Thirteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2581)

   •   Order Sustaining Liquidating Trustee’s Fourteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2582)

   •   Order Sustaining Liquidating Trustee’s Fifteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2583)

   •   Order Sustaining Liquidating Trustee’s Sixteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2584)

   •   Order Sustaining Liquidating Trustee’s Seventeenth Omnibus Objection to Claims
       (No Supporting Documents Claims) (Docket No. 2585)

   •   Order Sustaining Liquidating Trustee’s Eighteenth Omnibus Objection to Claims
       (Duplicate Claims) (Docket No. 2586)

   •   Order Sustaining Liquidating Trustee’s Twenty-First Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2587)

   •   Certificate of No Objection to Liquidating Trustee’s Twentieth Omnibus Objection
       to Claims (Resolved Claims) (Docket No. 2588)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit Q, and via electronic mail on the service list attached hereto as Exhibit R:

   •   Order Sustaining Liquidating Trustee’s Thirteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2581)
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        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit S, and via electronic mail on the service list attached hereto as Exhibit T:

   •   Order Sustaining Liquidating Trustee’s Fourteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2582)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit U, via electronic mail on the service list attached hereto as Exhibit V, and on 1
(one) confidential party, not included herein:

   •   Order Sustaining Liquidating Trustee’s Fifteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2583)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit W, via electronic mail on the service list attached hereto as Exhibit X, and on 2
(two) confidential parties, not included herein:

   •   Order Sustaining Liquidating Trustee’s Sixteenth Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2584)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit Y, and via electronic mail on the service list attached hereto as Exhibit Z:

   •   Order Sustaining Liquidating Trustee’s Seventeenth Omnibus Objection to Claims
       (No Supporting Documents Claims) (Docket No. 2585)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit AA, and via electronic mail on the service list attached hereto as Exhibit AB:

   •   Order Sustaining Liquidating Trustee’s Eighteenth Omnibus Objection to Claims
       (Duplicate Claims) (Docket No. 2586)

        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit AC, and via electronic mail on the service list attached hereto as Exhibit AD:

   •   Order Sustaining Liquidating Trustee’s Twenty-First Omnibus Objection to Claims
       (Books and Records Claims) (Docket No. 2587)
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        Furthermore, on June 29, 2021, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit AE, and via electronic mail on the service list attached hereto as Exhibit AF:

   •   Certificate of No Objection to Liquidating Trustee’s Twentieth Omnibus Objection
       to Claims (Resolved Claims) (Docket No. 2588)

Dated: July 6, 2021                                             /s/ Victoria X. Tran
                                                               Victoria X. Tran
                                                               STRETTO
                                                               8269 E. 23rd Ave, Suite 275
                                                               Denver, CO 80238
                                                               Telephone: 877-670-2127
                                                               Email: NMGInquiries@stretto.com
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                     Exhibit A
                                                                             Case 20-33948 Document     Filed in TXSB on 07/06/21 Page 7 of 105



                                                                                                        Exhibit A
                                                                                                  Served via First-Class Mail



                      NAME                                   ATTENTION                              ADDRESS 1                                    ADDRESS 2                   CITY     STATE     ZIP         COUNTRY
   210 MUNI LLC                              C/O COZEN O’CONNOR                      1221 MCKINNEY SUITE 2900                   ATTN: BRYAN P. VEZEY                  HOUSTON         TX    77010
   210 MUNI LLC                              C/O COZEN O’CONNOR                      277 PARK AVENUE                            ATTN: FREDERICK E. SCHMIDT JR.        NEW YORK        NY    10172
   360I LLC & IPROSPECT.COM INC.             ATTN CAMPBELL C/O UNDERWOOD PERKINS     5420 LBJ FREEWAY SUITE 1900                TWO LINCOLN CENTRE                    DALLAS          TX    75240
   360I LLC AND IPROSPECTS.COM INC.          C/O MOSES & SINGER LLP                  405 LEXINGTON AVE 12TH FLOOR               ATTN: JESSICA K. BONTEQUE             NEW YORK        NY    10174
   5TH AVENUE SALON LLC                      C/O REED SMITH LLP                      2501 N. HARWOOD SUITE 1700                 ATTN: KEITHAURZADA&MCOOLEY&LROBIN     DALLAS          TX    75201
   64 FACE RICHLIN LINK JEWEL JW JEWEL       C/O KLESTADT WINTERS JURELLER LLP       200 WEST 41ST STREET 17TH FLOOR            ATTN: KLESTADT WINTERS & BROWN        NEW YORK        NY    10036-7023
   64 FACETS INC                             C/O BAKER DONELSON BEARMAN ET AL        201 ST CHARLES AVENUE SUITE 3600           ATTN JAN M HAYDEN                     NEW ORLEANS     LA    70170
   64 FACETS INC                             C/O BAKER DONELSON BEARMAN ET AL        1301 MCKINNEY STREET SUITE 3700            ATTN SUSAN C MATHEWS                  HOUSTON         TX    77010
   A LINK JEWELRY CO LLC                     C/O BAKER DONELSON BEARMAN ET AL        201 ST CHARLES AVENUE SUITE 3600           ATTN JAN M HAYDEN                     NEW ORLEANS     LA    70170
   A LINK JEWELRY CO LLC                     C/O BAKER DONELSON BEARMAN ET AL        1301 MCKINNEY STREET SUITE 3700            ATTN SUSAN C MATHEWS                  HOUSTON         TX    77010
   ACCERTIFY INC                             C/O BECKET & LEE LLP                    PO BOX 3002                                ATTN: SHRADDHA BHARATIA               MALVERN         PA    19355-0702
   AD HOC COMMITTEE                          C/O PORTER HEDGES LLP                   1000 MAIN ST. 36TH FLOOR                   ATTN: HIGGINS & ENGLISH & JOHNSON     HOUSTON         TX    77002
   AD HOC COMMITTEE                          C/O PAUL WEISS RIFKIND WHARTON          1285 AVENUE OF THE AMERICAS                ATTN: ROSENBERG & EATON ET AL.        NEW YORK        NY    10019
   AD HOC GROUP OF TERM LOAN LENDERS         C/O WACHTELL LIPTON ROSEN & KATZ        51 WEST 52ND STREET                        ATTN: J. FELTMAN & E. KLEINHAUS       NEW YORK        NY    10019
   AD HOC GROUP OF TERM LOAN LENDERS         C/O VINSON & ELKINS LLP                 1001 FANNIN STREET SUITE 2500              ATTN: HARRY PERRIN & KIRAN VAKAMUDI   HOUSTON         TX    77002-6760
   AD HOC GROUP OF TERM LOAN LENDERS         C/O VINSON & ELKINS                     2001 ROSS AVENUE SUITE 3900                ATTN: P HEATH & M MORAN & K GRISSEL   DALLAS          TX    75201-2975
   AD HOC GROUP OF TERM LOAN LENDERS         C/O GIBBS & BRUNS LLP                   1100 LOUISIANA SUITE 5300                  ATTN: REASONER SHEEREN & HALPERN      HOUSTON         TX    77002
   AJD PLATINUM INC./ AMERICAN JEWELRY       C/O FOLEY & MANSFIELD PLLP              250 MARQUETTE AVENUE SUITE 1200            ATTN: T LALLIER & C LALLIER           MINNEAPOLIS     MN    55401
   AK OFFICE OF THE ATTORNEY GENERAL                                                 1031 W 4TH AVE STE 200                     STE 200                               ANCHORAGE       AK    99501
   AKRIS CHANEL ARMANI RLAUREN TBURCH        C/O SHEPPARD MULLIN - J BERNBROCK       70 WEST MADISON STREET 48TH FLOOR          THREE FIRST NATIONAL PLAZA            CHICAGO         IL    60602
   AKRIS PRET A PORTER AG                                                            KALABRINTH 21                                                                    SPEICHER              9042         SWITZERLAND
   AKRIS PRET A PORTER AG                    ATTN: NADJA HOLLENSTEIN                 835 MADISON AVENUE 4TH FLOOR                                                     NEW YORK        NY    10021
   AL OFFICE OF THE ATTORNEY GENERAL                                                 501 WASHINGTON AVE                                                               MONTGOMERY      AL    36104
   ALEXANDER MCQUEEN                                                                 27 OLD BOND ST MAYFAIR                                                           LONDON                W1S 4QE      UNITED KINGDOM
   ALEXANDER MCQUEEN                         ATTN: DANIEL BYRNES                     150 TOTOWA RD                                                                    WAYNE           NJ    07470-3117
   ALICE & OLIVIA LLC                                                                450 WEST 14TH STREET                                                             NEW YORK        NY    10014
   ALICE & OLIVIA LLC                        ATTN: JILL DONAHOE- ACCT EXECUTIVE      1111 SECAUCUS ROAD                                                               SECAUCUS        NJ    7094
   ALTER DOMUS PRODUCTS CORP                 C/O WACHTELL LIPTON ROSEN & KATZ        51 WEST 52ND STREET                        ATTN: J. FELTMAN & E. KLEINHAUS       NEW YORK        NY    10019
   ALTER DOMUS PRODUCTS CORP                 C/O VINSON & ELKINS LLP                 1001 FANNIN STREET SUITE 2500              ATTN: HARRY PERRIN & KIRAN VAKAMUDI   HOUSTON         TX    77002-6760
   ALTER DOMUS PRODUCTS CORP                 PAUL HEATH - VINSON & ELKINS LLP        2001 ROSS AVENUE SUITE 3900                TRAMMELL CROW CENTER                  DALLAS          TX    75201-2975
   AMERICAN EXPRESS TRAVEL                   C/O BECKET & LEE LLP                    PO BOX 3001                                ATTN: SHRADDHA BHARATIA               MALVERN         PA    19355-0701
   ANKURA TRUST COMPANY LLC ET AL            C/O HOGAN LOVELLS US LLP                1999 AVENUE OF THE STARS STE 1400          ATTN: D SIMONDS & E MCNEILLY          LOS ANGELES     CA    90067
   ANKURA TRUST COMPANY LLC ET AL            C/O HOGAN LOVELLS US LLP                390 MADISON AVENUE                         ATTN: C BRYANT & R KELLER             NEW YORK        NY    10017
   ANNALY CRE LLC                            WIELEBINSKI & ENRIGHT - WINSTEAD PC     2728 N HARWOOD STREET                      500 WINSTEAD BUILDING                 DALLAS          TX    75201
   AR OFFICE OF THE ATTORNEY GENERAL                                                 323 CENTER ST STE 200                      STE 200                               LITTLE ROCK     AR    72201
   ARES                                      C/O NORTON ROSE FULBRIGHT US LLP        1301 MCKINNEY STREET SUITE 5100            AT:BOLAND GREENDYKE BRUNER HARRISON   HOUSTON         TX    77010
   ARES                                      C/O MILBANK LLP                         55 HUDSON YARDS                            AT:DUNNE KRELLER LEBLANC PRICE VORA   NEW YORK        NY    10001-2163
   AUSTIN BRODIE OAKS LLC                    C/O SPROUSE LAW FIRM                    ATTN: MARVIN E. SPROUSE III                11128 SHADY HOLLOW DR                 AUSTIN          TX    78701
   AZ OFFICE OF THE ATTORNEY GENERAL                                                 2005 N CENTRAL AVE                                                               PHOENIX         AZ    85004
   BAL HARBOUR SHOPS LLC                     C/O ROSS & SMITH PC                     700 N. PEARL STREET SUITE 1610             ATTN: J ROSS & R SMILEY & F SMITH     DALLAS          TX    75201
   BALENCIAGA AMERICA INC                                                            840 MADISON AVE                                                                  NEW YORK        NY    10021
   BALENCIAGA AMERICA INC                    ATTN: DANIEL BYRNES                     150 TOTOWA RD                                                                    WAYNE           NJ    07470-3117
   BALLY AMERICAS INC                        C/O LOWENSTEIN SANDLER LLP              1251 AVE OF THE AMERICAS 17TH FLOOR        ATTN: JEFFREY PROL & BRUCE NATHAN     NEW YORK        NY    10020
   BALMAIN USA LLC                           ATTN: ARDIANA BYTYQI- AR SPECIALIST     667 MADISON AVE                            FL 4                                  NEW YORK        NY    10065-8029
   BARRACUDA NETWORKS INC                    C/O FRIEDMAN & SPRINGWATER LLP          350 SANSOME ST SUITE 800                   ATTN: ELLEN A FRIEDMAN                SAN FRANCISCO   CA    94104
   BARRACUDA NETWORKS INC                    C/O ROCHELLE MCCULLOUGH LLP             325 N ST. PAUL STREET SUITE 4500           ATTN: KEVIN D. MCCULLOUGH             DALLAS          TX    75201
   BEXAR COUNTY                              C/O LINEBARGER GOGGAN BLAIR SAMPSON     112 E PECAN STREET SUITE 2200              ATTN: DON STECKER                     SAN ANTONIO     TX    78205
   BMC SOFTWARE INC                          C/O MUNSCH HARDT KOPF & HARR            700 MILAM ST SUITE 2700                    ATTN: JOHN CORNWELL & GRANT BEINER    HOUSTON         TX    77002
   BOTTEGA VENETA                                                                    VIA PRIVATA ERCOLE MARELLI 6                                                     MILAN                 20136        ITALY
   BOTTEGA VENETA                            ATTN: DANIEL BYRNES                     150 TOTOWA RD                                                                    WAYNE           NJ    07470-3117
   BRIGADE CAPITAL MANAGEMENT LP             C/O FOX ROTHSCHILD LLP                  2843 RUSK STREET                           ATTN: TREY A. MONSOUR                 HOSUTON         TX    77003
   BRIGADE CAPITAL MANAGEMENT LP             C/O FOX ROTHSCHILD LLP                  2501 N HARDWOOD ST, STE 1800               ATTN: TREY A. MONSOUR                 DALLAS          TX    75201-1613
   BRIGADE CAPITAL MANAGEMENT LP             C/O STROOCK & STROOCK & LAVAN LLP       180 MAIDEN LANE                            ATTN: HANSEN PASQUALE & SASSON        NEW YORK        NY    10038
   BRIONI ROMAN STYLE                                                                VIA NAZARENO FONTICOLI 3                                                         PENNE                 65017        ITALY
   BRIONI ROMAN STYLE                        ATTN: DANIEL BYRNES                     595 MADISON AVE #6                                                               NEW YORK        NY    10022-1907
   BROOKFIELD PROPERTY REIT INC.             ATTN: KRISTEN N. PATE                   350 N ORLEANS STREET                       SUITE 300                             CHICAGO         IL    60654-1607
   BROOKFIELD PRP REIT & SIMON PRP GRP       C/O KELLEY DRYE & WARREN LLP            101 PARK AVENUE                            ATTN: R LEHANE & JRAVIELE & SWILSON   NEW YORK        NY    10178
   BURBERRY LIMITED                          C/O LEWIS BRISBOIS BISGAARD & SMITH     550 WEST ADAMS STREET SUITE 300            ATTN: RICHARD S. LAUTER               CHICAGO         IL    60661
   BURBERRY LIMITED                          C/O LEWIS BRISBOIS BISGAARD & SMITH     24 GREENWAY PLAZA SUITE 1400               ATTN: ANDREW W. GRAY                  HOUSTON         TX    77046
   BURBERRY USA                              ATTN: AARON STOUT- MENS WHOLESALE       444 MADISON AVE                                                                  NEW YORK        NY    10022
   CA OFFICE OF THE ATTORNEY GENERAL                                                 PO BOX 944255                                                                    SACRAMENTO      CA    94244-2550
   CANON FINANCIAL SERVICES INC.             C/O PLATZER SWERGOLD LEVINE ET AL       475 PARK AVE SOUTH 18TH FL                 ATTN: KATZ & SADUTTO-CARLEY           NEW YORK        NY    10016
   CAPITAL ONE NA                            C/O HUNTON ANDREWS KURTH LLP            1445 ROSS AVENUE SUITE 3700                ATTN: G. HESSE & J. HALE & T. ELGIE   DALLAS          TX    75202-2799
   CAPITAL ONE NA                            C/O HUNTON ANDREWS KURTH LLP            600 TRAVIS SUITE 4200                      ATTN: PHILIP M. GUFFY                 HOUSTON         TX    77002-2929
   CARROLLTON-FARMERS BRANCH ISD             C/O PERDUE BRANDON FIELDER LLP          1919 S SHILOH ROAD SUITE 310               ATTN: LINDA D. REECE                  GARLAND         TX    75042
   CARVEN LUX PERFUMES INTL COSMETICS                                                76-78 AVENUE DES CHAMPES-E LYSEES                                                PARIS                 75008        FRANCE
   CARVEN LUX PERFUMES INTL COSMETICS        ATTN: STEVEN LACOLLA- VP OF FINANCE     30 W 21ST STREET 7TH FLOOR                                                       NEW YORK        NY    10010
   CHAMPION ENERGY SERVICES LLC              ATTN: W STEVEN BRYANT                   600 CONGRESS AVENUE STE 2200               C/O LOCKE LORDE LLP                   AUSTIN          TX    78701
   CHANEL INC                                ATTN: DANIEL ROSENBERG                  9 W 57TH STREET 44TH FLOOR                 44TH FLOOR                            NEW YORK        NY    10019-2790

In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                                                                                                                           Page 1 of 5
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                                                                                                       Exhibit A
                                                                                                 Served via First-Class Mail



                      NAME                                   ATTENTION                             ADDRESS 1                                  ADDRESS 2                     CITY     STATE     ZIP        COUNTRY
   CHANEL INC                                ATTN: CHRISTINE PALAKA                 885 CENTENNIAL AVENUE SUITE 300                                                  PISCATAWAY      NJ    8854
   CHANEL INC.                               C/O SHEPPARD MULLIN - BERNBROCK        70 WEST MADISON STREET 48TH FOOR           THREE FIRST NATIONAL PLAZA            CHICAGO         IL    60602
   CHANEL INC.                               C/O SHEPPARD MULLIN                    30 ROCKEFELLER PLAZA                       ATTN: MICHAEL T. DRISCOLL             NEW YORK        NY    10112
   CHLOE INC                                                                        5/7 AVENUE PERCIER                                                               PARIS                 75008      FRANCE
   CHRISTIAN LOUBOUTIN                                                              19 RUE JEAN-JACQUES ROUSSEAU                                                     PARIS                 75001      FRANCE
   CHRISTIAN LOUBOUTIN                       ATTN: DAPHNE DAN - VP ACCOUNTING       306 W 38TH STREET 4TH FLOOR                                                      NEW YORK        NY    10018
   CITY OF GRAPEVINE                         C/O PERDUE BRANDON FIELDER LLP         500 EAST BORDER ST SUITE 640               ATTN: EBONEY COBB                     ARLINGTON       TX    76010
   CITY OF KATY & KATY MGMT DISTRCT #1       C/O PERDUE BRANDON LLP                 1235 NORTH LOOP WEST SUITE 600             ATTN: OWEN M. SONIK                   HOUSTON         TX    77008
   CLAY JOHNSON III JAMES MABRY ET AL        C/O SQUIRE PATTON BOGGS                2000 MCKINNEY AVENUE SUITE 1700            ATTN: S. CASS WEILAND                 DALLAS          TX    75201
   CLOUDIYAN LLC                             C/O HR CHAPIN ATTORNEY & COUNSELOR     4301 ALPHA RD                              ATTN: HERSHEL CHAPIN HANNAH ELSAADI   DALLAS          TX    75244
   CO OFFICE OF THE ATTORNEY GENERAL         RALPH L CARR JUDICIAL BUILDING         1300 BROADWAY 10TH FL                      1300 BROADWAY 10TH FL                 DENVER          CO    80203
   COLCOUNTY TAX ASSESSOR/COLLECTOR          C/O ABERNATHY ROEDER BOYD & HULLETT    1700 REDBUD BLVD SUITE 300                 ATTN: CHAD TIMMONS & LARRY BOYD       MCKINNEY        TX    75069
   CONGRESSIONAL PLAZA ASSOCIATE ET AL       C/O REED SMITH LLP                     2850 N. HARWOOD SUITE 1500                 ATTN: KEITH AURZADA& MICHAEL COOLEY   DALLAS          TX    75201
   CONGRESSIONAL PLAZA ASSOCIATE ET AL       C/O BALLARD SPAHR LLP                  2029 CENTURY PARK EAST SUITE 800           ATTN: DUSTIN BRANCH & BRIAN HUBEN     LOS ANGELES     CA    90067-2909
   CONGRESSIONAL PLAZA ASSOCIATE ET AL       C/O BALLARD SPAHR LLP                  919 NORTH MARKET ST 11TH FLOOR             ATTN: LESLIE HEILMAN& LAUREL ROGLEN   WILMINGTON      DE    19801-3034
   COTY INC.                                 JUSTIN BERNBROCK - SHEPPARD MULLIN     70 WEST MADISON STREET 48TH FLOOR          THREE FIRST NATIONAL PLAZA            CHICAGO         IL    60602
   COTY INC.                                 C/O SHEPPARD MULLIN RICHTER HAMPTON    30 ROCKEFELLER PLAZA                       ATTN: ROBERT S. FRIEDMAN              NEW YORK        NY    10112
   CPP INVESTMENT BOARD USRE INC.            C/O PILLSBURY WINTHROP SHAW            909 FANNIN SUITE 2000                      ATTN: H RAY & W HOTZE & J SHARP       HOUSTON         TX    77010-1028
   CPP INVESTMENT BOARD USRE INC.            C/O DEBEVOISE & PLIMPTON LLP           919 THIRD AVENUE                           ATTN JASMINE BALL &ERICA WEISGERBER   NEW YORK        NY    10022
   CREDITSUISSE AG CAYMAN ISLANDS            C/O HAYNES AND BOONE LLP               1221 MCKINNEY STREET SUITE 4000            ATTN: C BECKHAM & M WYRICK            HOUSTON         TX    77010-2008
   CREDITSUISSE AG CAYMAN ISLANDS            C/O CRAVATH SWAINE & MOORE LLP         925 EIGHTH AVENUE                          ATTN: G ZOBITZ & P ZUMBRO & C KELLY   NEW YORK        NY    10019
   CRITEO CORP                               ATTN: CAROLINE PINGON                  PO BOX 123520                                                                    DALLAS          TX    75312-3520
   CRITEO CORP                               ATTN: RYAN DAMON GENERAL COUNSEL       387 PARK AVE SOUTH 12TH FLOOR                                                    NEW YORK        NY    10016
   CRITEO CORP.                              C/O HAHN & HESSEN LLP                  488 MADISON AVENUE                         ATTN:JANINEFIGUEIREDO&JACOBSCHWARTZ   NEW YORK        NY    10022
   CROWN COLOR US LLC                        C/O ROSS & SMITH PC                    700 N PEARL STREET SUITE 1610              ATTN: JUDITH ROSS & ERIC SODERLUND    DALLAS          TX    75201
   CT OFFICE OF THE ATTORNEY GENERAL                                                55 ELM ST                                                                        HARTFORD        CT    6106
   DALPARK PARTNERS LTD                      C/O SHAPIRO BIEGING BARBER OTTESON     5420 LYNDON B JOHNSON FWY STE 1225         ATTN: J. LEININGER & W. DUNNER        DALLAS          TX    75240-6377
   DANIEL B. KAMENSKY                        C/O HAYNES AND BOONE LLP               1221 MCKINNEY STREET SUITE 4000            ATTN PATRICK HUGHES & DAVID TRAUSCH   HOUSTON         TX    77010
   DAVID YURMAN ENTERPRISES LLC              ATTN: BART NG- SR DIR- AP & AR         24 VESTRY STREET 11TH FLOOR                                                      NEW YORK        NY    10013
   DAVIDOR LLC                               C/O FRIEDMAN & FEIGER LLP              5301 SPRING VALLEY ROAD SUITE 200          ATTN: SEYMOUR ROBERTS JR.             DALLAS          TX    75254
   DELAWARE DEPARTMENT OF JUSTICE            CARVEL STATE OFFICE BUILDING           820 N FRENCH STREET                        820 N FRENCH STREET                   WILMINGTON      DE    19801
   DELL MARKETING LP                         C/O STREUSAND LANDON OZBURN LEMMON     1801 S MOPAC EXPRESSWAY SUITE 320          ATTN:SABRINA STREUSAND & ANH NGUYEN   AUSTIN          TX    78746
   DEUTSCHE BANK AG NEW YORK BRANCH          C/O GRAY REED & MCGRAW LLP             1300 POST OAK BLVD SUITE 2000              ATTN: J BROOKNER & P MOAK & L WEBB    HOUSTON         TX    77056
   DEUTSCHE BANK AG NEW YORK BRANCH          C/O WHITE & CASE LLP                   1221 AVENUE OF THE AMERICAS                ATTN: S GREISSMAN & A ZATZ & RADAMS   NEW YORK        NY    10020-1095
   DOLCE AND GABBANA USA INC                 ATTN: RUGGERO CATERINI                 900 SECAUCUS ROAD UNIT C                                                         SECAUCUS        NJ    7094
   EBATES PERFORMANCE MARKETING INC          ATTN: GREG KAPLAN                      800 CONCOR DR                              SUITE 175                             SAN MATEO       CA    94402
   EBATES PERFORMANCE MARKETING INC.         C/O FINESTONE & HAYES LLP              456 MONTGOMERY ST 20TH FLOOR               ATTN: STEPHEN FINESTONE               SAN FRANCISCO   CA    94104
   EILEEN FISHER                             ATTN: EILEEN FISHER                    2 BRIDGE ST STE 230                        STE 230                               IRVINGTON       NY    10533
   ELICIT LLC                                ATTN: LAUREN DREXLER & MASON THELEN    650 3RD AVENUE SUITE 1500                                                        MINNEAPOLIS     MN    55402
   ELJM CONSULTING LLC                       C/O MORRISON COHEN LLP                 909 THIRD AVENUE                           ATTN: J. MOLDOVAN & D. KOZLOWSKI      NEW YORK        NY    10022
   EMSARU JEWELS CORP.                       C/O GODWIN BOWMAN PC                   1201 ELM STREET SUITE 1700                 ATTN: S. SCHEINBERG & R. TUNNELL      DALLAS          TX    75270
   ERMENEGILDO ZEGNA TOM FORD                                                       VIA ROMA 99-100                            99-100                                TRIVERO               13835      ITALY
   ERMENEGILDO ZEGNA TOM FORD                ATTN: ACEL JOSEPH                      10 E 53RD ST                               FL 7                                  NEW YORK        NY    10022-0011
   ESTEE LAUDER INC                          ATTN: KENNETH I. CRUZ                  7 CORPORATE CENTER DRIVE                                                         MELVILLE        NY    11747
   ESTELLE DIEHL                             C/O SMALL LAW PC                       501 W BROADWAY SUITE 1360                  ATTN: KELLY ANN TRAN                  SAN DIEGO       CA    92101
   ETRO USA INC                              ATTN: ROBERT GROSS & JANICE GRUBIN     1270 AVENUE OF THE AMERICAS STE 501        C/O BARCLAY DAMON LLP                 NEW YORK        NY    10020
   FACEBOOK INC                              ATTN: KARIN TRACY- US INDUSTRY         1601 S CALIFORNIA AVENUE                                                         PALO ALTO       CA    94304-1111
   FERRAGAMO USA INC                                                                663 FIFTTH AVENUE                                                                NEW YORK        NY    10022
   FERRAGAMO USA INC                         ATTN: FRANK TORRENT - VP CONTROLLER    700 CASTLE ROAD                                                                  SECAUCUS        NJ    7094
   FERRAGAMO USA INC.                        C/O COZEN O'CONNOR                     1221 MCKINNEY SUITE 2900                   ATTN: BRYAN P. VEZEY                  HOUSTON         TX    77010
   FERRAGAMO USA INC.                        C/O COZEN O'CONNOR                     277 PARK AVENUE                            ATTN: FREDERICK E. SCHMIDT JR.        NEW YORK        NY    10172
   FIBERNET DIRECT TEXAS LLC                 C/O LISKOW & LEIWS                     1001 FANNIN STREET SUITE 1800              ATTN: MICHAEL D. RUBENSTEIN           HOUSTON         TX    77002
   FL OFFICE OF THE ATTORNEY GENERAL         STATE OF FLORIDA                       THE CAPITOL PL 01                          THE CAPITOL PL?01                     TALLAHASSEE     FL    32399
   FORT BEND COUNTY & HARRIS COUNTY          C/O LINEBARGER GOGGAN BLAIR SAMPSON    PO BOX 3064                                ATTN: JOHN P. DILLMAN                 HOUSTON         TX    77253-3064
   FOUR HANDS LLC                            C/O RICHARDS RODRIGUEZ & SKEITH        816 CONGRESS AVENUE SUITE 1200             ATTN: BENJAMIN H. HATHAWAY            AUSTIN          TX    78701
   FRAME DENIM                               ATTN: BRITTANY MILLER- SR ACCT EXEC    3578 HAYDEN AVE STE N1                     STE N1                                CULVER CITY     CA    90232-2486
   FRANCK MULLER USA INC.                    C/O KLEINBERG KAPLAN WOLFF & COHEN     500 FIFTH AVENUE                           ATTN: BARRY R. KLEINER (DOV)          NEW YORK        NY    10110
   FURLA MARCO BICEGO & MONCLER USA          C/O MORRISON COHEN LLP                 909 THIRD AVENUE                           ATTN: J. MOLDOVAN & D. KOZLOWSKI      NEW YORK        NY    10022
   G&C STEWART CORPORATION                   C/O LEO FOX                            630 THIRD AVE 18TH FL                      ATTN: LEO FOX                         NEW YORK        NY    10017
   GA OFFICE OF THE ATTORNEY GENERAL                                                40 CAPITOL SQ SW                                                                 ATLANTA         GA    30334
   GIORGIO ARMANI (CONSIGN)                                                         450 W 15TH ST STE 3                        STE 3                                 NEW YORK        NY    10011-7097
   GIORGIO ARMANI (CONSIGN)                  ATTN: E SILVERMAN- CREDIT &TREASURY    99 PARK AVENUE                                                                   NEW YORK        NY    10016
   GIVENCHY CORP                             ATTN: MENDY HUANG                      19 E 57TH STREET                                                                 NEW YORK        NY    10022
   GIVENCHY CORP                                                                    6418 PAYSPHERE CIRCLE                      ACCOUNT 5800356080                    CHICAGO         IL    60674
   GORSKI GROUP LTD.                         C/O OLSHAN FROME WOLOSKY LLP           1325 AVENUE OF AMERICAS                    ATTN: A. FRIEDMAN & J. KOEVARY        NEW YORK        NY    10019
   GUCCI AMERICA                             ATTN: DANIEL BYRNES                    150 TOTOWA RD                                                                    WAYNE           NJ    07470-3117
   HANRO USA LTD.                            C/O ROCHELLE MCCULLOUGH LLP            325 N ST. PAUL STREET SUITE 4500           ATTN: K. MCCULLOUGH & S. THOMAS       DALLAS          TX    75201
   HI DEPT OF THE ATTORNEY GENERAL                                                  425 QUEEN STREET                                                                 HONOLULU        HI    96813
   ID OFFICE OF THE ATTORNEY GENERAL                                                700 W JEFFERSON ST SUITE 210                                                     BOISE           ID    83720

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   IL OFFICE OF THE ATTORNEY GENERAL         JAMES R THOMPSON CENTER                 100 W RANDOLPH ST                          100 W RANDOLPH ST                     CHICAGO          IL    60601
   INDEPENDENT MANAGERS OF NMG LTD LLC       C/O WILLKIE FARR & GALLAGHER LLP        800 CAPITOL ST STE 2070                    ATTN: JENNIFER J. HARDY               HOUSTON          TX    77002-2936
   INDEPENDENT MANAGERS OF NMG LTD LLC       C/O WILLKIE FARR & GALLAGHER LLP        787 SEVENTH AVENUE                         ATTN: BRIAN S. LENNON                 NEW YORK         NY    10019
   INDIANA ATTORNEY GENERAL'S OFFICE         INDIANA GOVERNMENT CENTER SOUTH         302 W WASHINGTON ST 5TH FL                 302 W WASHINGTON ST 5TH FL            INDIANAPOLIS     IN    46204
   INFOSYS LIMITED                           C/O BENESCH FRIEDLANDER LLP             222 DELAWARE AVENUE SUITE 801              ATTN: KEVIN CAPUZZI & KATE HARMON     WILMINGTON       DE    19801
   INTERNAL REVENUE SERVICE                                                          DEPARTMENT OF TREASURY                                                           OGDEN            UT    84201-0045
   INTERNAL REVENUE SERVICE                  CENTRALIZED INSOLVENCY OPERATION        2970 MARKET ST                                                                   PHILADELPHIA     PA    19104-5016
   INTERNAL REVENUE SERVICE                  CENTRALIZED INSOLVENCY OPERATION        PO BOX 7346                                                                      PHILADELPHIA     PA    19101-7346
   INTERNAL REVENUE SERVICE                  HOUSTON DIVISION                        1919 SMITH STREET                                                                HOUSTON          TX    77002
   IOWA OFFICE OF THE ATTORNEY GENERAL       HOOVER STATE OFFICE BUILDING            1305 E WALNUT STREET RM 109                1305 E WALNUT STREET RM 109           DES MOINES       IA    50319
   IRONMOUNTAIN INFORMATION MANAGEMENT       C/O HACKETT FEINBERG PC                 155 FEDERAL STREET 9TH FLOOR               ATTN: FRANK F. MCGINN                 BOSTON           MA    2110
   ISS FACILITY SERVICES INC                 ALLEN DEBARD - LANGLEY BANACK INC       745 EAST MULBERRY SUITE 700                TRINITY PLAZA II                      SAN ANTONIO      TX    78212-3166
   J. SCOTT DOUGLAS                                                                  1811 BERING DR. SUITE 420                                                        HOUSTON          TX    77057
   JEFFERIES LEVERAGED CREDIT PRODUCTS       C/O ORRICK HERRINGTON SUTCLIFFE LLP     609 MAIN STREET 40TH FL                    ATTN: RYAN WOOTEN                     HOUSTON          TX    77002
   JEFFERIES LEVERAGED CREDIT PRODUCTS       C/O ORRICK HERRINGTON SUTCLIFFE LLP     2121 MAIN STREET                           ATTN: MICHAEL NICOLELLA               WHEELING         WV    26003
   JEMMA WYNNE JEWELLERY LLC                 C/O BAKER DONELSON BEARMAN ET AL        201 ST CHARLES AVENUE SUITE 3600           ATTN JAN M HAYDEN                     NEW ORLEANS      LA    70170
   JEMMA WYNNE JEWELLERY LLC                 C/O BAKER DONELSON BEARMAN ET AL        1301 MCKINNEY STREET SUITE 3700            ATTN SUSAN C MATHEWS                  HOUSTON          TX    77010
   JIMMY CHOO                                                                        10 HOWICK PLACE                                                                  LONDON                 SW1P 1GW UNITED KINGDOM
   JIMMY CHOO                                ATTN: KADRI MERILA - CREDIT MANAGER     750 LEXINGTON AVENUE 22ND FLOOR                                                  NEW YORK         NY    10022
   JOHNNY WAS                                ATTN: JEFF WERNECKE                     2423 E 23RD STREET                                                               LOS ANGELES      CA    90058
   JOHNNY WAS                                ATTN: MARCELINO ENERO                   250 W 39TH STREET SUITE 702                                                      NEW YORK         NY    10018
   KAREN KATZ                                C/O BUTLER SNOW LLP                     2911 TURTLE CREEK BLVD SUITE 1400          ATTN: MARTIN A. SOSLAND               DALLAS           TX    75219
   KERING AMERICAS INC.                      C/O PRYOR CASHMAN LLP                   7 TIMES SQUARE                             ATTN: S. LIEBERMAN & A. RICHMOND      NEW YORK         NY    10036-6569
   KERING AMERICAS INC.                      ATTN: LAURENT CLAQUIN                   75 BLEECKER STREET 2ND FLOOR                                                     NEW YORK         NY    10012
   KERING LVMH RICHEMONT DAVID YURMAN        C/O MCKOOL SMITH P.C.                   600 TRAVIS ST. SUITE 7000                  ATTN: J. SPARACINO & V. MANNING       HOUSTON          TX    77002
   KS OFFICE OF THE ATTORNEY GENERAL                                                 120 SW 10TH AVE 2ND FL                     2ND FL                                TOPEKA           KS    66612
   KY OFFICE OF THE ATTORNEY GENERAL         CAPITOL BUILDING                        700 CAPITOL AVE STE 118                    700 CAPITOL AVE STE 118               FRANKFORT        KY    40601
   L&B DEPP INWOOD VILLAGE LP                C/O SETTLEPOU                           3333 LEE PARKWAY 8TH FLOOR                 ATTN: MICHAEL MENTON & WILL BASSHAM   DALLAS           TX    75219
   LA MER                                    C/O ESTEE LAUDER COMPANIES              200 AIMEE DRIVE                            ATTN: KENNETH I. CRUZ                 FREEHOLD         NJ    7728
   LA MER                                    ATTN: MANDI LOIACONO                    7 CORPORATE CENTER DRIVE                                                         MELVILLE         NY    11747
   LA OFFICE OF THE ATTORNEY GENERAL                                                 1885 N THIRD ST                                                                  BATON ROUGE      LA    70802
   LA PRAIRIE INC                                                                    41 MADISON AVE                             FL 40                                 NEW YORK         NY    10010-2239
   LA PRAIRIE INC                            ATTN: THERESA CHIN                      30 ETHEL ROAD                                                                    EDISON           NJ    8817
   LAFAYETTE 148 INC                         ATTN: SYLVIA HUANG                      141 FLUSHING AVENUE                        BUILDING 77 14TH FLOOR                BROOKLYN         NY    11205
   LAGOS INC.                                ATTN: E. DAVID CHANIN KLEINBARD LLC     1717 ARCH STREET 5TH FLOOR                 THREE LOGAN SQUARE                    PHILADELPHIA     PA    19103
   LANA AND NATHANIEL GREY                   D/B/A LOMDEN ESTATE                     44 MONTGOMERY ST. STE. 1010                C/O MEYERS LAW GROUP - MERLE MEYERS   SAN FRANCISCO    CA    94104
   LANA AND NATHANIEL GREY DBA LOMDEN        ESTATE & LOMDEN DISTRIBUTORS INC.       1301 MCKINNEY ST SUITE 3700                C/O BAKER DONELSON - SUSAN MATHEWS    HOUSTON          TX    77010
   LANA UNLIMITED CO.                        C/O HORWOOD MARCUS & BERK CHARTERED     500 WEST MADISON STREET SUITE 3700         ATTN: AARON HAMMER & NATHAN DELMAN    CHICAGO          IL    60661
   LCFRE AUSTIN BRODIE OAKS LLC              C/O SPROUSE LAW FIRM                    901 MOPAC EXPWY S BLDG 1 SUITE 300         ATTN: MARVIN E. SPROUSE III           AUSTIN           TX    78746
   LEXON INSURANCE COMPANY                   C/O HARRIS BEACH PLLC                   333 W WASHINGTON STREET SUITE 200          ATTN: LEE E. WOODARD                  SYRACUSE         NY    13202
   LIQUIDATING TRUSTEE OF GUC TRUST          C/O SHEPPARD MULLIN RICHTER HAMPTON     333 S HOPE STREET 43RD FLOOR               ATTN: JENNIFER NASSIRI                LOS ANGELES      CA    90071
   LISA KAZOR                                C/O QUILLING SELANDER ET AL             2001 BRYAN ST SUITE 1800                   ATTN: C. MOSER T. YORK J. STANFORD    DALLAS           TX    75201
   LOMBARDI SRL                              ATTN: SIDNEY H SCHEINBERG               1201 ELM STREET SUITE 1700                 C/O GODWIN BOWMAN PC                  DALLAS           TX    75270
   LOUIS VUITTON USA INC.                    C/O BARACK FERRAZZANO KIRSCHBAUM        200 WEST MADISON STREET SUITE 3900         ATTN: NATHAN Q. RUGG                  CHICAGO          IL    60606
   MA OFFICE OF THE ATTORNEY GENERAL                                                 1 ASHBURTON PLACE 20TH FLOOR                                                     BOSTON           MA    2108
   MANOLO BLAHNIK AMERICAS LLC               C/O DENTONS US LLP                      1221 MCKINNEY STREET SUITE 1900            ATTN: CASEY DOHERTY                   HOUSTON          TX    77010
   MANOLO BLAHNIK AMERICAS LLC               C/O DENTONS US LLP                      4520 MAIN STREET                           ATTN: ROBERT A. HAMMEKE               KANSAS CITY      MO    64111-7700
   MANOLO BLAHNIK AMERICAS LLC                                                       31 W 54TH ST                                                                     NEW YORK         NY    10019
   MARBLE RIDGE CAPITAL LP                   ATTN: DAN KAMENSKY                      11 GREENWAY                                                                      ROSLYN           NY    11576-1351
   MARBLE RIDGE CAPITAL LP                   C/O PARKINS LEE & RUBIO LLP             700 MILAM STREET SUITE 1300                PENNZOIL PLACE                        HOUSTON          TX    77002
   MARBLE RIDGE CAPITAL LP                   C/O FOLEY & LARDNER LLP                 1000 LOUISIANA STREET SUITE 2000           ATTN: JOHN MELKO & T. MICHAEL WALL    HOUSTON          TX    77002-5011
   MARBLE RIDGE CAPITAL LP & MARBLE          MASTER FUND LP C/O BROWN RUDNICK        SEVEN TIMES SQUARE                         ATTN WEISFELNER &WISSNER-GROSS ETAL   NEW YORK         NY    10036
   MARBLE RIDGE MASTER FUND LP ET AL         C/O KOBRE & KIM LLP                     ATTN: MICHAEL S. KIM ET AL                 800 THIRD AVE                         NEW YORK         NY    10022
   MARGO MORRISON DESIGN LTD.                DBA MARGO MORRISON JEWELRY DESIGN       330 W 38TH ST                                                                    NEW YORK         NY    10018
   MARGOT MCKINNEY &MACEOO &PICCHIOTTI       &SABOO &SOBE &BARRY MEYROWITZ           1201 ELM STREET SUITE 1700                 GODWIN BOWMAN: SCHEINBERG & TUNNELL   DALLAS           TX    75270
   MARIPOSA INTERMEDIATE HOLDINGS LLC        C/O KATTEN MUCHIN ROSENMAN LLP          575 MADISON AVENUE                         ATTN: STEVEN J. REISMAN ESQ           NEW YORK         NY    10022-2585
   MARIPOSA INTERMEDIATE HOLDINGS LLC        C/O KATTEN MUCHIN ROSENMAN LLP          525 WEST MONROE STREET                     ATTN: GEOFFREY KING ESQ.              CHICAGO          IL    60661-3693
   MARIPOSA INTERMEDIATE HOLDINGS LLC        C/O KATTEN MUCHIN ROSEMAN LLP           2121 N PEARL ST SUITE 1100                 ATTN: CHARLES R. GIBBS ESQ.           DALLAS           TX    75201
   MATTIA CIELO INC.                         C/O BARCLAY DAMON LLP                   1270 AVE OF THE AMERICAS SUITE 501         ATTN: ROBERT GROSS & JANICE GRUBIN    NEW YORK         NY    10020
   MD OFFICE OF THE ATTORNEY GENERAL                                                 200 ST PAUL PL                                                                   BALTIMORE        MD    21202
   ME OFFICE OF THE ATTORNEY GENERAL                                                 6 STATE HOUSE STATION                                                            AUGUSTA          ME    4333
   MERICLE 325 RESEARCH DRIVE LLC            C/O KELLEY POLISHAN &SOLFANELLI LLC     259 S KEYSER AVENUE                        ATTN: EUGENE KELLEY                   OLD FORGE        PA    18518
   MI DEPT OF THE ATTORNEY GENERAL           G MENNEN WILLIAMS BUILDING 7TH FL       525 W OTTAWA ST                            525 W OTTAWA ST                       LANSING          MI    48933
   MISSOURI ATTORNEY GENERAL'S OFFICE        SUPREME COURT BUILDING                  207 W HIGH ST                              207 W HIGH ST                         JEFFERSON CITY   MO    65101
   MN OFFICE OF THE ATTORNEY GENERAL                                                 445 MINNESOTA ST SUITE 1400                SUITE 1400                            ST PAUL          MN    55101
   MOHSIN MEGHJ AS LIQUIDATING TRUSTEE       C/O SHEPPARD MULLIN RICHTER HAMPTON     70 WEST MADISON STREET 48TH FLOOR          ATTN: J BERNBROCK & R MCLELLARN       CHICAGO          IL    60602
   MOHSIN MEGHJ AS LIQUIDATING TRUSTEE       C/O COLE SCHOTZ PC                      301 COMMERCE STREET SUITE 1700             ATTN: M. WARNER & B. WALLEN           FORT WORTH       TX    76102
   MONUMENT CONSULTING                       ATTN: SCOTT STEARMAN- OPERATIONS        1800 SUMMIT AVENUE                                                               RICHMOND         VA    23230
   MS OFFICE OF THE ATTORNEY GENERAL         WALTER SILLERS BUILDING                 550 HIGH ST STE 1200                       550 HIGH ST STE 1200                  JACKSON          MS    39201

In re: Neiman Marcus Group LTD LLC, et al.
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   MT OFFICE OF THE ATTORNEY GENERAL                                                  215 N SANDERS                              JUSTICE BUILDING THIRD FL             HELENA          MT    59601
   MUDRICK CAPITAL MANAGEMENT LP             C/O GIBSON DUNN & CRUTCHER LLP           200 PARK AVENUE                            AT:KARLAN FELDMAN MARTORANA FORTNEY   NEW YORK        NY    10166-0193
   MUDRICK CAPITAL MANAGEMENT LP             C/O GIBSON DUNN & CRUTCHER LLP           811 MAIN STREET SUITE 3000                 ATTN: MICHAEL A. ROSENTHAL            HOUSTON         TX    77002-6117
   NC ATTORNEY GENERAL'S OFFICE                                                       114 W EDENTON ST                                                                 RALEIGH         NC    27603
   ND OFFICE OF THE ATTORNEY GENERAL         STATE CAPITOL                            600 E BOULEVARD AVE DEPT 125               DEPT 125                              BISMARCK        ND    58505
   NE OFFICE OF THE ATTORNEY GENERAL                                                  2115 STATE CAPITOL                                                               LINCOLN         NE    68509
   NEIMAN MARCUS GROUP INC.                  C/O LATHAM WATKINS LLP                   355 S GRAND AVENUE SUITE 100               ATTN: BJORK TSEREGOUNIS & GRANDIN     LOS ANGELES     CA    90071
   NEIMAN MARCUS GROUP INC.                  C/O LATHAM & WATKINS LLP                 885 THIRD AVENUE                           ATTN: JOSEPH SERINO & ERIC LEON       NEW YORK        NY    10022
   NH OFFICE OF THE ATTORNEY GENERAL         NH DEPARTMENT OF JUSTICE                 33 CAPITOL ST                              33 CAPITOL ST                         CONCORD         NH    3301
   NJ OFFICE OF THE ATTORNEY GENERAL         RICHARD J HUGHES JUSTICE COMPLEX         25 MARKET ST 8TH FL WEST WING              25 MARKET ST 8TH FL WEST WING         TRENTON         NJ    8611
   NM OFFICE OF THE ATTORNEY GENERAL                                                  408 GALISTEO STREET                        VILLAGRA BUILDING                     SANTA FE        NM    87501
   NORTHPARK PARTNERS LP                     C/O POLSINELLI PC                        2950 N HARWOOD STREET SUITE 2100           ATTN: J. BILLINGSLEY & C. MORGAN      DALLAS          TX    75201
   NORTHPARK PARTNERS LP                                                              PO BOX 226864                                                                    DALLAS          TX    75222-6864
   NORTHPARK PARTNERS LP                     ATTN: JERRI KEPLEY                       8080 N CENTRAL EXPRESSWAY STE 1100                                               DALLAS          TX    75206
   NV OFFICE OF THE ATTORNEY GENERAL         OLD SUPREME COURT BUILDING               100 N CARSON ST                            100 N CARSON ST                       CARSON CITY     NV    89701
   NY OFFICE OF THE ATTORNEY GENERAL                                                  THE CAPITOL                                                                      ALBANY          NY    12224
   OFFICE OF THE ATTORNEY GENERAL DC                                                  441 4TH ST NW SUITE 1100                   SUITE 1100                            WASHINGTON      DC    20001
   OFFICE OF THE US TRUSTEE SDTX             ATTN: HECTOR DURAN STEPHEN STATHAM       515 RUSK STREET SUITE 3516                                                       HOUSTON         TX    77002
   OFFICE OF UTCS PENNSYLVANIA               ATTN: DEB SECREST                        651 BOAS STREET ROOM 925                   COLLECTIONS SUPPORT UNIT              HARRISBURG      PA    17121
   OHIO ATTORNEY GENERAL'S OFFICE            STATE OFFICE TOWER                       30 E BROAD ST 14TH FL                      30 E BROAD ST 14TH FL                 COLUMBUS        OH    43215
   OK OFFICE OF THE ATTORNEY GENERAL                                                  313 NE 21ST ST                                                                   OKLAHOMA CITY   OK    73105
   ORACLE AMERICA & ORACLE CREDIT CORP       C/O BUCHALTER                            55 SECOND STREET 17TH FLOOR                ATTN: SHAWN M. CHRISTIANSON           SAN FRANCISCO   CA    94105-3493
   OREGON DEPARTMENT OF JUSTICE                                                       1162 COURT ST NE                                                                 SALEM           OR    97301
   OTIS ELEVATOR COMPANY                     C/O DAY PITNEY LLP                       195 CHURCH STREET 15TH FLOOR               ATTN: JOSHUA W. COHEN                 NEW HAVEN       CT    6510
   PA OFFICE OF THE ATTORNEY GENERAL                                                  STRAWBERRY SQUARE 16TH FL                                                        HARRISBURG      PA    17120
   PARK PLACE TECHNOLOGIES LLC               C/ONELSON MULLINS RILEY SCARBOROUGH      101 CONSTITUTION AVE NW SUITE 900          ATTN DYLAN TRACHE &VALERIE MORRISON   WASHINGTON      DC    20001
   PASQUALE BRUNI (USA) LTD.                 C/O BAKER DONELSON BEARMAN PC            1301 MCKINNEY ST SUITE 3700                ATTN: SUSAN C. MATHEWS                HOUSTON         TX    77010
   PAUL WEISS RIFKIND WHARTON                & GARRISON LLP                           1285 AVENUE OF THE AMERICAS                ATTN ALICE EATON & ANDREW ROSENBERG   NEW YORK        NY    10019-6064
   PENSION BENEFIT GUARANTY CORP             ATTN: JACK BUTLER                        1200 K STREET NW                                                                 WASHINGTON      DC    20005-4026
   PENSION BENEFIT GUARANTY CORP             ATTN: RUDERMAN VAKILI & PFEUFFER         1200 K STREET NW                           OFFICE OF THE GENERAL COUNSEL         WASHINGTON      DC    20005-4026
   PHOTON INTERACTIVE SERVICES INC.          C/O CROWE & DUNLEVY PC                   2525 MCKINNON ST SUITE 425                 ATTN: DRIVER STEPHENSON & SLOAN       DALLAS          TX    75201
   PITNEY BOWES INC.                         C/O MEYER SUOZZI ENGLISH & KLEIN         1350 BROADWAY SUITE1420 RM 1420            ATTN: EDWARD J. LOBELLO               NEW YORK        NY    10018-7714
   PLDSPE LLCS                               C/O FAEGRE DRINKER BIDDLE & REATH        600 CAMPUS DR                              ATTN: MARITA S. ERBECK                FLORHAM PARK    NJ    07932-1047
   PLDSPE LLCS                               C/O FAEGRE DRINKER BIDDLE & REATH        1717 MAIN STREET SUITE 5400                ATTN: KRISTEN L. PERRY                DALLAS          TX    75201-7367
   PLDSPE LLCS                               C/O FAEGRE DRINKER BIDDLE & REATH        1177 AVENUE OF THE AMERICAS 41ST FL        ATTN: BRIAN P. MORGAN                 NEW YORK        NY    10036
   PRADA USA CORP MIU MIU                    ATTN: AIMEE NSANG                        609 W 52ND STREET                                                                NEW YORK        NY    10019
   PRIME CHEVY CHASE LLC & BRAVERN LLC       C/OGOLDBERG WEPRIN FINKEL GOLDSTEIN      1501 BROADWAY 22ND FLOOR                   ATTN: KEVIN J. NASH                   NEW YORK        NY    10036
   RAG & BONE INDUSTRIES LLC                                                          425 W 13TH ST FLOOR 3                      FLOOR 3                               NEW YORK        NY    10014
   RAG & BONE INDUSTRIES LLC                 ATTN: JENNY VALENCIA                     1000 CASTLE ROAD                                                                 SECAUCUS        NJ    7094
   RAKUTEN MARKETING LLC                                                              PO BOX 415613                                                                    BOSTON          MA    02241-5613
   RAKUTEN MARKETING LLC                     ATTN: T. MANGIATERRA- SR ANALYST AR      215 PARK AVE SOUTH 9TH FL                                                        NEW YORK        NY    10003
   RALPH LAUREN                                                                       335 NEW COMMERCE BLVD                      HANOVER INDUSTRIAL ESTATES            WILKES BARRE    PA    18706
   RALPH LAUREN                              ATTN: DONNA RIGGS- SR ACCT ANALYST       201 PENDLETON STREET                                                             HIGH POINT      NC    27260
   RALPH LAUREN                                                                       88295 EXPEDITE WAY                                                               CHICAGO         IL    60695
   RALPH LAUREN CORPORATION                  C/O SHEPPARD MULLIN RICHTER&HAMPTON      30 ROCKEFELLER PLAZA                       ATTN: ROBERT S. FRIEDMAN              NEW YORK        NY    10112
   RETAILMENOT INC                           C/O ASHBY & GEDDES PC                    500 DELAWARE AVENUE                        ATTN: GREGORY TAYLOR & STACY NEWMAN   WILMINGTON      DE    19899
   RI OFFICE OF THE ATTORNEY GENERAL                                                  150 S MAIN ST                                                                    PROVIDENCE      RI    2903
   RICHLINE GROUP INC                        C/O BAKER DONELSON BEARMAN ET AL         201 ST CHARLES AVENUE SUITE 3600           ATTN JAN M HAYDEN                     NEW ORLEANS     LA    70170
   RICHLINE GROUP INC                        C/O BAKER DONELSON BEARMAN ET AL         1301 MCKINNEY STREET SUITE 3700            ATTN SUSAN C MATHEWS                  HOUSTON         TX    77010
   RIVERWALK MARKETPLACE LLC                 HOWARD SPECTOR C/O SPECTOR & COX         12770 COIT ROAD SUITE 1100                 BANNER PLACE                          DALLAS          TX    75251
   ROBERT ACKERMAN AND OTHER CLIENTS         C/O CARRINGTON COLEMAN SLOMAN            901 MAIN STREET SUITE 5500                 ATTN: JASON M. KATZ                   DALLAS          TX    75202
   ROBERT BROWNING                           C/O VANGUARD LAW LLC                     PO BOX 939                                 ATTN: SPENCER NATHAN THAL             POULSBO         WA    98370
   ROBERTO COIN INC                          ATTN: SCOBIE & SIEGEL - AJAMIE LLP       711 LOUISIANA SUITE 2150                   PENNZOIL PLACE - SOUTH TOWER          HOUSTON         TX    77002
   RTB HOUSE INC                             ATTN: ERIN GONZALEZ- ACCOUNTING          PO BOX 2506                                C/O AVITUS GROUP ACCTG SVCS DEPT      BILLINGS        MT    59103
   RTB HOUSE INC.                            C/O DUANE MORRIS LLP                     ATTN: TIMOTHY BROCK                        230 PARK AVENUE                       NEW YORK        NY    10160
   SAN MARCOS CISD                           C/O LINEBARGER GOGGAN LLP                PO BOX 17428                               ATTN: DIANE W. SANDERS                AUSTIN          TX    78760-7428
   SAS INSTITUE INC.                         ATTN: H. HOWARD BROWNE                   100 SAS CAMPUS DRIVE                                                             CARY            NC    27513
   SAS INSTITUTE INC.                        C/O K&L GATES LLP                        1000 MAIN STREET SUITE 2550                ATTN: ELIZABETH A. GILMAN             HOUSTON         TX    77002
   SAS INSTITUTE INC.                        C/O K&L GATES LLP                        1 SW COLUMBIA ST SUITE 1900                ATTN: BRANDY A. SARGENT               PORTLAND        OR    97258
   SC OFFICE OF THE ATTORNEY GENERAL         REMBERT C DENNIS BLDG                    1000 ASSEMBLY ST RM 519                    1000 ASSEMBLY ST RM 519               COLUMBIA        SC    29201
   SD OFFICE OF THE ATTORNEY GENERAL                                                  1302 E HIGHWAY 14 STE 1                    STE 1                                 PIERRE          SD    57501
   SECURITIES AND EXCHANGE COMMISSION                                                 100 F STREET NE                                                                  WASHINGTON      DC    20549
   SECURITIES AND EXCHANGE COMMISSION        NEW YORK REGIONAL OFFICE                 200 VESEY ST STE 400                       ATTN ANDREW CALAMARI                  NEW YORK        NY    10281-1022
   SECURITIES AND EXCHANGE COMMISSION        ATTN: SONIA A. CHAE                      175 W JACKSON BLVD SUITE 1450                                                    CHICAGO         IL    60604
   SIMON PROPERTY GROUP INC.                 ATTN: RONALD M. TUCKER                   225 WEST WASHINGTON STREET                                                       INDIANAPOLIS    IN    46204
   SISLEY COSMETICS USA INC                  ATTN: KENDRA CORDEIRO- AR                19 W 44TH ST STE 514                                                             NEW YORK        NY    10036-5900
   SKINNER LARRY NEAL                        JOYCE W LINDAUER & KERRY S ALLEYNE       1412 MAIN STREET                           SUITE 500                             DALLAS          TX    75202
   SOLOW BUILDING COMPANY III LLC            C/O HAYNES AND BOONE LLP                 1221 MCKINNEY STREET SUITE 4000            ATTN: KELLI S. NORFLEET               HOUSTON         TX    77010
   SOLOW BUILDING COMPANY III LLC            C/O ROSENBERG & ESTIS PC                 733 THIRD AVENUE                           ATTN: JACK ROSE                       NEW YORK        NY    10017

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                       NAME                                 ATTENTION                              ADDRESS 1                                ADDRESS 2                     CITY        STATE     ZIP        COUNTRY
   SPINELLI KILCOLLIN INC                    C/O WEYCER KAPLAN PULASKI & ZUBER     24 GREENWAY PLZ STE 2050                  ATTN: JEFF CARRUTH                    HOUSTON            TX    77046-2445
   STUART WEITZMAN INC                                                             10 HUDSN YARDS FLOOR 18                   FLOOR 18                              NEW YORK           NY    10001
   STUART WEITZMAN INC                       ATTN: CHRISTINE PECK- DIR OF AR       10 HUDSON YARDS FL 18                                                           NEW YORK           NY    10001-2158
   SYDNEY EVAN                               C/O SNIPPER WAINER & MARKOFF          232 NORTH CANON DRIVE                     ATTN MAURICE WAINER ESQ.              BEVERLY HILLS      CA    90210
   TARRANT COUNTY DALLAS COUNTY              C/O LINEBARGER GOGGAN BLAIR SAMPSON   2777 N STEMMONS FREEWAY SUITE 1000        ATTN: ELIZABETH WELLER                DALLAS             TX    75207
   TATA CONSULTANCY SERVICES LTD                                                   NIRMAL BLDG 9TH FLOOR                     NARIMAN POINT                         MUMBAI                   400021     INDIA
   TATA CONSULTANCY SERVICES LTD             ATTN: KALPANA SUBRAMANIAN             379 THORNALL STREET                                                             EDISTON            NJ    8837
   TAUBMAN LANDLORDS                         ATTN: ANDREW S. CONWAY ESQ.           200 EAST LONG LAKE ROAD                   SUITE 300                             BLOOMFIELD HILLS   MI    48304
   TAYLER BAYER                              C/O ALTSHULER BERZON LLP              177 POST STREET SUITE 300                 ATTN: MICHAEL RUBIN &MATTHEW MURRAY   SAN FRANCISCO      CA    94108
   TAYLER BAYER                              C/O MCGUINN HILLSMAN & PALEFSKY       535 PACIFIC AVENUE                        ATTN: CLIFF PALEFSKY & KEITH EHRMAN   SAN FRANCISCO      CA    94133
   TEXAS COMPTROLLER PUBLIC ACCOUNTS         ATTN: COURTNEY J. HULL                PO BOX 12548                              BANKRUPTCY & COLLECTIONS DIV MC 008   AUSTIN             TX    78711-2548
   TEXAS COMPTROLLER PUBLIC ACCOUNTS         UNCLAIMED PROPERTY DIVISION           PO BOX 12548 MC008                        ATTN: JASON BINFORD & ABIGAIL RYAN    AUSTIN             TX    78711-2548
   TEXAS OFFICE OF ATTORNEY GENERAL          ATTN: JASON BINFORD & ABIGAIL RYAN    PO BOX 12548                              BANKRUPTCY & COLLECTIONS DIV MC 008   AUSTIN             TX    78711-2548
   THE APPAREL GROUP LTD.                    C/O JD THOMPSON LAW                   PO BOX 33127                              ATTN: JUDY D. THOMPSON                CHARLOTTE          NC    28233
   THE IRVINE COMPANY LLC                    C/O BEWLEY LASSLEBEN & MILLER LLP     13215 E PENN ST SUITE 510                 ATTN: ERNIE ZACHARY PARK              WHITTIER           CA    90602
   THE ROW                                   ATTN: JAN KAPLAN - TREASURY MANAGER   609 GREENWICH ST                                                                NEW YORK           NY    10014
   THEORY LLC                                                                      38 GANSEVOORT STREET                                                            NEW YORK           NY    10014
   THEORY LLC                                ATTN: LIEU LA                         165 POLITO AVENUE                                                               LYNDHURST          NJ    7071
   THREE GALLERIA OFFICE BUILDINGS LLC       ATTN: JEFF CARUTH                     3030 MATLOCK RD SUITE 201                 WEYCER KAPLAN PULASKI & ZUBER PC      ARLINGTON          TX    76015
   TIFFANY TRAN                              C/O HOWIE & SMITH LLP                 1777 BOREL PLACE SUITE 1000               ATTN: ROBERT GEORGE HOWIE             SAN MATEO          CA    94402
   TN OFFICE OF THE ATTORNEY GENERAL                                               301 6TH AVE N                                                                   NASHVILLE          TN    37243
   TOM FORD BEAUTY                                                                 845 MADISON AVENUE                                                              NEW YORK           NY    10021
   TOM FORD BEAUTY                           ATTN: ACEL JOSEPH                     7 CORPORATE CENTER DRIVE                                                        MELVILLE           NY    11747
   TOM FORD INTERNATIONAL LLC                JUSTIN BERNBROCK - SHEPPARD MULLIN    70 WEST MADISON STREET 48TH FLOOR         THREE FIRST NATIONAL PLAZA            CHICAGO            IL    60602
   TORY BURCH - TORY BY TRB                  ATTN: TRANLY LY                       11 W 19TH STREET 7TH FLOOR                COPORATE OFFICES & SHOWROOM           NEW YORK           NY    10011
   TPG SPECIALTY LENDING INC.                C/O JONES WALKER LLP                  811 MAIN ST SUITE 2900                    ATTN: JOSEPH E. BAIN                  HOUSTON            TX    77002
   TPG SPECIALTY LENDING INC.                C/O SCHULTE ROTH & ZABEL              919 THIRD AVENUE                          ATTN: HARRIS WALSH & LEONARD          NEW YORK           NY    10022
   TR PINNACLE CORP.                         C/O HOLLAND & KNIGHT LLP              31 W 52ND STREET                          ATTN: BARBRA R. PARLIN                NEW YORK           NY    10019
   TR PINNACLE CORP.                         C/O NIXON PEABODY LLP                 ATTN: JAMES MAYER, ESQ.                   70 WEST MADISON, SUITE 3500           CHICAGO            IL    60602
   TR PINNACLE CORP.                         C/O HOLLAND & KNIGHT LLP              200 CRESCENT COURT SUITE 1600             ATTN: BRIAN J. SMITH                  DALLAS             TX    75201
   TRAVIS COUNTY                             ATTN: JASON A. STARKS                 PO BOX 1748                                                                     AUSTIN             TX    78767
   TX OFFICE OF THE ATTORNEY GENERAL                                               300 W 15TH ST                                                                   AUSTIN             TX    78701
   UMB BANK N.A.                             C/O MCDERMOTT WILL & EMERY LLP        700 MILAM ST STE 1300                     ATTN: BRANDON WHITE                   CHICAGO            IL    60606-0029
   UMB BANK N.A.                             ATTN: DAVID ELSBERG                   1290 AVENUE OF THE AMERICAS                                                     NEW YORK           NY    10104
   UMB BANK N.A. ET AL                       C/O KRAMER LEVIN NAFTALIS & FRANKEL   1177 AVENUE OF THE AMERICAS               ATTN: D MANNAL & R RINGER             NEW YORK           NY    10036
   UMB BANK NA                               ATTN GAVIN WILKINSON                  120 S 6TH ST STE 1400                                                           MINNEAPOLIS        MN    55402-1807
   UMB BANK NA                               NATHAN COCO - MCDERMOTT WILL EMERY    700 MILAM ST                              STE 1300                              HOUSTON            TX    77002-2736
   UMB BANK NA                               NATHAN COO - MCDERMOTT WILL EMERY     700 MILAM ST                              STE 1300                              HOUSTON            TX    77002-2736
   UNSECURED CREDITORS COMMITTEE             PACHULSKI STANG ZIEHL & JONES LLP     10100 SANTA MONICA BLVD 13TH FLOOR        ATTN: PACHULSKI POMERANTZ KORNFELD    LOS ANGELES        CA    90067
   UNSECURED CREDITORS COMMITTEE             COLE SCHLOTZ PC                       301 COMMERCE STREET SUITE 1700            ATTN: M. WARNER & B. WALLEN           FORT WORTH         TX    76102
   US ATTORNEY'S OFFICE                      SOUTHERN DISTRICT OF TEXAS            1000 LOUISIANA STE 2300                                                         HOUSTON            TX    77002
   US ATTORNEYS OFFICE SDTX                  ATTN: RICHARD A. KINCHELOE            1000 LOUISIANA ST SUITE 2300                                                    HOUSTON            TX    77002
   UTAH OFFICE OF THE ATTORNEY GENERAL       UTAH STATE CAPITOL COMPLEX            350 NORTH STATE ST STE 230                350 NORTH STATE ST STE 230            SALT LAKE CITY     UT    84114
   VA OFFICE OF THE ATTORNEY GENERAL                                               202 N NINTH ST                                                                  RICHMOND           VA    23219
   VERDEVELENO SL                            ATTN: HARRIS J KOROGLU                200 SOUTH BISCAYNE BLVD STE 4100          C/O SHUTTS & BOWEN LLP                MIAMI              FL    33131
   VERMONT ATTORNEY GENERAL'S OFFICE                                               109 STATE ST                                                                    MONTPELIER         VT    5609
   VERONICA BEARD                                                                  26 W 17 STREET SUITE 303                  SUITE 303                             NEW YORK           NY    10011
   VERONICA BEARD                                                                  900 SECAUCUS ROAD                                                               SECAUCUS           NJ    7094
   VERONICA BEARD                            ATTN: MARIE JOSMA- MGR ACCTS RECV     225 W 35TH STREET 10TH FLOOR                                                    NEW YORK           NY    10001
   VERSACE USA INC                           ATTN: IDA REBUENO- AR & CREDIT        3 COLUMBUS CIRCLE 20TH FLOOR              20TH FLOOR                            NEW YORK           NY    10019
   VINCE                                                                           500 5TH AVENUE 20TH FLOOR                 20TH FLOOR                            NEW YORK           NY    10110
   WA OFFICE OF THE ATTORNEY GENERAL                                               1125 WASHINGTON ST SE                                                           OLYMPIA            WA    98501
   WACHTELL LIPTON ROSEN & KATZ              STEPHANIE MARSHAK JOSHUA FELTMAN      51 WEST 52ND STREET                       DANIEL WERTMAN & MICHAEL BENN         NEW YORK           NY    10019
   WESTWOOD CONTRACTORS INC.                 C/O CATNEY HANGER LLP                 4514 COLE AVE STE 500                     ATTN: J. MACHIR STULL                 DALLAS             TX    75205-4237
   WILMINGTON SAVINGS FUND SOCIETY           C/O LUGENBUHL WHEATON PECK RANKIN     601 POYDRAS STREET SUITE 2775             ATTN: B. KADDEN & C. TORRANS          NEW ORLEANS        LA    70130
   WILMINGTON SAVINGS FUND SOCIETY           C/O STROOCK & STROOCK & LAVAN LLP     180 MAIDEN LANE                           ATTN: J. GOLDSTEIN & G. SASSON        NEW YORK           NY    10038
   WILMINGTON TRUST NA                       ATTN: S. CIMALORE & R. RITRIVATO      1100 N MARKET STREET                                                            WILMINGTON         DE    19890
   WILMINGTON TRUST NA                       C/O REED SMITH LLP                    811 MAIN ST SUITE 1700                    ATTN: K. GWYNNE L. LIM & J. ANGELO    HOUSTON            TX    77002
   WILMINGTON TRUST NATNL ASSOC ET AL        C/O REED SMITH LLP                    811 MAIN STREET SUITE 1700                ATTN: LLOYD LIM & RACHEL THOMPSON     HOUSTON            TX    77002-6110
   WILMINGTON TRUST NATNL ASSOC ET AL        C/O REED SMITH LLP                    1201 MARKET STREET SUITE 1500             ATTN: KURT GWYNNE & KATELIN MORALES   WILMINGTON         DE    19801
   WILSON 151 WORTH LLC                      C/O GOULSTON & STORRS PC              400 ATLANTIC AVENUE                       ATTN: VANESSA P. MOODY                BOSTON             MA    02110-3333
   WISCONSIN ATTORNEY GENERAL'S OFFICE                                             114 E STATE CAPITOL                                                             MADISON            WI    53702
   WV OFFICE OF THE ATTORNEY GENERAL         STATE CAPITOL                         1900 KANAWHA BLVD E                       BUILDING 1 RM E-26                    CHARLESTON         WV    25305
   WVF-PARAMOUNT 745 PROPERTY LP             C/O HAYNES AND BOONE LLP              ATTN: KELLI S. NORFLEET                   1221 MCKINNEY STREET                  HOUSTON            TX    77010-2008
   WVF-PARAMOUNT 745 PROPERTY LP             C/O ROSENBERG & ESTIS PC              733 THIRD AVENUE                          ATTN: JACK ROSE AND HOWARD KINGSLEY   NEW YORK           NY    10017
   WY OFFICE OF THE ATTORNEY GENERAL         KENDRICK BUILDING                     2320 CAPITOL AVE                          2320 CAPITOL AVE                      CHEYENNE           WY    82002
   YVES SAINT LAURENT AMERICA INC                                                  3 E 57TH STREET LOBBY                                                           NEW YORK           NY    10022
   YVES SAINT LAURENT AMERICA INC            ATTN: DANIEL BYRNES                   150 TOTOWA RD                                                                   WAYNE              NJ    07470-3117


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                                   NAME                                              ATTENTION                                          ADDRESS 1                                             EMAIL
210 MUNI, LLC                                                          C/O COZEN O’CONNOR                           ATTN: FREDERICK E. SCHMIDT, JR.                       ESCHMIDT@COZEN.COM
210 MUNI, LLC                                                          C/O COZEN O’CONNOR                           ATTN: BRYAN P. VEZEY                                  BVEZEY@COZEN.COM
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360I LLC & IPROSPECT.COM INC.                                          C/O UNDERWOOD PERKINS, P.C.                  ATTN: DAVID L. CAMPBELL, ESQ. & ELI D. PIERCE, ESQ.   EPIERCE@UPLAWTX.COM
360I LLC & IPROSPECTS.COM INC.                                         C/O MOSES & SINGER LLP                       ATTN: JESSICA K. BONTEQUE, ESQ.                       JBONTEQUE@MOSESSINGER.COM
                                                                                                                                                                          KAURZADA@REEDSMITH.COM
                                                                                                                    ATTN: KEITH M. AURZADA & MICHAEL P. COOLEY &          MPCOOLEY@REEDSMITH.COM
5TH AVENUE SALON LLC                                                   C/O REED SMITH LLP                           LINDSEY L. ROBIN                                      LROBIN@REEDSMITH.COM
                                                                       C/O BAKER, DONELSON, BEARMAN,
64 FACETS, INC                                                         CALDWELL & BERKOWITZ, PC                     ATTN SUSAN C MATHEWS                                  SMATHEWS@BAKERDONELSON.COM
                                                                       C/O BAKER, DONELSON, BEARMAN,
64 FACETS, INC                                                         CALDWELL & BERKOWITZ, PC                     ATTN JAN M HAYDEN                                     JHAYDEN@BAKERDONELSON.COM
                                                                                                                                                                          TKLESTADT@KLESTADT.COM
64 FACETS, INC., RICHLINE GROUP, INC., A. LINK JEWELRY CO., LLC, AND   C/O KLESTADT WINTERS JURELLER                ATTN: TRACY L. KLESTADT & IAN R. WINTERS &            IWINTERS@KLESTADT.COM
JEMMA WYNNE JEWELLERY, LLC                                             SOUTHARD & STEVENS, LLP                      ANDREW C. BROWN                                       ABROWN@KLESTADT.COM
                                                                       C/O BAKER, DONELSON, BEARMAN,
A LINK JEWELRY CO, LLC                                                 CALDWELL & BERKOWITZ, PC                     ATTN SUSAN C MATHEWS                                  SMATHEWS@BAKERDONELSON.COM
                                                                       C/O BAKER, DONELSON, BEARMAN,
A LINK JEWELRY CO, LLC                                                 CALDWELL & BERKOWITZ, PC                     ATTN JAN M HAYDEN                                     JHAYDEN@BAKERDONELSON.COM
ACKERMAN, BEREN-SOSNICK, BOLENE, BORASKI, CARREIRO, FEIWUS,
FRADIN, GODDARD, GORISCHEK, HUSSEY, KORNAJCIK, LIND, MARTENS,
MCWILLIAMS, MCEVOY, MONSOUR, SAMUELSON, SHIELDS, STORDAHL              C/O CARRINGTON COLEMAN SLOMAN &
WILLIAMS, & WYATT                                                      BLUMENTHAL LLP                               ATTN: JASON M. KATZ                                JKATZ@CCSB.COM
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                                                                                                                    ATTN: PAUL E. HEATH & MATTHEW W. MORAN &           MMORAN@VELAW.COM
AD HOC GROUP OF TERM LOAN LENDERS                                      C/O VINSON & ELKINS LLP                      KATHERINE DRELL GRISSEL                            KGRISSEL@VELAW.COM
                                                                                                                                                                       JAFELTMAN@WLRK.COM
                                                                                                                    ATTN: JOSHUA A. FELTMAN & EMIL A. KLEINHAUS &      EAKLEINHAUS@WLRK.COM
AD HOC GROUP OF TERM LOAN LENDERS                                      C/O WACHTELL, LIPTON, ROSEN & KATZ           STEPHANIE A. MARSHAK                               SAMARSHAK@WLRK.COM
                                                                                                                                                                       HPERRIN@VELAW.COM
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                                                                                                                    ATTN: BARRETT H. REASONER & DAVID SHEEREN &        DSHEEREN@GIBBSBRUNS.COM
AD HOC GROUP OF TERM LOAN LENDERS                                      C/O GIBBS & BRUNS LLP                        CAITLIN HALPERN                                    CHALPERN@GIBBSBRUNS.COM
                                                                                                                                                                       AROSENBERG@PAULWEISS.COM
                                                                                                                                                                       AEATON@PAULWEISS.COM
                                                                                                                                                                       CTOBLER@PAULWEISS.COM
                                                                                                                    ATTN: ANDREW ROSENBERG & ALICE BELISLE EATON & DMEYERS@PAULWEISS.COM
                                                                       C/O PAUL, WEISS, RIFKIND, WHARTON &          CLAUDIA TOBLER & DIANE MYERS & NEAL DONNELLY & NDONNELLY@PAULWEISS.COM
AD HOC SECURED NOTEHOLDERS COMMITTEE                                   GARRISON LLP                                 PATRICIA WALSH                                     PWALSH@PAULWEISS.COM
                                                                                                                                                                       JHIGGINS@PORTERHEDGES.COM
                                                                                                                    ATTN: JOHN F. HIGGINS & ERIC M. ENGLISH & M. SHANE EENGLISH@PORTERHEDGES.COM
AD HOC SECURED NOTEHOLDERS COMMITTEE                                   C/O PORTER HEDGES LLP                        JOHNSON                                            SJOHNSON@PORTERHEDGES.COM
                                                                                                                                                                       TLALLIER@FOLEYMANSFIELD.COM
AJD PLATINUM INC. D/B/A AMERICAN JEWELRY DESIGNS                       C/O FOLEY & MANSFIELD PLLP                   ATTN: THOMAS J. LALLIER & CAMERON A. LALLIER       CLALLIER@FOLEYMANSFIELD.COM
AKRIS, INC. AND AKRIS PRET-A-PORTER AG, CHANEL, INC., GIORGIO ARMANI   C/O SHEPPARD MULLIN RICHTER & HAMPTON
CORPORATION, RALPH LAUREN CORPORATION, AND TORY BURCH LLC              LLP                                   ATTN: JUSTIN BERNBROCK, ESQ.                                 JBERNBROCK@SHEPPARDMULLIN.COM
ALASKA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                     ATTORNEY.GENERAL@ALASKA.GOV
                                                                                                                                                                          PHEATH@VELAW.COM
ALTER DOMUS PRODUCTS CORP. (F/K/A CORTLAND PRODUCTS CORP.) AS DIP                                                   ATTN: PAUL E. HEATH & MATTHEW W. MORAN &              MMORAN@VELAW.COM
AGENT                                                             C/O VINSON & ELKINS LLP                           KATHERINE DRELL GRISSEL                               KGRISSEL@VELAW.COM
ALTER DOMUS PRODUCTS CORP. (F/K/A CORTLAND PRODUCTS CORP.) AS DIP                                                                                                         JAFELTMAN@WLRK.COM
AGENT                                                             C/O WACHTELL, LIPTON, ROSEN & KATZ                ATTN: JOSHUA A. FELTMAN & EMIL A. KLEINHAUS           EAKLEINHAUS@WLRK.COM
ALTER DOMUS PRODUCTS CORP. (F/K/A CORTLAND PRODUCTS CORP.) AS DIP                                                                                                         HPERRIN@VELAW.COM
AGENT                                                             C/O VINSON & ELKINS LLP                           ATTN: HARRY A. PERRIN & KIRAN VAKAMUDI                KVAKAMUDI@VELAW.COM
ANKURA TRUST COMPANY, LLC, AS TRUSTEE AND NOTES COLLATERAL
AGENT UNDER THE 14% SECOND LIEN NOTES DUE 2024 ISSUED BY NEIMAN
MARCUS GROUP LTD LLC, THE NEIMAN MARCUS GROUP LLC, MARIPOSA
BORROWER, INC., AND THE NMG SUBSIDIARY LLC                        C/O HOGAN LOVELLS US LLP                          ATTN: S. LEE WHITESELL                                LEE.WHITESELL@HOGANLOVELLS.COM
ANKURA TRUST COMPANY, LLC, AS TRUSTEE AND NOTES COLLATERAL
AGENT UNDER THE 14% SECOND LIEN NOTES DUE 2024 ISSUED BY NEIMAN
MARCUS GROUP LTD LLC, THE NEIMAN MARCUS GROUP LLC, MARIPOSA                                                                                                               DAVID.SIMONDS@HOGANLOVELLS.COM
BORROWER, INC., AND THE NMG SUBSIDIARY LLC                        C/O HOGAN LOVELLS US LLP                          ATTN: DAVID SIMONDS & EDWARD MCNEILLY                 EDWARD.MCNEILLY@HOGANLOVELLS.COM


In re: Neiman Marcus Group LTD LLC, et al.
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                              NAME                                                   ATTENTION                                         ADDRESS 1                                     EMAIL
ANKURA TRUST COMPANY, LLC, AS TRUSTEE AND NOTES COLLATERAL
AGENT UNDER THE 14% SECOND LIEN NOTES DUE 2024 ISSUED BY NEIMAN
MARCUS GROUP LTD LLC, THE NEIMAN MARCUS GROUP LLC, MARIPOSA                                                                                                     CHRIS.BRYANT@HOGANLOVELLS.COM
BORROWER, INC., AND THE NMG SUBSIDIARY LLC                             C/O HOGAN LOVELLS US LLP                      ATTN: CHRISTOPHER R. BRYANT & ROBIN KELLER ROBIN.KELLER@HOGANLOVELLS.COM
                                                                                                                                                                JWIELEBINSKI@WINSTEAD.COM
ANNALY CRE LLC                                                         C/O WINSTEAD PC                          ATTN: JOSEPH J. WIELEBINSKI & JASON A. ENRIGHT  JENRIGHT@WINSTEAD.COM
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In re: Neiman Marcus Group LTD LLC, et al.
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FOUR HANDS LLC                                                              2090 WOODWARD ST                                                   AUSTIN                  TX       78744
                                         C/O RICHARDS RODRIGUEZ & SKEITH,                                        816 CONGRESS AVENUE SUITE
FOUR HANDS, LLC                          LLP                                ATTN: BENJAMIN H. HATHAWAY           1200                      AUSTIN                      TX       78701
GILMAR DIVISIONE INDUSTRIA S.P.A.        ANNIBALE SFRAPPINI                 VIA MALPASSO, 723/725                                          SAN GIOVANNI IN MARIGNANO            47842      ITALY
GP INTERIORS SRLS                        ATTN: MS. CINZIA DELLE CAVE        VIA M. TROISI I TRAV. SNC                                      BRUSCIANO                            80031      ITALY
GROWN ALCHEMIST                          JUSTINE KIPPIN                     3 MOSS PLACE                                                   NORTH MELBOURNE             VICTORIA 3051       AUSTRALIA
H.O.B. LLC DBA LEE BREVARD                                                  3435 OCEAN PARK BLVD                 STE. 107-420              SANTA MONICA                CA       90405
HALBERT USA INC                                                             PO BOX 418172                                                  BOSTON                      MA       02241
HALBERT USA INC./DBA TATEOSSIAN          ROBERT TATEOSSIAN                  445 31F FIFTH AVE.                                             NEW YORK                    NY       10016
JETSETGO, LLC                            CAROLE MATIC                       535 8TH AVENUE, SUITE 2101                                     NEW YORK                    NY       10018
JILL PUMPELLY FINE ART, LLC              ATTN: JILL MARIE PUMPELLY          8423 SAN LEANDRO DR.                                           DALLAS                      TX       75218
JOULES USA INC                           CREDIT CONTROL                     58 WEST 40TH STREET                  12TH FLOOR                NEW YORK                    NY       10018
JOULES USA INC                                                              PO BOX 675298                                                  DETROIT                     MI       48267
JPT GROUP, LLC                                                              220 S 6TH ST                         STE 300                   MINNEAPOLIS                 MN       55402-1418
JPT GROUP, LLC                                                              809 MEANDER CT                       809 MEANDER CT            MEDINA                      OR       97702
JPT GROUP, LLC                           ATTN THOMAS ALLEN WILLIAMS         19485 RANDALL CT                                               BEND                        OR       97702
JULIA KNIGHT INC.                        ATTN: JULIA KNIGHT                 1400 LINCOLN AVE.                                              MINNEAPOLIS                 MN       55403-2803
JUST BEE QUEEN                           SYDNEY STRAUSS                     690 HARBOR DRIVE                                               KEY BISCAYNE                FL       33149
KALATY RUG CORP.                         FARSHAD KALATY                     156 DUFFY AVE                                                  HICKSVILLE                  NY       11801
KAT MACONIE LIMITED                      KAT MACONIE                        FIRST FLOOR                          1 BERMONDSEY SQUARE       LONDON                      LONDON SE1 3UN      UNITED KINGDOM
KOH GEN DO AMERICAS LLC                  CINDEE DAY                         2665 WILLIAMSON PL, SUITE 112                                  DUPONT                      WA       98327

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                 NAME                                ATTENTION                        ADDRESS 1                         ADDRESS 2                   CITY    STATE       ZIP        COUNTRY
KOH GEN DO AMERICAS LLC                  CINDEE DAY                      2665 WILLIAMSON PL                 SUITE 112                   DUPONT             WA       98327
LE CREUSET OF AMERICA                    ACCOUNTS PAYABLE                114 BOB GIFFORD BLVD                                           EARLY BRANCH       SC       29916
LE CREUSET OF AMERICA, INC.              JENNIFER WILSON                 114 BOB GIFFORD BLVD                                           EARLY BRANCH       SC       29916
LENOX CORP.                              LISA MCDONNELL                  1414 RADCLIFFE ST                                              BRISTOL            PA       19007
LIFETECH RESOURCES, LLC                  ATTN: ANNA CARIERI              700 SCIENCE DR                                                 MOORPARK           CA       93021
LOCALISED INC                            FINANCE DEPARTMENT              1460 BROADWAY                                                  NEW YORK           NY       10036
LUCAS + MCKEARN, LLC                     JOSEPH MCKEARN                  10300 PERKINS ROAD                 SUITE 101                   BATON ROUGE        LA       70810
LUZ CAMINO                                                               AUGUSTO FIGUEROA 27 3B                                         MADRID                      28004
MARGIELA USA INC                         GAIL CREE                       220 W. 19TH. STREET                                            NEW YORK           NY       10011
MARION PARKE DESIGNS LLC                 ACCOUNTS RECEIVABLE             275 MARKET STREET                  SUITE C-27                  MINNEAPOLIS        MN       55405
MATRIX RESOURCES, INC.                   CHRIS GLASTETTER                400 PERIMETER CENTER TERRACE       SUITE 300                   ATLANTA            GA       30346
MEMO AMERICA INC.                        PASCAL RIESEN                   60 BROAD STREET                                                NEW YORK           NY       10004
MIRROR IMAGE HOME                        CHAD CANALE                     2710 SUPPLY AVE                                                COMMERCE           CA       90040
MONTINO                                  ATTN: FRED GASIMOV              13 RUE DE MAUBEUGE                                             PARIS                       75009      FRANCE
N. GOGOLICK & SON CORP                   LARRY A GOGOLICK                5244 MAYFIELD RD                                               LYNDHURST          OH       44124
NEST JEWELRY                             JANETTE WILKINSON               7901 CASTINE DR                                                MCKINNEY           TX       75071
NUNA BABY ESSENTIALS, INC                ATTN: JAMES FLAMM               70 THOUSAND OAKS BLVD                                          MORGANTOWN         PA       19543
OAKVILLE PRODUCE PARTNERS , LLC          C/O LEADER-PICONE & YOUNG, LLP  ATTN: KAIPO K.B. YOUNG, ESQ.       1970 BROADWAY SUITE 1030    OAKLAND            CA       94612
OLARTE FOUSSARD & CO, INC                EMEE OLARTE FOUSSARD            60 WALKER STREET                                               NEW YORK           NY       10013
ONE JEANSWEAR GROUP LLC                  ATTN: NANCY M. DODDERIDGE, ESQ. 1411 BROADWAY                                                  NEW YORK           NY       10018
ONE JEANSWEAR GROUP LLC                  C/O GEOFFREY T. RAICHT, PC      ATTN GEOFFREY T. RAICHT            1 KITTLE RD                 CHAPPAQUA          NY       10514
PENINSULA HOME COLLECTION CO.            ATTN: GONZALO ALONSO            17501 VON KARMAN AVE                                           IRVINE             CA       92614-6207
PETITE PLUME LLC                         EMILY HIKADE                    619 NEW YORK AVE                                               CLAYMONT           DE       19703
PIESZAK                                  CARSTEN PEDERSEN                GL. SKARTVED                       11                          BJERT                       6091       DENMARK
PLS/MAISON LABICHE                       AMILKA LORA                     6801 WEST SIDE AVENUE                                          NORTH BERGEN       NJ       07047
RACIL C LIMITED                                                          MONMOUTH HOUSE                     87-93 WESTBOURNE GROVE      LONDON                      W2 4UL     UNITED KINGDOM
RARE BEAUTY BRANDS, INC.                 ATTN: MARC SHORES               83 MORSE ST.                       STE 8A                      NORWOOD            MA       02062
REBECCA TAYLOR, INC.                     ATTN AKIKO OKUMA                GENERAL COUNSEL                    500 FIFTH AVENUE 20TH FLOOR NEW YORK           NY       10110
REEM ACRA                                ATTN: SCOTT VOGEL               240 WEST 35TH ST                   7TH FLOOR                   NEW YORK           NY       10001
REWARDSTYLE, INC                         SALLY STORIE                    3102 OAK LAWN AVENUE               SUITE 900                   DALLAS             TX       75219
RFID SHERPAS, LLC                        ATTN: MARSHALL KAY              129 SANDRINGHAM DRIVE                                          NORTH YORK         ON       M3H 1E2    CANADA
ROOTS SAS                                                                10 RUE DE LA PAIX                                              PARIS                       75002      FRANCE
ROYAL-PEDIC MATTRESS MFG.                TONY KELEMEN                    341 N. ROBERTSON BLVD.                                         BEVERLY HILLS      CA       90211
ROYAL-PEDIC MATTRESS MFG.                                                341 N. ROBERTSON BLVD.                                         BEVERLY HILLS      CA       90211
SAVOY HOUSE                              GINA JINKS                      3130 N.BERKELEY LAKE RD                                        DULUTH             GA       30096
SIENA LASKER                             SIENA LASKER                    11918 CHAPARAL ST.                                             LOS ANGELES        CA       90049
SIGNED PIECES                            PAWEL GOJ                       551 FIFTH AVE                      SUITE 1416                  NEW YORK           NY       10176
SKC & SONS, INC.                         RAVI BHUSHAN                    932 W. VENICE BLVD.                                            LOS ANGELES        CA       90015
SOLACE LONDON                            C/O LAURA TAYLOR SOLACE LONDON 115 COVENTRY ROAD                                               LONDON                      E2 6GG     UNITED KINGDOM
STEFANO BEMER SRL                        TOMMASO MELANI                  VIA DI SAN NICCOLO' 2                                          FLORENCE                    50125      ITALY
SWIMWEAR ANYWHERE                        SWIMWEAR ANYWHERE INC           85 SHERWOOD AVE                                                FARMINGDALE        NY       11735
TAI JEWELRY                              ATTN: TAI RITTICHAI             56 WEST DAYTON STREET                                          PASADENA,          CA       91105
TAYLOR JAMES LLC                         ATTN JACKIE PARKER              200 E GRAYSON STREET               SUITE 112                   SAN ANTONIO        TX       78215
TEAM TOCCIN APPAREL LLC                  JAYNE HARKNESS                  880 3RD AVENUE                     6TH FLOOR                   NEW YORK           NY       10022
THIERRY MUGLER SAS                       BRIEUC CAILLIEZ                 49 AVENUE DE L'OPERA                                           PARIS                       75002      FRANCE
THULE INC                                KELLY STABILO                   42 SILVERMINE ROAD                                             SEYMOUR            CT       06483
US BOX FACTORY                           ATTN: HEIDI RINCON              PO BOX 1652                                                    MINERAL WELLS      TX       76068
VIVA MODEL MANAGEMENT                    MR. CYRIL BRULE                 15 ALLÉE DU BEAU PASSAGE                                       PARIS                       75007      FRANCE
WELLNESS MGMT LLC                        ATTN BRET KRAVITZ               325 W. HURON ST.                   SUITE 412                   CHICAGO            IL       60654
WILD AND WOLF, INC.                                                      234 WEST 39TH STREET               9TH FLOOR                   NEW YORK           NY       10018
WILLIAM ARTHUR INC*61567*                                                1466 CURRAN HIGHWAY                PO BOX 897                  N ADAMS            MA       01247
WINWARD INTERNATIONAL INC.               CINDY FLETCHER                  42760 ALBRAE STREET                                            FREMONT            CA       94538
WOLF DESIGNS, INC                        ACCOUNTING DEPT.                332 HINDRY AVENUE                                              LOS ANGELES        CA       90301




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                     NAME                                ATTENTION                                     EMAIL
    13BC SARL                                ANDREA BOGHOSSIAN                        ANDREA@13-BC.COM
    ABACUS TECHNICAL SERVICES LLC                                                     ACCOUNTING@ABACUSTECHNICAL.COM
    ABYSS & HABIDECOR                        ATTN: SUSAN CADY                         SCADY@HABIDECORUSA.COM
    ALEWEL'S COUNTRY MEATS                   RANDY ALEWEL                             RALEWEL@ALEWELS.COM
    ALEXANDROS GROUP LLC                     ACCOUNTING                               KOULLIS@JMENDEL.COM
    ALLUME                                   MAURIA FINLEY                            ANDREA@ALLUME.CO
    ALLUME                                   MAURIA FINLEY                            FINANCE@ALLUME.CO
    AMP CREATIVE                             LISA WARNER                              ACCOUNTING@AMPCREATIVE.COM
    ARMAN JEWELRY INC                        ARMAN SARKISYAN                          ARMAN@ARMANSARKISYAN.COM
    ART HEADQUARTERS LLC                     CHARLIE HENDRICK                         CHARLIE.HENDRICK@WENDOVERART.COM
    BASTIDE                                  ATTN: JOSEPH SANTACROCE                  JSANTACROCE@FEKKAI.COM
    BIBA ENTERPRISES                         ATTN: SILVIA AVANZI                      SILVIA@GRAYMATTERSNYC.COM
                                             C/O COFACE NORTH AMERICA INSURANCE
    BOLLMAN HAT CO.                          COMPANY ATTN: AMY SCHMIDT                AMY.SCHMIDT@COFACE.COM
    CASTELLE FURNITURE CO INC                FREDERICK G. KING                        FKING@BROWNJORDAN.COM
                                             C/O JENNER & BLOCK LLP ATTN MELISSA
    CASTELLE FURNITURE CO INC.               ROOT                                     MROOT@JENNER.COM
    CHARLES TERHOUT                                                                   REDACTED ADDRESS
                                             C/O MESSNER REEVES, LLP ATTN: DEANNE
    CHEFS CORNER STORE                       R. STODDEN                               BANKRUPTCY@MESSNER.COM
    CHEFS CORNER STORE                       DARREN BARKER                            DARREN@CHEFSCORNERSTORE.COM
    CIRE TRUDON USA INC                      CLAUDINE AQUINO                          C.AQUINO@ALTIOS.COM
    CODY FOSTER & CO., INC                   CRYSTAL HOMAN                            CRYSTAL@CODYFOSTER.COM
    CODY FOSTER & CO., INC                   DIANE FOSTER                             CRYSTAL@CODYFOSTER.COM
                                             C/O ROBERT HALF INTERNATIONAL ATTN:
    CREATIVE GROUP                           AMBER BAPTISTE                           AMBER.BAPTISTE@ROBERTHALF.COM
                                             C/O RECOVERY DEPT. ATTN: AMBER
    CREATIVE GROUP                           BAPTISTE                                 AMBER.BAPTISTE@ROBERTHALF.COM
    DCM INFOTECH LIMITED                     ASHOK R CHOUDHURY                        ASHOKRC@DCMINFOTECH.COM
    DD KARMA LLC                                                                      AMAIDEN@DERMAFLASH.COM
    DESIGNS BY TAMARA NOVA COLLECTION        ATTN: TAMARA TAYLOR                      NOVACOLLECTION@GMAIL.COM
    DEVINE CORPORATION                       ATWELL CURTIS + BROOKS                   ATWELL@ACBLTD.COM
    DEVON LEIGH DESIGNS, INC.                DEVON SEDLACEK                           INFO@DEVONLEIGHDESIGN.COM
    DR. LIVINGSTONE I PRESUME                GREG COGHLAN                             GCOGHLAN@DLIP.COM
    DR. VRANJES FIRENZE SPA                                                           SARA.BINI@DRVRANJES.IT
    DRV US CORP                                                                       AMMINISTRAZIONE@DRVRANJES.IT
    DUGUD LAB                                                                         REDACTED ADDRESS
    ELK GROUP INTERNATIONAL                  DANIELLE EMS                             AR@ELKGROUPINTERNATIONAL.COM
    EUGENIA KIM INC                          EUGENIA KIM, CEO                         EUGENIAKIM@EUGENIAKIM.COM
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                        NAME                              ATTENTION                                    EMAIL
    FINANCIALESE, LLC                        ATTN GREGORY MATTHEW PEREL               GREG@FINANCIALESE.COM
    FOUR HANDS LLC                                                                    CWELCH@FOURHANDS.COM
                                             C/O RICHARDS RODRIGUEZ & SKEITH, LLP
    FOUR HANDS, LLC                          ATTN: BENJAMIN H. HATHAWAY               BHATHAWAY@RRSFIRM.COM
    GILMAR DIVISIONE INDUSTRIA S.P.A.        ANNIBALE SFRAPPINI                       ASFRAPPINI@GILMAR.IT
    GP INTERIORS SRLS                        ATTN: MS. CINZIA DELLE CAVE              GP-INTERIORS@OUTLOOK.IT
    GROWN ALCHEMIST                          JUSTINE KIPPIN                           JUSTINE@GROWNALCHEMIST.COM
    H.O.B. LLC DBA LEE BREVARD                                                        BRYANM@BREVARDDESIGN.COM
    HALBERT USA INC./DBA TATEOSSIAN          ROBERT TATEOSSIAN                        ROBERT@TATEOSSIAN.COM
    JETSETGO, LLC                            CAROLE MATIC                             CAROLE@JETSETGO.NYC
    JILL PUMPELLY FINE ART, LLC              ATTN: JILL MARIE PUMPELLY                JILLPUMPELLY@YAHOO.COM
    JOULES USA INC                                                                    USA.CREDITCONTROL@JOULES.COM
    JOULES USA INC                           CREDIT CONTROL                           CAROLINE.SOLEYN@JOULES.COM
    JPT GROUP, LLC                           ATTN THOMAS ALLEN WILLIAMS               TOMWILLIAMS6060@GMAIL.COM
    JULIA KNIGHT INC.                        ATTN: JULIA KNIGHT                       JULIA@JULIAKNIGHTCOLLECTION.COM
    JUST BEE QUEEN                           SYDNEY STRAUSS                           MVALENTINE@JUSTBEEQUEEN.COM
    KALATY RUG CORP.                         FARSHAD KALATY                           FARSHAD@KALATY.COM
    KAT MACONIE LIMITED                      KAT MACONIE                              CHO@KATMACONIE.COM
    KOH GEN DO AMERICAS LLC                  CINDEE DAY                               ACCOUNTS@KOHGENDO.US
    LE CREUSET OF AMERICA                    ACCOUNTS PAYABLE                         ACCOUNTSRECEIVABLE.US@LECREUSET.COM
    LE CREUSET OF AMERICA, INC.              JENNIFER WILSON                          JENNIFER.WILSON@LECREUSET.COM
    LENOX CORP.                              LISA MCDONNELL                           LISA_JANUSZ-MCDONNELL@LENOX.COM
    LIFETECH RESOURCES, LLC                  ATTN: ANNA CARIERI                       ACARIERI@LIFETECHRESOURCES.COM
    LOCALISED INC                            FINANCE DEPARTMENT                       INVOICES@LOCALISED.COM
    LUCAS + MCKEARN, LLC                     JOSEPH MCKEARN                           JOEM@LUCASMCKEARN.COM
    LUZ CAMINO                                                                        INFO@LUZCAMINO.COM
    MARGIELA USA INC                         GAIL CREE                                GAIL_CREE@OTB.NET
    MARION PARKE DESIGNS LLC                 ACCOUNTS RECEIVABLE                      STEPHANIE@MARIONPARKE.COM
    MATRIX RESOURCES, INC.                   CHRIS GLASTETTER                         CGLASTETTER@MATRIXRES.COM
    MEMO AMERICA INC.                        PASCAL RIESEN                            PASCAL.RIESEN@MEMOFRAGRANCES.COM
    MIRROR IMAGE HOME                        CHAD CANALE                              NIKKI@MIRRORIMAGEHOME.COM
    MONTINO                                  ATTN: FRED GASIMOV                       HELLO@FREDGASIMOV.COM
    N. GOGOLICK & SON CORP                   LARRY A GOGOLICK                         GOGOLICK@YAHOO.COM
    NEST JEWELRY                             JANETTE WILKINSON                        NESTJEWELRY@ME.COM
    NUNA BABY ESSENTIALS, INC                ATTN: JAMES FLAMM                        JIM.FLAMM@NUNABABY.COM
                                             C/O LEADER-PICONE & YOUNG, LLP ATTN:
    OAKVILLE PRODUCE PARTNERS , LLC          KAIPO K.B. YOUNG, ESQ.                   KYOUNG@BL-PLAW.COM
    OLARTE FOUSSARD & CO, INC                EMEE OLARTE FOUSSARD                     EMEE@OLARTEFOUSSARD.COM

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                      NAME                                  ATTENTION                                      EMAIL
                                             C/O GEOFFREY T. RAICHT, PC ATTN
    ONE JEANSWEAR GROUP LLC                  GEOFFREY T. RAICHT                      GRAICHT@RAICHTLAWPC.COM
    ONE JEANSWEAR GROUP LLC                  ATTN: NANCY M. DODDERIDGE, ESQ.         NDODDERIDGE@PBG.COM
                                                                                     INFO@PHCOLLECTION.COM
    PENINSULA HOME COLLECTION CO.            ATTN: GONZALO ALONSO                    HADI@PHCOLLECTION.COM
    PETITE PLUME LLC                         EMILY HIKADE                            EMILY@PETITE-PLUME.COM
    PIESZAK                                  CARSTEN PEDERSEN                        CWP@PIESZAK.EU
    PLS/MAISON LABICHE                       AMILKA LORA                             ALORA@US-LOGFRET.COM
    RACIL C LIMITED                                                                  ANDREA@RACIL.COM
    RARE BEAUTY BRANDS, INC.                 ATTN: MARC SHORES                       MZYLA@RAREBEAUTYBRANDS.COM
    REBECCA TAYLOR, INC.                     ATTN AKIKO OKUMA GENERAL COUNSEL        LEGAL@VINCE.COM
    REEM ACRA                                ATTN: SCOTT VOGEL                       SCOTTV@REEMACRA.COM
    REWARDSTYLE, INC                         SALLY STORIE                            SALLY.STORIE@REWARDSTYLE.COM
    RFID SHERPAS, LLC                        ATTN: MARSHALL KAY                      MARSHALL.KAY@RFIDSHERPAS.COM
    ROOTS SAS                                                                        NICOLE@OLIVIERTHEYSKENS.COM
    ROYAL-PEDIC MATTRESS MFG.                TONY KELEMEN                            TONY@ROYALPEDIC.COM
    SAVOY HOUSE                              GINA JINKS                              GJINKS@PROGRESSIVELIGHTING.COM
    SIENA LASKER                             SIENA LASKER                            SIENA@SIENAJEWELRY.COM
    SIGNED PIECES                            PAWEL GOJ                               PAWEL@SIGNEDPIECES.COM
    SKC & SONS, INC.                         RAVI BHUSHAN                            RODEMA@CHAUDRYFASHION.COM
    SOLACE LONDON                            C/O LAURA TAYLOR SOLACE LONDON          LAURA@SOLACELONDON.COM
    STEFANO BEMER SRL                        TOMMASO MELANI                          TOMMASO.MELANI@STEFANOBEMER.COM
    SWIMWEAR ANYWHERE                        SWIMWEAR ANYWHERE INC                   JCONTI@SWIMWEARANYWHERE.COM
    TAI JEWELRY                              ATTN: TAI RITTICHAI                     TAI@TAI-RITTICHAI.COM
    TAYLOR JAMES LLC                         ATTN JACKIE PARKER                      ACCOUNTING@SUPERGOOP.COM
    TEAM TOCCIN APPAREL LLC                  JAYNE HARKNESS                          JAYNE@TOCCIN.COM
    THIERRY MUGLER SAS                       BRIEUC CAILLIEZ                         BRIEUC.CAILLIEZ@MUGLER.NET
    THULE INC                                KELLY STABILO                           KELLY.STABILO@THULE.COM
    US BOX FACTORY                           ATTN: HEIDI RINCON                      HEIDI.RINCON@RIGIDBOX.NET
    VIVA MODEL MANAGEMENT                    MR. CYRIL BRULE                         CLAIRE.LEBE-VIOLIER@VIVA-PARIS.COM
    WELLNESS MGMT LLC                        ATTN BRET KRAVITZ                       RBROWN@GTIGROWS.COM
    WILD AND WOLF, INC.                                                              ACCOUNTS.US@WILDANDWOLF.COM
    WILLIAM ARTHUR INC*61567*                                                        SRIVARD@CRANE.COM
    WINWARD INTERNATIONAL INC.               CINDY FLETCHER                          CINDYF@WINWARDSILKS.COM
    WOLF DESIGNS, INC                        ACCOUNTING DEPT.                        ACCOUNTING@WOLF1834.COM




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                     NAME                                ATTENTION                       ADDRESS 1                       ADDRESS 2                      CITY        STATE       ZIP         COUNTRY
                                                                                                                  3452 E FOOTHILL BLVD,
   55HAITAO                                  HAITAO LLC                        ATTN JOSEPHINE NIEH                SUITE 610               PASADENA             CA           91107
   ACCOUNTEMPS                               C/O ROBERT HALF INTERNATIONAL     ATTN: AMBER BAPTISTE               PO BOX 5024             SAN RAMON            CA           94583
   ACCOUNTEMPS                               C/O RECOVERY DEPT.                ATTN: AMBER BAPTISTE               2613 CAMINO RAMON       SAN RAMON            CA           94583
   AD-N-ART INC.                             HINDY SCHECTER                    5760 ANDOVER                                               MONTREAL             QC           H4T1H4     CANADA
   AEFFE USA, INC.                           ACCOUNT RECEIVABLES               30 WEST 56 STREET                                          NEW YORK             NY           10019
   ALLUME                                    MAURIA FINLEY                     550 CHURCHILL AVE                                          PALO ALTO            CA           94301-3605
   ALLUME                                    MAURIA FINLEY                     550 CHURCHILL AVE                                          PALO ALTO            CA           94301
   AM DESIGN SAS                                                               50, RUE DE BERRI - 2EME ETAGE                              PARIS                                        FRANCE
   AMBELLA HOME COLLECTION, INC.                                               4910 LAKAWANA STREET                                       DALLAS               TX           75247
   AMERR RUGS                                RAJ CHOUDHARY                     3000 PACIFIC DRIVE                                         NORCROSS             GA           30071
   AMERR RUGS                                RAJ CHOUDHARY                     PO BOX 1828                                                NORCROSS             GA           30091
   ANCIENT GREEK SANDALS C/O RITHOLZ
   LEVY FIELDS LLP                           PETER FIELDS                      235 PARK AVENUE SOUTH              THIRD FLOOR             NEW YORK             NY           10003
   ANCIENT GREEK SANDALS LIMITED             NIKOLAS                           2 LONDON WALL PLACE                6TH FLOOR               LONDON                            EC2Y 5AU    ENGLAND
                                                                               C/O ART REMEDY, D/B/A OLIVER
   ART REMEDY, LLC                           ANA SANCHEZ                       GAL ARTIST COMPANY                 2590 HOLLYWOOD BLVD HOLLYWOOD                FL           33021
   AVCON ENGINEERING PC                      ELLA MALKIN                       580 8TH AVENUE , 14FL.                                  NEW YORK                NY           10018
   BEN-AMUN                                  ATTN REGINA MANEVITZ              246 WEST 38TH ST, 12A                                   NEW YORK                NY           10018
                                                                                                                  444 N. MICHIGAN AVE.
   BETA SPA                                  C/O THINKINLAW, LLC               ATTN ANDREA BUDANO                 SUITE 1200           CHICAGO                 IL           60611
   BETA SPA                                  MATTEO BOZZALLA                   STRADA ANTICA PER BENNA 1                               VERRONE (BIELLA)                     13871       ITALY
   BILL BLASS DESIGN LLC                                                       236 5TH AVENUE                     5TH FLOOR            NEW YORK                NY           10001
   BOGDON CANDY COMPANY INC                  TRACEY BURTON                     101 ERIE BLVD                                           CANAJOHARIE             NY           13317
   CAMDEN J ROBINSON                                                           REDACTED ADDRESS
   CARLO MORETTI VENEZIA SRL                 ANTONIO CESCHEL                   3 FONDAMENTA MANIN                                         MURANO               22           30141      ITALY
   CELCIA INC                                ATTN: MARIA D. KARELAS            460 PARK AVENUE, 21ST FL                                   NEW YORK             NY           10022
   CLERGERIE                                 ROBERT CLERGERIE AMERICA INC      60 BROAD ST SUITE 3502                                     NEW YORK             NY           10004
   CLOSED US INC                                                               860 S LOS ANGELES STREET           SUITE 321               LOS ANGELES          CA           90014
   CLOSED US INC.                            C/O WEBHELP LOGBOX USA INC        1412 BROADWAY                      SUITE 2310              NEW YORK             NY           10018
   CLOSED US INC.                            BRITTANY MCLAUGHLIN               343 CANAL ST                       #4                      NEW YORK             NY           10013
   COLOMBIER HACOT, INC.                     C/O SAMBOURG ASSOCIATES           14 NE 1ST AVE                      STE 1205                MIAMI                FL           33132-2408
   COOPERS DIY, LLC                          ROBERT LEWIS                      3366 N DODGE BLVD                                          TUCSON               AZ           85716
   CRIMSON BUSINESS EDUCATION GROUP          ATTN: SOPHIA F. SUN               2135 LA ROCHELLE CT                                        BROOKFIELD           WI           53045
   CRIMSON BUSINESS EDUCATION GROUP                                            PO BOX 380302                                              CAMBRIDGE            MA           02238
   DAVID SCHINMAN                                                              REDACTED ADDRESS
   DIANE JAMES DESIGNS, INC.                 C/O C. MATRULLO                   112 MAIN STREET                                            NORWALK              CT           06851
   DREAM PROJECTS LLC DBA RTA BRAND                                            209 EAST 32ND ST                                           LOS ANGELES          CA           90011
   DSS FIREGUARD, INC.                       ATTN ANN L. YATES                 2602 NATIONAL PLACE                                        GARLAND              TX           75041
   ELAINE HEDAYA                                                               REDACTED ADDRESS
   EME POSATERIE SRL                         JOHN L ALDRIDGE                   VIA CORSICA 29                                             LUMEZZANE            BRESCIA      25065      ITALY
   EVERCOR FACILITY MANAGEMENT                                                 902 WYOMING AVE                                            WYOMING              PA           18644
   F. SCHUMACHER & CO.                       ATTN: JOAN LOUGHNANE              875 AVENUE OF THE AMERICAS         14TH FLOOR              NEW YORK             NY           10001
   F. SCHUMACHER & CO.                       DOLLY MARKETAKIS                  875 AVENUE OF THE AMERICAS         14TH FLOOR              NEW YORK             NY           10001
   F. SCHUMACHER & CO.                       ATTN: HANNAH PETERS SIEGFRIED     875 AVENUE OF THE AMERICAS         14TH FLOOR              NEW YORK             NY           10001
   F. SCHUMACHER & CO.                       SCHUMACHER CHECKS                 PO BOX 67049                                               NEWARK               NJ           07101-8081
   FISHER SIGERSON MORRISON LLC              ATTN: ROGER HO                    777 WEST PUTNAM AVENUE                                     GREENWICH            CT           06830
   FUSION MODELING AGENCY LLC                ATTN: JODY GORDON                 101 N 10TH STREET #301                                     BROOKLYN             NY           11249
   GAMMA STEEL SRL                           MR. CRISTIAN MORI                 VIA CADUTI, 32                                             LUMEZZANE            BRESCIA      25065      ITALY
   GARRETT LEIGHT LLC                        ELIZABETH BERECZ                  2301 E. 7TH STREET, D113                                   LOS ANGELES          CA           90023
   GIGIANDCICI LLC.                          ATTN: SOLEN ALTOP                 125 PARKWAYROAD SUITE 1218                                 BRONXVILLE           NY           10708
   GLOBAL CROSSING
   TELECOMMUNICATIONS, INC.                  C/O CENTURYLINK COMMUNICATIONS    ATTN: LEGAL - BKY                  1025 ELDORADO BLVD      BROOMFIELD           CO            80021
   GRAPHIC IMAGE, INC.                       ATTN: JAMES MONAHAN               305 SPAGNOLI RD                                            MELVILLE             NY            11747
   HAITAO LLC                                                                  3452 E FOOTHILL BLVD, SUITE 610                            PASADENA             CA            91107
   INGRAM PUBLISHER SERVICES                 LAURIE RITTER MS 353              ONE INGRAM BLVD                                            LA VERGNE            TN            37086
   JENNIFER ZEUNER JEWLERY                   CRAIG ZEUNER                      6560 W ROGERS CIRCLE, STE 14                               BOCA RATON           FL            33487
   JOANNA TYPEK                                                                SOLEC 24/137                                               WARSAW                             403        POLAND
   KASSL BV                                  PHILINE VAN ZINNICQ BERGMANN      OUDESCHANS 26                                              AMSTERDAM            NOORD-HOLLAND 1011LB     THE NETHERLANDS
   KASSL BV                                  PHILINE VAN ZINNICQ BERGMANN      OUDESCHANS 26                                              AMSTERDAM            NOORD-HOLLAND 1011LB     THE NETHERLANDS
   KASSL BV                                  PHILINE VAN ZINNICQ BERGMANN      OUDESCHANS 26                                              AMSTERDAM            NOORD-HOLLAND 1011LB     THE NETHERLANDS
   KASSL BV                                  CHARLOTTE SCHREUDER               OUDESCHANS 26                                              AMSTERDAM            NOORD-HOLLAND 1011LB     THE NETHERLANDS
   KELKOO GROUP LTD                          ATTN: MARINA WALKER               60 BUCKINGHAM PALACE ROAD                                  LONDON               ENGLAND       SW1W 0AH   UNITED KINGDOM
   KEMISTRE 8 LLC                            ELIZABETH INN                     31 W 34TH STREET                   4TH FLOOR               NEW YORK             NY            10001
In re: Neiman Marcus Group LTD LLC, et al.
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                     NAME                                ATTENTION                          ADDRESS 1                         ADDRESS 2                    CITY                  STATE       ZIP          COUNTRY
                                                                                 4098 STE-CATHERINE STREET
   KIKI DE MONTPARNASSE                      LINDA SCAVONE                       WEST                                 SUITE 400              MONTREAL                    QUEBEC          H3Z1P2       CANADA
   L'ACCESSORIO S.R.L.                       MONICA SARTI                        88 VITTORIO ALFIERI                                         CAMPI BISENZIO (FI)         IT              50013        ITALY
   LADORADA                                  C/O JUAN WEIL                       6799 COLLINS AVE                     UNIT 1501              MIAMI BEACH                 FL              33141
   LANDINI SHIRTS                            ATTN: STEFANIA LANDINI              VIA FORLANINI 30                                            BUSTO ARSIZO                ITALY           21052        ITALY
   LASH STAR BEAUTY                          ORLA MAGUIRE                        9 RONWOOD RD                                                CHESTNUT RIDGE              NY              10977
   LEE MATHEWS WORKROOM PTY LTD              LEE MATHEWS                         UNIT 1                               67-69 LORDS ROAD       LEICHHARDT                  NSW             2040         AUSTRALIA
   LEXINGTON INTERNATIONAL LLC               ATTN: DAVID MICHAELS                1040 HOLLAND DRIVE                                          BOCA RATON                  FL              33487
   LLADRO USA INC                            CHRISTINA PAGANO                    979 THIRD AVE                        SUITE 1805             NEW YORK                    NY              10022
   LONDONTOWN USA INC.                       JEAN STYLES                         148 EAST 5TH STREET                  BUILDING 7A            BAYONNE                     NJ              07002
   LURE ENTERPRISES LLC                      ATTN: IGOR CHERNYAVSKIY             703 MOHICAN CT                                              MORGANVILLE                 NJ              07751
   M.B. FISHER LLC                           ATTN: ROGER HO                      777 WEST PUTNAM AVENUE                                      GREENWICH                   CT              06830
   MAGGIE LOUISE CONFECTIONS LLC                                                 415 E ST ELMO                        SUITE 4F               AUSTIN                      TX              78745
   MEMO AMERICA INC.                         PASCAL RIESEN                       60 BROAD STREET                                             NEW YORK                    NY              10004
   MERCER US INC                             ATTN KIM JANSEN                     12421 MEREDITH DRIVE                                        URBANDALE                   IA              50398
   MERCER US INC                                                                 PO BOX 730182                                               DALLAS                      TX              75373-0182
   MISSONI S.P.A.                            LIVIO PROLI                         VIA LUIGI ROSSI N. 52                                       SUMIRAGO (VA)               VARESE          21040        ITALY
   MIZY.ME LLC                               ATTN: MIZY JUHN                     7100 GRANDVIEW OVERLOOK                                     JOHNS CREEK                 GA              30097
                                                                                                                      FLOOR 10, SILVER
   MOGIMO INC                                                                    250 GREENWICH STREET                 SUITES                 NEW YORK                    NY              10007
   MOTTAHEDEH & CO. INC.                     C/O WENDY KUALHEIM                  4225 PROVINCE LINE ROAD                                     PRINCETON                   TX              08540
   MOTTAHEDEH & CO., INC.                    OWNER                               5 CORPORATE DRIVE                                           CRANBURY                    NJ              08512
                                                                                                                      204 STONEHINGE LANE
   MOTTAHEDEH & CO., INC.                    C/O ATWELL, CURTIS & BROOKS, LTD.   ATTN: MIKE FOX                       PO BOX 363             CARLE PLACE                 NY              11514-0363
   MUSE IMPORTS                              DABNEY MOXHAM                       601 HUDSON ST                                               NEW YORK                    NY              10014
                                             C/O COFACE NORTH AMERICA                                                 650 COLLEGE ROAD
   NOXS INC.                                 INSURANCE COMPANY                   ATTN: AMY SCHMIDT                    EAST SUITE 2005        PRINCETON                   NJ              08540
   OLD WORLD DESIGN                          LYNN HAMILTON                       134 RIVEREDGE DR                                            DALLAS                      TX              75207
   OTSUMO CO LTD                             DANIEL DOYLE                        3-22-1 NAKAMEGURO                                           MEGURO                      TOKYO           153-0061     JAPAN
   PAI SKINCARE LTD                          ATTN: YASMIN AHMED                  18 COLVILLE ROAD                                            LONDON                                      W3 8BL       UNITED KINGDOM
   PEACOCK ALLEY, INC.                       C/O CONTRARIAN FUNDS LLC            411 WEST PUTNAM AVENUE               SUITE - 425            GREENWICH                   CT              06830
   PEACOCK ALLEY, INC.                       C/O CONTRARIAN FUNDS LLC            ATTN: 392426                         500 ROSS ST 154-0455   PITTSBURGH                  PA              15262
   PEPLO SRL                                 CAROLA BARBERA                      VIA DEL CERVO 1                                             BIELLA                      BI              13900        ITALY
   PRESTIGE SAS DI CASTANO CARLO E C.                                            VIA PUCCINI, 67                                             SOMMA LOMBARDO ( VARESE )   ITALY           21019        ITALY
   PROSPETTIVE                               ATTN: PAOLO FICHERA                 VIA LUIGI MANCINELLI 25                                     ROME                                        00199        ITALY
   PROSPETTIVE S.R.L.                        ATTN PAOLO FICHERA                  VIA CARLO ALBERTO RACCHIA 2                                 ROME                        00195                        ITALY
   RFID SHERPAS, LLC                         ATTN: MARSHALL KAY                  129 SANDRINGHAM DRIVE                                       NORTH YORK                  ON              M3H 1E2      CANADA
   RODARTE LLC                               ATTN: WILLIAM MULLEAVY              715 S OAKLAND AVE                                           PASADENA                    CA              91106
   S & G HAMPTON SUN LLC                     SALVATORE PIAZZOLLA                 241 WEST 30TH STREET                 4TH FLOOR              NEW YORK                    NY              10001
   SABELL'S SNOW PLOWING & LANDSCAPE
   SERVICE INC                               CHERL SABELL                        5555 W OHIO AVE                                             LAKEWOOD                    CO              80226
   SAM INTERNATIONAL                         PANDIT NAGLA BYPASS                 NEAR RAILWAY CROSSING                                       MORADABAD                   UTTAR PRADESH   244001     INDIA
   SATYA TWENA LLC                                                               2510 LADERA ROAD                                            OJAI                        CA              93023
   SELECT MIAMI, INC.                                                            1665 WASHINGTON AVE.                 3                      MIAMI BEACH                 FL              33139
   SELETTI NORTH AMERICA                     ATTN: SARA ROMANO                   110 GREENE STREET                    SUITE 1109             NEW YORK                    NY              10012
   SIGNORIA DI FIRENZE                       NICK PRENCIPE                       PO BOX 0034                                                 BRATTLEBORO                 VT              05302-0034
   SIGNORIA DI FIRENZE LLC                   NICK PRENCIPE                       PO BOX 757                                                  WINDSOR                     VT              05089
   SUBATOMIC DIGITAL                         HOLLY SUPERNEAU                     151 BLAIR PARK RD                                           WILLISTON                   VT              05495
   SWISSCOSMET CORP.                         GENE GALIANESE                      5540 ROWAN ROAD                                             NEW PORT RICHEY             FL              34653
   TDX COMPANIES, LLC                        DONNA BRAND                         5735 W. OLD SHAKOPEE ROAD            STE 100                BLOOMINGTON                 MN              55437
                                             ACCOUNTS RECEIVABLE / CHRISTINE
   TEA FORTE INC                             GLOWA                               5 MILL & MAIN PL                     SUITE 5-211            MAYNARD                     MA              01754
   THE LOCALE GROUP PTY LTD                  118 MIDGEN FLAT ROAD                                                                            NEWRYBAR                    NSW             2479         AUSTRALIA
   TIA MAZZA                                                                     50 E 80TH STREET                     1A                     NEW YORK                    NY              10075
   TITLE OF WORK                             JONATHAN MEIZLER                    57 ORCHARD STREET                                           NEW YORK                    NY              10002
   TL AT HOME                                ATTN: SHARI KLINE                   29 ROUTE 9 H                         PO BOX 416             CLAVERACK                   NY              12513
   TOWN OF PALM BEACH                                                            FINANCE DEPT                         360 SOUTH COUNTY RD    PALM BEACH                  FL              33480
   V.P. DESIGNS LTD                          ATTN: VILMA WIESENMAIER             PO BOX 8618                          SUITE D-4              PELHAM                      NY              10803
                                             DEEPA DADLANI & SOO JUNG CRYSTAL
   VICI ENTERPRISES, INC.                    YUN                              555 WEST 59TH STREET                                           NEW YORK                    NY              10019
   VISUAL COMFORT & CO                       CYNTHIA COHA                     7400 LINDER AVE                                                SKOKIE                      IL              60077
   WALDIN LLC                                MILA MOURSI                      6924 CANBY AVE., SUITE 116                                     RESEDA                      CA              91335
   WELLE NORTH AMERICA INC                   C/O ZAPKEN & LOEB, LLP           3 CROSSWAYS PARK DR. WEST                                      WOODBURY                    NY              11797
   WENDY M MCMURTREY                                                          REDACTED ADDRESS
In re: Neiman Marcus Group LTD LLC, et al.
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                       NAME                                 ATTENTION                                 EMAIL
     55HAITAO                                HAITAO LLC ATTN JOSEPHINE NIEH          JOSEPHINE.NIEH@55HAITAO.COM
                                             C/O ROBERT HALF INTERNATIONAL ATTN:
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     AMBELLA HOME COLLECTION, INC.                                                   GSMOUSSA@AMBELLAHOME.COM
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     ANCIENT GREEK SANDALS C/O RITHOLZ
     LEVY FIELDS LLP                         PETER FIELDS                            FIELDS@RLFLLP.COM
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                                                                                    REGINA@BEN-AMUN.COM
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     BETA SPA                                C/O THINKINLAW, LLC ATTN ANDREA BUDANO ABUDANO@THINKINLAW.COM
     BETA SPA                                MATTEO BOZZALLA                        MATTEO.BOZZALLA@VALSTAR.IT
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     BOGDON CANDY COMPANY INC                TRACEY BURTON                          TGRAY@RICHARDSONBRANDS.COM
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     CARLO MORETTI VENEZIA SRL               ANTONIO CESCHEL                        ANTONIO.CESCHEL@CARLOMORETTI.COM
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     CLERGERIE                               ROBERT CLERGERIE AMERICA INC           MDJITE@KVBPARTNERS.COM
     CLOSED US INC                                                                  BRITTANY.MCLAUGHLIN@CLOSED.COM
     CLOSED US INC.                          BRITTANY MCLAUGHLIN                    BRITTANY.MCLAUGHLIN@CLOSED.COM
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     COLOMBIER HACOT, INC.                   C/O SAMBOURG ASSOCIATES                DCLEMENTE@SAMBOURG-ASSOCIATES.COM
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     COOPERS DIY, LLC                        ROBERT LEWIS                           ROBERTL@MRBEES.COM
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     CRIMSON BUSINESS EDUCATION GROUP        ATTN: SOPHIA F. SUN                    SSUN1@HARVARDCONSULTING.ORG
     DAVID SCHINMAN                                                                 REDACTED ADDRESS
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     DREAM PROJECTS LLC DBA RTA BRAND                                               DAVID@RTABRAND.COM

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                      NAME                                  ATTENTION                                 EMAIL
     DSS FIREGUARD, INC.                     ATTN ANN L. YATES                       AYATES@FIREGUARD.COM
     ELAINE HEDAYA                                                                   REDACTED ADDRESS
     EME POSATERIE SRL                       JOHN L ALDRIDGE                         JOHN@EMEPOSATERIE.COM
     EVERCOR FACILITY MANAGEMENT                                                     MATT.SHRADER@EVERCOR.COM
     F. SCHUMACHER & CO.                     ATTN: JOAN LOUGHNANE                    JLOUGHNANE@FSCO.COM
     F. SCHUMACHER & CO.                     DOLLY MARKETAKIS                        DMARKETAKIS@FSCO.COM
     F. SCHUMACHER & CO.                     ATTN: HANNAH PETERS SIEGFRIED           HSIEGFRIED@FSCO.COM
     FISHER SIGERSON MORRISON LLC            ATTN: ROGER HO                          RHO@FISHERFOOTWEAR.COM
     FUSION MODELING AGENCY LLC              ATTN: JODY GORDON                       ACCOUNTING@FUSIONMODELSNYC.COM
     GAMMA STEEL SRL                         MR. CRISTIAN MORI                       COMMERCIALE@GAMMASTEEL.IT
     GARRETT LEIGHT LLC                      ELIZABETH BERECZ                        LIZ@GARRETTLEIGHT.COM
     GBS ENTERPRISES                         D.B.A. BRITTANY LYNN DESIGN CO.         BRITTANYLYNNDESIGNCO@GMAIL.COM
     GIGIANDCICI LLC.                        ATTN: SOLEN ALTOP                       SOLEN@GIGIANDCICI.COM
     GLOBAL CROSSING                         C/O CENTURYLINK COMMUNICATIONS ATTN:
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     GRAPHIC IMAGE, INC.                     ATTN: JAMES MONAHAN                     JMONAHAN@GRAPHICIMAGE.COM
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     JOANNA TYPEK                                                                    ASIA.TYPEK@GMAIL.COM
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     KASSL BV                                CHARLOTTE SCHREUDER                     CHARLOTTE@KASSLEDITIONS.NL
     KELKOO GROUP LTD                        ATTN: MARINA WALKER                     MARINA.WALKER@KELKOOGROUP.COM
     KEMISTRE 8 LLC                          ELIZABETH INN                           EINN@OVEDAPPAREL.COM
     KIKI DE MONTPARNASSE                    LINDA SCAVONE                           LINDA@MAJESTICTEES.COM
     L'ACCESSORIO S.R.L.                     MONICA SARTI                            ACCESSORIO@FALIEROSARTI.COM
     LADORADA                                C/O JUAN WEIL                           JWEIL@LADORADASHOP.COM
     LANDINI SHIRTS                          ATTN: STEFANIA LANDINI                  STEFANIA@LANDINISHIRTS.COM
     LASH STAR BEAUTY                        ORLA MAGUIRE                            ACCOUNTING@LASHSTARBEAUTY.COM
     LEE MATHEWS WORKROOM PTY LTD            LEE MATHEWS                             ACCOUNTS@LEEMATHEWS.COM.AU
     LEXINGTON INTERNATIONAL LLC             ATTN: DAVID MICHAELS                    DM@HAIRMAX.COM
     LLADRO USA INC                          CHRISTINA PAGANO                        CPAGANO@US.LLADRO.COM
     LONDONTOWN USA INC.                     JEAN STYLES                             ACCOUNTING@LONDONTOWNUSA.COM
     LURE ENTERPRISES LLC                    ATTN: IGOR CHERNYAVSKIY                 IGORC@LUREESSENTIALS.COM
     M.B. FISHER LLC                         ATTN: ROGER HO                          ROGER.HO@FISHERFOOTWEAR.COM
     MAGGIE LOUISE CONFECTIONS LLC                                                   MAGGIE@MAGGIELOUISECONFECTIONS.COM
     MEMO AMERICA INC.                       PASCAL RIESEN                           PASCAL.RIESEN@MEMOFRAGRANCES.COM
     MERCER US INC                                                                   MERCER.NA.AR@MMC.COM
     MERCER US INC                           ATTN KIM JANSEN                         MERCER.NA.AR@MMC.COM

In re: Neiman Marcus Group LTD LLC, et al.
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                    NAME                                    ATTENTION                                EMAIL
     MISSONI S.P.A.                          LIVIO PROLI                             NOPPOLITI@AEMCARNELUTTI.COM
     MIZY.ME LLC                             ATTN: MIZY JUHN                         MIZY.ME.DOLLS@GMAIL.COM
     MOGIMO INC                                                                      FINANCE@HYPRBRANDS.COM
     MOTTAHEDEH & CO., INC.                  OWNER                                   WENDY@MOTTAHEDEH.COM
     MUSE IMPORTS                            DABNEY MOXHAM                           DABNEY.MOXHAM@MUSESHOWROOM.COM
                                             C/O COFACE NORTH AMERICA INSURANCE
     NOXS INC.                               COMPANY ATTN: AMY SCHMIDT               AMY.SCHMIDT@COFACE.COM
     OLD WORLD DESIGN                        LYNN HAMILTON                           LYNN@OWDDALLAS.COM
     OTSUMO CO LTD                           DANIEL DOYLE                            DAN@NIGOLD.COM
                                                                                     YASMIN@PAISKINCARE.COM
     PAI SKINCARE LTD                        ATTN: YASMIN AHMED                      ED@PAISKINCARE.COM
     PEACOCK ALLEY, INC.                     C/O CONTRARIAN FUNDS LLC                SJORGENSON@PEACOCKALLEY.COM
     PEPLO SRL                               CAROLA BARBERA                          C.BOCCHIO@LUCIANOBARBERA.IT
     PRESTIGE SAS DI CASTANO CARLO E C.                                              INFO@AUTONOLEGGIOPRESTIGE.IT
     PROSPETTIVE                             ATTN: PAOLO FICHERA                     INFO@PAOLOFICHERA.COM
     PROSPETTIVE S.R.L.                      ATTN PAOLO FICHERA                      INFO@PAOLOFICHERA.COM
     RFID SHERPAS, LLC                       ATTN: MARSHALL KAY                      MARSHALL.KAY@RFIDSHERPAS.COM
     RODARTE LLC                             ATTN: WILLIAM MULLEAVY                  PERRY@RODARTE.NET
     S & G HAMPTON SUN LLC                   SALVATORE PIAZZOLLA                     SALES@HAMPTONSUNCARE.COM
     SABELL'S SNOW PLOWING & LANDSCAPE
     SERVICE INC                             CHERL SABELL                          SABELLSSNOWPLOW@AOL.COM
     SAM INTERNATIONAL                       PANDIT NAGLA BYPASS                   KUNAL@SAMINTL.INFO
     SATYA TWENA LLC                                                               STUDIO@SATYATWENA.COM
     SELECT MIAMI, INC.                                                            MICHAEL@SELECTMODEL.COM
     SELETTI NORTH AMERICA                   ATTN: SARA ROMANO                     SARA.ROMANO@SELETTI.US
     SIGNORIA DI FIRENZE                     NICK PRENCIPE                         ACCOUNTING@SIGNORIAUSA.COM
     SIGNORIA DI FIRENZE LLC                 NICK PRENCIPE                         NPRENCIPE@SIGNORIAUSA.COM
     SUBATOMIC DIGITAL                       HOLLY SUPERNEAU                       HOLLY@SUBATOMICDIGITAL.COM
     SWISSCOSMET CORP.                       GENE GALIANESE                        GGALIANESE@SWISSCOSMET.COM
                                                                                   CHAYES@TDXTECH.COM
     TDX COMPANIES, LLC                      DONNA BRAND                           KBENNEWITZ@TDXTECH.COM
     TEA FORTE INC                           ACCOUNTS RECEIVABLE / CHRISTINE GLOWA BILLING@TEAFORTE.COM
     THE LOCALE GROUP PTY LTD                118 MIDGEN FLAT ROAD                  MAUREEN@THELOCALEGROUP.COM.AU
     TIA MAZZA                                                                     TIA@TIAMAZZA.COM
     TITLE OF WORK                           JONATHAN MEIZLER                      JONATHAN@TITLEOFWORK.COM
     TL AT HOME                              ATTN: SHARI KLINE                     SHARI@TRADITIONSLINENS.COM
     TOWN OF PALM BEACH                      FINANCE DEPT                          MMCQUAIG@TOWNOFPALMBEACH.COM
     V.P. DESIGNS LTD                        ATTN: VILMA WIESENMAIER               VILMUSKA@AOL.COM

In re: Neiman Marcus Group LTD LLC, et al.
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                                                        Served via Electronic Mail
                       NAME                                ATTENTION                                 EMAIL
                                                                                     DEEPA@VICIBRANDS.COM
     VICI ENTERPRISES, INC.                  DEEPA DADLANI & SOO JUNG CRYSTAL YUN    CRYSTAL@VICIBRANDS.COM
     VISUAL COMFORT & CO                     CYNTHIA COHA                            CCOHA@VISUALCOMFORTCO.COM
     WALDIN LLC                              MILA MOURSI                             ACCOUNTING@MILAMOURSI.COM
     WELLE NORTH AMERICA INC                 C/O ZAPKEN & LOEB, LLP                  JESSICA.LAYTON@WELLECO.COM
     WENDY M MCMURTREY                                                               REDACTED ADDRESS




In re: Neiman Marcus Group LTD LLC, et al.
Case No. 20-32519 (DRJ)                                                                                           Page 4 of 4
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                             NAME                                    ATTENTION                    ADDRESS 1                          ADDRESS 2                   CITY                      STATE       ZIP       COUNTRY
    19RM LTD                                              ATTN: STACEY FISHER          8 CARLOS PLACE                                                 LONDON                      LONDON           W1K 3AS    UNITED KINGDOM
    A DE R SAS                                            C/O JD MITCHELL ASSOCIATES   ATTN: JOHN DERMOTT MICHELL          3 PARK AVENUE 29TH FLOOR   NEW YORK                    NY               10016
    AFFIL-MK OFFICE OF SERVICES LLC                       ATTN: GENERAL COUNSEL        2045 W GRAND AVE                    SUITE B PMB 20228          CHICAGO                     IL               60612-1577
    AIMÉ LEON DORE                                        GRANT SIMM                   37-18 NORTHERN BLVD                 SUITE 301A                 LONG ISLAND CITY            NY               11101
    ALBERT TOGUT, NOT INDIVIDUALLY, BUT SOLELY IN HIS
    CAPACITY AS CHAPTER 7 TRUSTEE OF SONIA RYKIEL, INC.   NEIL BERGER, ESQ.            ONE PENN PLAZA                      SUITE 3335              NEW YORK                       NY               10119
    AMBIUS                                                BANKRUPTCY TEAM              1125 BERKSHIRE BLVD.                SUITE 150               READING                        PA               19610
    AMUSEMINTS                                            ATTN: PAUL CICCONE           530 WEST JOHN STREET                                        HICKSVILLE                     NY               11801
    APERTURE TALENT                                                                    9378 WILSHIRE BLVD.                 STE 310                 BEVERLY HILLS                  CA               90212
    AQUIS INC                                                                          621 SANSOME STREET                                          SAN FRANCSICO                  CA               94111
    ATLANTIC FOLK LTD                                     HUGO MIDDLETON               THE CHURCHYARD                                              LONG SUTTON                    LINCS            PE12 9JH    UNITED KINGDOM
    AVCON ENGINEERING PC                                  ELLA MALKIN                  580 8TH AVENUE , 14FL.                                      NEW YORK                       NY               10018
    BARAM INTERNATIONAL CO., LTD.                         RAE HYUN PARK                12F, HORIM ART CENTER, 317          DOSAN-DAERO, GANGNAM-GU SEOUL                                           6021        SOUTH KOREA
    BEGUM KIROGLU BK DIS TICARET                          BEGUM KIROGLU                KANDILLI ISKELE CAD                 33/1 KANDILLI USKUDAR   ISTANBUL                                        34684       TURKEY
    BEGUM KIROGLU BK DIS TICARET                          ATTN: BEGUM KIROGLU          MIM KEMAL OKE 14/1 NISTANTASI                               ISTANBUL                                        34684       TURKEY
    BIGELOW TRADING LTD*INACTIVE*                                                      414 6TH AVENUE                                              NEW YORK CITY                  NY               10011
    BLANC FASHION                                         LEO FRAGA                    RUA VIEIRA DE MORAES 2110           SALA 1014               SÃO PAULO                      SP               04617-007   BRAZIL
    BLANC FASHION                                         BRUNA MOL                    RUA VIEIRA DE MORAES 2110           SALA 1014               SÃO PAULO                      SP               04617-007   BRAZIL
    BONTONI SRL.                                          FRANCO GAZZANI               VIA VEREGRENSE 82                                           MONTEGRANARO                   FM               63812       ITALY
    BREAK POINT MEDIA LLC                                 ANDREW ROTHSCHILD            21 S 5TH ST                         5A                      BROOKLYN                       NY               11249
    BRYAN BANTRY INC                                      BRYAN BANTRY                 119 WEST 57TH STREET SUITE 400                              NEW YORK                       NY               10019
    CADOGAN TATE FINE ART STORAGE LTD                     ATTN GENICE HOSTEN           301 NORMAN AVENUE                                           BROOKLYN                       NY               11222
    CAMFIL USA INC                                        LORETTA L. LIVATINO          ONE N CORPORATE DR                                          RIVERDALE                      NJ               07457
    CANDER INC                                            ELIZABETH MINETT             3921 ALTON ROAD                     341                     MIAMI BEACH                    FL               33140
    CARL TALLENT                                                                       REDACTED ADDRESS
    CASEY HESS                                                                         REDACTED ADDRESS
    CIRCLE UG (HAFTUNGSBESCHRÄNKT)                                                     MASSENBACHHAUSENER STR. 62                                     SCHWAIGERN                                   74193      GERMANY
    CLOUDNOLA, INC                                        RITA DRAGONI                 5119 HAWTHORNE DR                   SUITE K                    WEST DES MOINES             IA               50265
    COMPASS GROUP USA                                     CATHY ALION                  2400 YORKMONT ROAD                                             CHARLOTTE                   NC               28217
    CONTEMPORARY APPLIED ARTS                             ATTN: BECKY HARLE            6 PADDINGTON STREET                                            LONDON                                       W1U 5QG UNITED KINGDOM
    DB AUTONOLEGGIO CON CONDUCENTE DI DANIELE BANFI       DANIELE BANFI                8 VIA SAN BERNARDO                                             CASSANO MAGNAGO             IT               21012      ITALY
    DEADLY PONIES 2010 LTD                                AIMEE GREENHOUGH             14 WEST STREET                      EDEN TERRACE               AUCKLAND                                     1010       NEW ZEALAND
    DECREE SIGNS & GRAPHICS D/B/A MANHATTAN SIGNS         C/O MANHATTAN SIGNS          ATTN: MARIE MARTINECK               91 TULIP AVE KD1           FLORAL PARK                 NY               11001
    DORFMAN-PACIFIC CO.                                                                2615 BOEING WAY                                                STOCKTON                    CA               95206
    DORFMAN-PACIFIC CO.                                                                PO BOX 674620                                                  DETROIT                     MI               48267-4620
    ELEVENTY USA                                          ATWELL CURTIS + BROOKS       204 STONEHINGE LANE                                            CARLE PLACE                 NY               11514
    EMILIO PUCCI S.R.L.                                   JACQUES OLIVIER PELLETIER    VIA FIENO 3                                                    20123 MILAN                                             ITALY
    EMILIO PUCCI S.R.L.                                   C/O PRYOR CASHMAN LLP        ATTN: ANDREW S. RICHMOND            7 TIMES SQUARE             NEW YORK                    NY               10036
    EMPORIO LE SIRENUSE SRL                               ATTN: CARLA PARAVICINI       VIA CRISTOFORO COLOMBO 30                                      POSITANO                    SALERNO          84017      ITALY
    ESPRO, INC. (REGAL WARE, INC.)                        REBECCA DREIER               1675 REIGLE DRIVE                   PO BOX 556                 KEWASKUM                    WI               53040
    FABRA CLEEN CARPET & FABRIC SPECIALISTS, INC.         ATTN: LORNE GREENBERG        71-02 80TH STREET                                              GLENDALE                    NY               11385
    FABRA CLEEN CARPET & FABRIC SPECIALISTS, INC.         ATTN: LORNE GREENBERG        1 DIX CIR                                                      DIX HILLS                   NY
    FASHIOANTA INC                                        ACCOUNTS                     246W 17TH ST APT 2E                                            NEW YORK                    NY               10011
    FG FOOD SERVICE LLC                                   KEVIN PETROVSKY              1211 NE 9TH AVENUE                                             FORT LAUDERDALE             FL               33304
    G.E.A. SRL                                            ATTN: ALBERTA SCHIAVON       VIA DEL POGGETTO, 439/E                                        LUCCA                       LUCCA            55100       ITALY
    GAMEZ TPS LLC DBA TEXAS PERSONNEL SERVICE             BETTY LOU GAMEZ-FIEL         PO BOX 12524                                                   SAN ANTONIO                 TX               78212
    GARDA CL GREAT LAKES, INC. (GARDAWORLD)               JULIE HAYASHI                2000 NW CORPORATE BOULEVARD                                    BOCA RATON                  FL               33431
    GARDAWORLD                                                                         2000 NW CORPORATE BOULEVARD                                    BOCA RATON                  FL               33431
    GENERATION JOY LLC                                                                 434 AVE P 2ND FLOOR                                            BROOKLYN                    NY               11223
    GILMAR DIVISIONE INDUSTRIA S.P.A.                     ANNIBALE SFRAPPINI           VIA MALPASSO, 723/725                                          SAN GIOVANNI IN MARIGNANO   ITALY            47842       ITALY
    HANAMINT CORP.                                        RUSSELL SORENSON             8010 THORNDIKE RD.                                             GREENSBORO                  NC               27409
    HAROUNIAN RUGS INTERNATIONAL CO.                      LUSI KHALILI                 104 WEST 29TH STREET                                           NEW YORK                    NY               10001
    HIGH TECH LANDSCAPES                                  STEVEN M. COZZA              10 CULNEN DRIVE                                                BRANCHBURG                  NJ               08876
    HUNZA G LTD., A PRIVATE LIMITED COMPANY REGISTERED
    IN THE UNITED KINGDOM                                 KRISTEN ABEL                 53 GREAT TITCHFIELD ST.                                        LONDON                                       W1W 7PJ     UNITED KINGDOM
    HUNZA G LTD., A PRIVATE LIMITED COMPANY REGISTERED                                                                     638 CAMINO DE LOS MARES
    IN THE UNITED KINGDOM                                 C/O HELLER LAW APC           ATTN: MARC GREGORY HELLER           STE. H130A, UNIT 124       SAN CLEMENTE                CA               92673
    IM-LINK CORP.                                                                      34401 7TH STREET                                               UNION CITY                  CA               94587
    INDIVIDUALIZED SHIRT COMPANY                                                       PO BOX 1409                                                    BRENTWOOD                   TN               37024
    JONATHAN Y DESIGN'S INC                                                            185 MADISON AVE                FLOOR 6                         NEW YORK                    NY               10016-4325
    KARO STUDIOS INC.                                     KARO MARTIROSYAN             413 ROSS STREET                                                GLENDALE                    CA               91207
    KAT BURKI SKINCARE INC                                ACCOUNTING                   2 FRASER LANE                                                  WESTPORT                    CT               06880
    KIN COLLECTIVE LLC                                    EDWARD KIM                   1915 VIOLET ST.                                                LOS ANGELES                 CA               90021
    KIYASA CORPORATION                                    KIANA BAHADORZADEH           3350 SCOTT BLVD                BUIDLING 50                     SANTA CLARA                 CA               95054
    LADORADA                                              C/O JUAN WEIL                6799 COLLINS AVE               UNIT 1501                       MIAMI BEACH                 FL               33141
    LAZYPANTS/08                                          LINDA SCAVONE                4098 STE-CATHERINE STREET WEST SUITE 400                       MONTREAL                    QUEBEC           H3Z1P2     CANADA
    LBV INC.                                              TRISHA PETERSON              14000 QUAIL SPRINGS PKWY       SUITE 2200                      OKLAHOMA CITY               OK               73134
    LBV INC.                                              FRANK VELLUCCI               1301 AVENUE OF THE AMERICAS                                    NEW YORK                    NY               10019
    LBV INC.                                              SEAN CUTRONA                 28 WARREN STREET               2ND FLOOR                       NEW YORK                    NY               10007
    LIPAULT                                               C/O SAMSONITE LLC            ATTN: JAMES B. REGO            575 WEST ST., SUITE 110         MANSFIELD                   MA               02048
    LONG ISLAND CARPET CLEANERS INC. DBA FABRA CLEEN      DAVID SWIDLER                71-02 80TH ST                                                  GLENDALE                    NY               11385

In re: Neiman Marcus Group LTD LLC, et al.
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                           NAME                       ATTENTION                      ADDRESS 1                            ADDRESS 2                CITY            STATE            ZIP      COUNTRY
    LOULOU STUDIO                            UGO BENSOUSSAN               10 RUE DE CLERY                                                PARIS                                  75002     FRANCE
    LSA INTERNATIONAL INC                    MALCOLM FOREMAN              17TH FLOOR, 41 MADISON AVENUE                                  NEW YORK           NY                  10010
    LUCKY SCENT INC.                                                      726 N CAHUENGA BLVD                                            LOS ANGELES        CA                  90038
    MACKENZIE AUTOMATIC DOORS INC            ATTN: JONATHAN PAUL          4900 WEST SIDE AVE                                             NORTH BERGEN       NJ                  07047
    MAGICLINKS, INC                          BRIAN NICKERSON              361 VERNON AVENUE                   #6                         VENICE             CA                  90291
    MAINSTREAM SWIMSUITS, INC.               DAWN FINLAYSON               610 UHLER ROAD                                                 EASTON             PA                  18040
    MARGARET HOWELL LTD                      KEVIN PERRET                 6 WELBECK WAY                                                  LONDON                                 W1G 9RZ   UNITED KINGDOM
                                             PERRET KEVIN WHOLESALE
    MARGARET HOWELL LTD                      MANAGER                      81 RUE COROT                                                   VILLE D'AVRAY                          92410       UNITED KINGDOM
    MAUI EPICURE LLC                                                      PO BOX 782                                                     KULA               HI                  96790
    MICHAEL HALPERN LIMITED                  ACCOUNTS                     77A TRADESCANT ROAD                                            LONDON                                 SW8 1XJ     UNITED KINGDOM
    MIFANLI INC                                                           740 E CAMPBELL RD, SUITE 700                                   RICHARDSON         TX                  75081
    MOCKINGBIRD FOOD CO                                                   120 SAINT LOUIS AVE                 STE 103                    FORT WORTH         TX                  76104-1259
    MOCKINGBIRD FOOD CO                      DENA SHASKAN                 4550 COCKRELL AVE                                              FORT WORTH         TX                  76133
    MODERN FORMS                             ATTN ALLY NELSON             44 HARBOR PARK DRIVE                                           PORT WASHINGTON    NY                  11050
    MODERN FORMS                             ATTN ALLY NELSON             23550 NETWORK PLACE                                            CHICAGO            IL                  XXX-XX-XXXX
    NANCY PRICE INTERIOR DESIGN                                           3110 OLD CANTON ROAD                                           JACKSON            MS                  39216
    NEPENTHES AMERICA INC.                   YE PHONE                     22-19 41ST AVENUE                   #401                       LONG ISLAND CITY   NY                  11101
    NEXGEN PACKAGING LTD                     MICHAEL NAIMO                1010 EXECUTIVE COURT, STE. 100                                 WESTMONT           IL                  60559
                                             C/O COFACE NORTH AMERICA                                         650 COLLEGE ROAD EAST
    NOXS INC.                                INSURANCE COMPANY           ATTN: AMY SCHMIDT                    SUITE 2005                 PRINCETON          NJ                  08540
    NTRONIXCORP                              THEODORE E ESPEJO           1437 EASTSIDE DR                                                MESQUITE           TX                  75149
    OLO                                      TESSA LOWE                  PO BOX 311                                                      MERCER ISLAND      WA                  98040
    OLO & CO                                 TESSA LOWE                  4223 93RD AVE SE                                                MERCER ISLAND      WA                  98040
    ONE FASHION HOUSE, INC                                               2600 NORTHAVEN RD                    SUITE 100                  DALLAS             TX                  75229
    ORIGINAL MADRAS TRADING CO.              PRASAN SHAH                 57 WEST 38TH STREET                  4TH FLOOR                  NEW YORK           NY                  10018
    PENN KARN                                ATTN FABRICE BERNETIERE     128 RUE DE LA BOETIE                                            PARIS                                  75008       FRANCE
    PLANT PEOPLE, INC.                       HUDSON GAINES-ROSS          49 ELIZABETH STREET 3RD FLOOR                                   NEW YORK           NY                  10013
    PLANT PEOPLE, INC.                       ANNE MYRA SUAREZ MINGIONE   49 ELIZABETH STREET 3RD FLOOR                                   NEW YORK           NY                  10013
    PRESIDENT F.R.S. SRL                                                 VIA DELLA CHIUSA 15                                             MILANO                                 20123       ITALY
    QOSINA CORP.                             ATTN: SAUL STERNSCHEIN, CFO 2002-Q ORVILLE DRIVE NORTH                                      RONKONKOMA         NY                  11779
    RATTI SPA                                ATTN: ANDREA CAPRA          VIA MADONNA 30                                                  GUANZATE           COMO                22070       ITALY
    RATTI SPA C/O UNICREDIT SPA                                          150 EAST 42 STREET 28 FL.                                       NEW YORK           NEW YORK            10017 -4679
    RENTOKIL                                 BANKRUPTCY TEAM             1125 BERKSHIRE BLVD.                 SUITE 150                  READING            PA                  19610
    ROJAS LIFESTYLE LLC                      JAMES MANNINO               8125 GOULD AVENUE                                               LOS ANGELES        CA                  90046
    SARREID LTD                              TRAVIS D COLEY              3905 AIRPORT DR NW                                              WILSON             NC                  27896
    SHOP IT TO ME, INC.                      CHARLIE GRAHAM              3527 MT. DIABLO BLVD #393                                       LAFAYETTE          CA                  94549
    TESSILARTE DI PAOLA MARTINETTI           ATTN: PAOLA MARTINETTI      VIA P. TOSELLI, 100                                             FIRENZE            ITALIA              50144       ITALY
    THE BOATMAN GROUP                                                    100 NORTH PARK AVENUE                                           PERU               IN                  46970
    TINA CHEN DESIGN COMPANY                 ATTN: QING CHEN             3620 195 STREET                                                 FLUSHING           NY                  11358
    TRIBRIDGE HOLDINGS, LLC                  KATHLEEN E CARROLL          1775 TYSONS BOULEVARD                                           TYSONS             VA                  22102
    TRIBRIDGE HOLDINGS, LLC                  C/O DXC TECHNOLOGY SERVICES ATTN SOFIA KOLB                      1775 TYSONS BOULEVARD      TYSONS             VA                  22102
    UTZON A/S                                                            KLAMPENBORGVEJ 36                                               KLAMPENBORG                            2930        DENMARK
    VITA KIN, INC.                           ROMAN KINDRACHUK            3535 FOX RUN DRIVE                                              ALLENTOWN          PA                  18103
    WANGS ALLIANCE CORP.                     ALLY NELSON                 44 HARBOR PARK DRIVE                                            PORT WASHINGTON    NY                  11050
    WOMENMANAGEMENTWOMEN MANAGEMENT          ATTN: ACCOUNTING            3 RUE MEYERBEER                                                 PARIS                                  75009       FRANCE
    ZERO11SRL                                ATTN: JOSHUA AVRUM STERN    505 CARROLL MOUNTAIN LANE                                       MORRISTOWN         VT                  05661
    ZERO11SRL                                PAOLO CIGOLINI              VIA MARIGONE 48                                                 BIELLA             OCCHIEPPO INFERIORE 13897       ITALY




In re: Neiman Marcus Group LTD LLC, et al.
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                      NAME                                    ATTENTION                                   EMAIL
19RM LTD                                       ATTN: STACEY FISHER                     STACEY.FISHER@ROLANDMOURET.COM
                                               C/O JD MITCHELL ASSOCIATES ATTN: JOHN
A DE R SAS                                     DERMOTT MICHELL                         JDMITCHELL@JDMITCHELLASSOCIATES.COM
AFFIL-MK OFFICE OF SERVICES LLC                ATTN: GENERAL COUNSEL                   CHRISTOPHER@RAYATLAW.COM
AIMÉ LEON DORE                                 GRANT SIMM                              ED@AIMELEONDORE.COM
ALBERT TOGUT, NOT INDIVIDUALLY, BUT SOLELY
IN HIS CAPACITY AS CHAPTER 7 TRUSTEE OF
SONIA RYKIEL, INC.                             NEIL BERGER, ESQ.                       NEILBERGER@TEAMTOGUT.COM
AMBIUS                                         BANKRUPTCY TEAM                         TARA.CONARD@RENTOKIL.COM
AMUSEMINTS                                     ATTN: PAUL CICCONE                      PCICCONE@CHOCOLATEINN.NET
APERTURE TALENT                                                                        MEGHAN@WILLYSOCIAL.COM
AQUIS INC                                                                              JENNYP@AQUIS.COM
ATLANTIC FOLK LTD                              HUGO MIDDLETON                          HUGO@ATLANTICFOLK.COM
AVCON ENGINEERING PC                           ELLA MALKIN                             EMALKIN@AVCON-ENG.COM
BARAM INTERNATIONAL CO., LTD.                  RAE HYUN PARK                           TRADE@BARAMCORP.KR
BEGUM KIROGLU BK DIS TICARET                   ATTN: BEGUM KIROGLU                     BEGUM@BEGUMKHAN.COM
BEGUM KIROGLU BK DIS TICARET                   BEGUM KIROGLU                           INFO@BEGUMKHAN.COM
BIGELOW TRADING LTD*INACTIVE*                                                          CINDY@COBIGELOW.COM
BLANC FASHION                                  LEO FRAGA                               LEGAL@BLANCFASHION.COM
BLANC FASHION                                  BRUNA MOL                               BRUNA@BLANCHFASHION.COM
BONTONI SRL.                                   FRANCO GAZZANI                          INFO@BONTONI.COM
BREAK POINT MEDIA LLC                          ANDREW ROTHSCHILD                       ANDREW@BREAKPOINT.MEDIA
BRYAN BANTRY INC                               BRYAN BANTRY                            KATIA@BRYANBANTRY.COM
CADOGAN TATE FINE ART STORAGE LTD              ATTN GENICE HOSTEN                      G.HOSTEN@CADOGANTATE.COM
CAMFIL USA INC                                 LORETTA L. LIVATINO                     LORETTA.LIVATINO@CAMFIL.COM
CANDER INC                                     ELIZABETH MINETT                        ELIZABETH@CANDERPARIS.COM
CARL TALLENT                                                                           REDACTED ADDRESS
CASEY HESS                                                                             REDACTED ADDRESS
CIRCLE UG (HAFTUNGSBESCHRÄNKT)                                                         S.PENKOW@BIGSTAR-AGENCY.COM
CLOUDNOLA, INC                                 RITA DRAGONI                            RITA@CLOUDNOLA.COM
COMPASS GROUP USA                              CATHY ALION                             CATHERINE.ALION@COMPASS-USA.COM
CONTEMPORARY APPLIED ARTS                      ATTN: BECKY HARLE                       BECKY@CAA.ORG.UK
DB AUTONOLEGGIO CON CONDUCENTE DI
DANIELE BANFI                                  DANIELE BANFI                           INFO@DBAUTONOLEGGIO.COM
DEADLY PONIES 2010 LTD                         AIMEE GREENHOUGH                        ACCOUNTS@DEADYPONIES.COM
DECREE SIGNS & GRAPHICS D/B/A MANHATTAN        C/O MANHATTAN SIGNS ATTN: MARIE
SIGNS                                          MARTINECK                               MMARTINECK@MANHATTANSIGNSCO.COM
DORFMAN-PACIFIC CO.                                                                    ARREMITADV@DORFMAN-PACIFIC.COM
DORFMAN-PACIFIC CO.                                                                    LORRA.BLANKENSHIP@DORFMAN-PACIFIC.COM
ELEVENTY USA                                   ATWELL CURTIS + BROOKS                  ATWELL@ACBLTD.COM

In re: Neiman Marcus Group LTD LLC, et al.
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                      NAME                                   ATTENTION                                      EMAIL
                                               C/O PRYOR CASHMAN LLP ATTN: ANDREW S.
EMILIO PUCCI S.R.L.                            RICHMOND                                ARICHMOND@PRYORCASHMAN.COM
EMILIO PUCCI S.R.L.                            JACQUES OLIVIER PELLETIER               J.PELLETIER@PUCCI.COM
EMPORIO LE SIRENUSE SRL                        ATTN: CARLA PARAVICINI                  INFO@EMPORIOSIRENUSE.COM
ESPRO, INC. (REGAL WARE, INC.)                 REBECCA DREIER                          RDREIER@REGALWARE.COM
FABRA CLEEN CARPET & FABRIC SPECIALISTS,
INC.                                           ATTN: LORNE GREENBERG                   LORNE@FABRACLEEN.COM
FASHIOANTA INC                                 ACCOUNTS                                ACCOUNTS@FASHIONATA.COM.AU
FG FOOD SERVICE LLC                            KEVIN PETROVSKY                         KEVIN@WETAKETHECAKE.COM
G.E.A. SRL                                     ATTN: ALBERTA SCHIAVON                  INFO@MARIELLAFERRARI.IT
GAMEZ TPS LLC DBA TEXAS PERSONNEL SERVICE      BETTY LOU GAMEZ-FIEL                    TPS1000@HOTMAIL.COM
GARDA CL GREAT LAKES, INC. (GARDAWORLD)        JULIE HAYASHI                           JULIE.HAYASHI@GARDA.COM
GENERATION JOY LLC                                                                     FRANKIE@GENERATIONJOY.COM
GILMAR DIVISIONE INDUSTRIA S.P.A.              ANNIBALE SFRAPPINI                      ASFRAPPINI@GILMAR.IT
HANAMINT CORP.                                 RUSSELL SORENSON                        RSORENSON@HANAMINT.COM
HAROUNIAN RUGS INTERNATIONAL CO.               LUSI KHALILI                            ACCOUNTING@HRIRUGS.COM
HIGH TECH LANDSCAPES                           STEVEN M. COZZA                         SCOZZA@HIGHTECHLANDSCAPES.COM
HUNZA G LTD., A PRIVATE LIMITED COMPANY        C/O HELLER LAW APC ATTN: MARC GREGORY
REGISTERED IN THE UNITED KINGDOM               HELLER                                MARC@HELLERLAWAPC.COM
HUNZA G LTD., A PRIVATE LIMITED COMPANY
REGISTERED IN THE UNITED KINGDOM               KRISTEN ABEL                            KRISTEN@HUNZAG.COM
IM-LINK CORP.                                                                          JASON@IM-LINK.COM
INDIVIDUALIZED SHIRT COMPANY                                                           G.DENNEY@TOMJAMES.COM
JONATHAN Y DESIGN'S INC                                                                JANET.ZHANG@JONATHANY.COM
KARO STUDIOS INC.                              KARO MARTIROSYAN                        KARO@KAROSTUDIOS.COM
KAT BURKI SKINCARE INC                         ACCOUNTING                              ACCOUNTING@KATBURKI.COM
KIN COLLECTIVE LLC                             EDWARD KIM                              EDWARD@ASTRTHELABEL.COM
KIYASA CORPORATION                             KIANA BAHADORZADEH                      KIANA@KIYASA.COM
LADORADA                                       C/O JUAN WEIL                           JWEIL@LADORADASHOP.COM
LAZYPANTS/08                                   LINDA SCAVONE                           LINDA@MAJESTICTEES.COM
LBV INC.                                       SEAN CUTRONA                            SEANCUTRONA@ICLOUD.COM
LBV INC.                                       TRISHA PETERSON                         TRISHA@LBVOFFICIAL.COM
LBV INC.                                       FRANK VELLUCCI                          FRANK.VELLUCCI@NORTONROSEFULLBRIGHT.COM
LIPAULT                                        C/O SAMSONITE LLC ATTN: JAMES B. REGO   JAMES.REGO@SAMSONITE.COM
LONG ISLAND CARPET CLEANERS INC. DBA FABRA
CLEEN                                          DAVID SWIDLER                           DSWIDLER@FABRACLEEN.COM
LOULOU STUDIO                                  UGO BENSOUSSAN                          UGO@LOULOUSTUDIO.FR
LSA INTERNATIONAL INC                          MALCOLM FOREMAN                         MF@LSA-INTERNATIONAL.COM
LUCKY SCENT INC.                                                                       ACCOUNTING@LUCKYSCENT.COM
MACKENZIE AUTOMATIC DOORS INC                  ATTN: JONATHAN PAUL                     JPAUL@MACKENZIE-GROUP.COM
MAGICLINKS, INC                                BRIAN NICKERSON                         BRIAN@MAGICLINKS.COM
In re: Neiman Marcus Group LTD LLC, et al.
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                   NAME                                      ATTENTION                                     EMAIL
MAINSTREAM SWIMSUITS, INC.                     DAWN FINLAYSON                          DAWN@SWIMUSA.COM
MARGARET HOWELL LTD                            KEVIN PERRET                            KEVIN.PERRET@MARGARETHOWELL.CO.UK
MARGARET HOWELL LTD                            PERRET KEVIN WHOLESALE MANAGER          KEVIN.PERRET@MARGARETHOWELL.CO.UK
MAUI EPICURE LLC                                                                       CHRIS@MAUIEPICURE.COM
MICHAEL HALPERN LIMITED                        ACCOUNTS                                ACCOUNTS@HALPERNSTUDIO.COM
MIFANLI INC                                                                            CANDICE@MIFANLI.COM
MOCKINGBIRD FOOD CO                            DENA SHASKAN                            DENA@MOCKINGBIRDFOOD.COM
MODERN FORMS                                   ATTN ALLY NELSON                        ALLY.NELSON@WACLIGHTING.COM
NANCY PRICE INTERIOR DESIGN                                                            NPDESIGNER@AOL.COM
NEPENTHES AMERICA INC.                         YE PHONE                                YE@NEPENTHESNY.COM
                                                                                       SUSAN.JIANG@NEXGENPKG.COM
NEXGEN PACKAGING LTD                           MICHAEL NAIMO                           MIKE.NAIMO@NEXGENPKG.COM
                                               C/O COFACE NORTH AMERICA INSURANCE
NOXS INC.                                      COMPANY ATTN: AMY SCHMIDT               AMY.SCHMIDT@COFACE.COM
NTRONIXCORP                                    THEODORE E ESPEJO                       EDDIE@NTRONIXCORP.COM
OLO                                            TESSA LOWE                              TLOWE@OLOFOODS.COM
OLO & CO                                       TESSA LOWE                              TLOWE@OLOFOODS.COM
ONE FASHION HOUSE, INC                                                                 ONEFASHIONHOUSEINC@TIMEWORLDUSA.COM
ORIGINAL MADRAS TRADING CO.                    PRASAN SHAH                             PRASANSHAH@OMTCNYC.COM
PENN KARN                                      ATTN FABRICE BERNETIERE                 FABRICE@CELESTE-MOGADOR.COM
PLANT PEOPLE, INC.                             HUDSON GAINES-ROSS                      PARTNERS@PLANTPEOPLE.CO
PLANT PEOPLE, INC.                             ANNE MYRA SUAREZ MINGIONE               MYRA@PLANTPEOPLE.CO
PRESIDENT F.R.S. SRL                                                                   AMMINISTRAZIONE@FORRESTLESSSLEEPERS.COM
QOSINA CORP.                                   ATTN: SAUL STERNSCHEIN, CFO             SAUL.STERNSCHEIN@QOSINA.COM
RATTI SPA                                      ATTN: ANDREA CAPRA                      ANDREA_CAPRA@RATTI.IT
RENTOKIL                                       BANKRUPTCY TEAM                         TARA.CONARD@RENTOKIL.COM
ROJAS LIFESTYLE LLC                            JAMES MANNINO                           JIM@JIMMANNINO.COM
SARREID LTD                                    TRAVIS D COLEY                          TDC@SARREID.COM
SHOP IT TO ME, INC.                            CHARLIE GRAHAM                          CHARLIE@SHOPITTOME.COM
TESSILARTE DI PAOLA MARTINETTI                 ATTN: PAOLA MARTINETTI                  INFO@TESSILARTE.IT
THE BOATMAN GROUP                                                                      VALERIE.VELLER@THEBOATMANGROUP.COM
TINA CHEN DESIGN COMPANY                       ATTN: QING CHEN                         TINA.CHEN61@GMAIL.COM
                                               C/O DXC TECHNOLOGY SERVICES ATTN
TRIBRIDGE HOLDINGS, LLC                        SOFIA KOLB                              SOFIA.KOLB@DXC.COM
TRIBRIDGE HOLDINGS, LLC                        KATHLEEN E CARROLL                      KCARROLL2@DXC.COM
UTZON A/S                                                                              ACCOUNTING@UTZONCPH.COM
VITA KIN, INC.                                 ROMAN KINDRACHUK                        ROMAN@VITAKIN.NET
WANGS ALLIANCE CORP.                           ALLY NELSON                             ALLY.NELSON@WACLIGHTING.COM
WOMENMANAGEMENTWOMEN MANAGEMENT                ATTN: ACCOUNTING                        CATHERINE@WOMENMANAGEMENT.FR
ZERO11SRL                                      ATTN: JOSHUA AVRUM STERN                JSTERN409@ALONPI.COM
ZERO11SRL                                      PAOLO CIGOLINI                          P.CIGOLINI@ZERO11SRL.COM
In re: Neiman Marcus Group LTD LLC, et al.
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                NAME                             ATTENTION                     ADDRESS 1                             ADDRESS 2             CITY        STATE       ZIP         COUNTRY
 1 ABOVE ELEVATOR INSPECTIONS          TIM SULLIVAN                  6818 DUDLEY CIRCLE                                             ARVADA            CO       80004
 2HYPE INC                                                           1384 BROADWAY SUITE 902                                        NEW YORK          NY       10018
 ABBCH OUSTERHOUT, LTD DBA O'MY
 GOODNESS!                             ANDY OUSTERHOUT               910 SHERWOOD DR STE 19                                         LAKE BLUFF        IL       60044
 ADVERIS, LLC (DBA MOODCAST
 FRAGRANCE CO.)                        ADAM HOCHSCHULER              3625 HAYNIE AVENUE                                             DALLAS            TX       75205
 AGI SUPREME LLC                                                     2252 HAYES STREET                                              HOLLYWOOD         FL       33020-0000
 AIR FORCE FILTER, LLC.                                              225 BRYANT STREET                                              DENVER            CO       80219
 ALLIED FLOW SPECIALISTS, INC.         CODY THOMAS                   PO BOX 1150                          5426 MONTGOMERY ROAD      MIDLOTHIAN        TX       76065
 ALLUME                                MAURIA FINLEY                 550 CHURCHILL AVE                                              PALO ALTO         CA       94301-3605
 ALLUME                                MAURIA FINLEY                 550 CHURCHILL AVE                                              PALO ALTO         CA       94301
 AMI PARIS                             ATTN: COMPTABILITE            3 COUR BERARD                                                  PARIS                      75004      FRANCE
 ANAHEIM GLASS INC                                                   542 SOUTH ANAHEIM BOULEVARD                                    ANAHEIM           CA       92805
 AURELE LIMITED                        ACCOUNITNG DEPARTMENT         6-7 SAINT MARY AT HILL                                         LONDON                     EC3R 8EE UNITED KINGDOM
 AUTONOLEGGIO CON CONDUCENTE
 ENRICO SECCI                          ATTN ENRICO SECCI             VIA MAFFIA, 16                                                 FLORENCE          IT       50125      ITALY
 BALLIN INTERNATIONAL                                                63 LAWRENCE PAQUETTE DRIVE                                     CHAMPLAIN         NY       12919
 BAROQUE JAPAN LIMITED                 SHOMA KUREYAMA                11F, AOBADAI - HILLS                 4-7-7 AOBADAI MEGURO-KU   TOKYO             TOKYO    153-0042   JAPAN
 BIG ISLAND CANDIES                    BONNIE T. HONDA               585 HINANO ST                                                  HILO              HI       96720
 BRAVE KID SRL                         ATTN: ALESSANDRO FAVERO       VIA FOSSE 14                                                   MAROSTICA         ITALY    36063      ITALY
 CANON SOLUTIONS AMERICA, INC.         ATTN: JAN SARSTEN             4560 COMMUNICATION AVE               #100                      BOCA RATON        FL       33431-4485
 CELINA LEUNG                                                        REDACTED ADDRESS
 CELMOL INC. DBA MARK ROBERTS          MARK ROBERTS                  1611 E SAINT ANDREW PL                                         SANTA ANA         CA       92705
 CHAITNATH HARDUAR (LASER TECH
 JEWELRY REPAIR INC)                                                 8651 MUSKET STREET                                             BELLEROSE         NY       11427
 CHAMBERS & CHAMBERS WINE
 MERCHANTS                                                           511 ALEXIS CT                                                  NAPA              CA       94558-7526
 CITY OF SUNRISE, A FLORIDA            THOMAS P. MOSS, DEPUTY CITY   10770 W. OAKLAND PARK
 MUNICIPAL CORPORATION                 ATTORNEY                      BOULEVARD                                                      SUNRISE           FL       33351
 CITY OF TAMPA - ORACLE LOCKBOX                                      PO BOX 23328                                                   TAMPA             FL       33623
 CITY OF TAMPA - ORACLE LOCKBOX                                      PO BOX 23328                         PO BOX 30191              TAMPA             FL       33623
 CLEANERS SUPPLY, INC.                 ATTN: TIMOTHY JACOB MAYERS    1059 POWERS ROAD                                               CONKLIN           NY       13748
 CLOUDNOLA INC.                        RITA DRAGONI                  5119 HAWTHORNE DR                    SUITE K                   WEST DES MOINES   IA       50265
 CREATIVE VISUAL SYSTEMS               LAURA CHERRY                  400 APGAR DRIVE                      UNIT G                    SOMERSET          NJ       08873
 DENVER MODEL & TALENT LTD DBA
 DONNA BALDWIN AGENCY                                                925 W 7TH AVE                                                  DENVER            CO       80204
 DRIVERS LICENSE GUIDE COMPANY                                       1492 ODDSTAD DRIVE                                             REDWOOD CITY      CA       94063
 ELITE MODEL MANAGEMENT LLC            DAVID SENUTO                  245 FIFTH AVE, FL 24                                           NEW YORK          NY       10016
 FRANK NEW                                                           REDACTED ADDRESS
 HARDIE'S FRUIT & VEGETABLE CO.-                                                                          4530 WISCONSIN AVE. NW,
 HOUSTON, LP                           ATTN: KATE ELLIS, ESQ.        MCCARRON & DIESS                     SUITE 301                 WASHINGTON        DC       20016
 HEREU STUDIO, S.L                                                   CARRER LLULL, 57, 6O 5A                                        BARCELONA                  8005         SPAIN
 HP INC.                               RAMONA S. NEAL                11311 CHINDEN BLVD                                             BOISE             ID       83714
                                       13207 COLLECTION CENTER
 HP INC.                               DRIVE                                                                                        CHICAGO           IL       60693
 HUM NUTRITION                         KIM PETTIFORD                 750 N SAN VICENTE BLVD               UNIT 303                  NORTH HOLLYWOOD   CA       91601
 JFA DESIGNS, INC                      JEAN-FRANCOIS ALBERT          2708 CLIFF DRIVE                                               NEWPORT BEACH     CA       92663
 LIVIN, LLC                            ATTN: LAUREN GACHKAR          12897 CROSS POINT DR.                                          FRISCO            TX       75033
 LIVIN, LLC                            OPALENS BEAUTY                12897 CROSS POINT DR                                           FRISCO            TX       75033
 LIVIN, LLC                            ATTN LAUREN CAROL GACHKAR     5000 ELDORADO PKWY                   STE 150-188               FRISCO            TX       75033
 MACKENZIE GROUP INC                   JONATHAN PAUL                 4900 WEST SIDE AVE                                             NORTH BERGEN      NJ       07047
 MAYA CHIA                             SUSANNE NORWITZ               2450 ASHLEY RIVER RD, SUITE A                                  CHARLESTON        SC       29414
 MERRICK CULP DESIGNS LLC              ATTN: MARIA HARRINGTON        3981 S CLERMONT STREET                                         ENGLEWOOD         CO       80113
 MILK MANAGEMENT LIMITED               CHRIS PURVIS                  40-44 NEWMAN STREET                                            LONDON                     W1T 1QD      UNITED KINGDOM

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               NAME                             ATTENTION                    ADDRESS 1                             ADDRESS 2                CITY      STATE      ZIP          COUNTRY
 MR. LUIS ESCARRIA                                                  REDACTED ADDRESS
                                       ATTN: NICOLETTA CAKE
                                       MARSHMALLOW DI NICOLETTA
 NICOLETTA CAKE MARSHMALLOW            MAFFIOLI                     VIA GIUSEPPE GARIBALDI N. 02                                   CAZZAGO BRABBIA   VARESE   21020        ITALY
 OCCASIONALLY MADE LLC, DBA SWIG
 LIFE                            MOLLY JONES                        8001 FRANKLIN FARMS DRIVE            STE 100                   RICHMOND          VA       23229
 ON TIMES SALES LLC              ACCOUNT RECEIVABLE                 360 OSER AVENUE                                                HAUPPAUGE         NY       11788
 PASOTTI OMBRELLI S.R.L.         ATTN: NICOLA BEGOTTI               VIA ROMA 77                                                    CASTELLUCCHIO     MN       46014        ITALY
                                                                    C/O PETER DUDGEON INT'L DBA          ATTN: SHANNON PIPER 740
 PETER DUDGEON INT'L                   GOURMET FOODS HAWAII         GOURMET FOODS HAWAII                 KOPKE ST.                 HONOLULU          HI       96819
 PHILLIP KADOWAKI                                                   REDACTED ADDRESS
 POETIC PILLOW                                                      5111 TELEGRAPH AVENUE #186                                     OAKLAND           CA       94609
 PRSB LLC                              BRAD NAMDAR                  3232 MCKINNEY AVE, SUITE 500                                   DALLAS            TX       75204
 RADAR PROMOTIONS                      RYAN JAMES PAULES            150 S GLENOAKS BLVD                  #9153                     BURBANK           CA       91502
 RUFFLEBUTTS, INC                      ATTN: ACCOUNTS RECEIVABLE    4055 CORPORATE DR #200                                         GRAPEVINE         TX       76051
 SAFETY-KLEEN/CLEANHARBORS             ATTN: KRISTINE T. ANDERSON   42 LONGWATER DRIVE                   PO BOX 9149               NORWELL           MA       02061
 SENSISTUDIO S.A.                      VIRGINIA GANCHOZO            KM 7.5 PROSPERINA AVENUDA 8          VA Y CALLE 2DA            GUAYAQUIL         GUAYAS                ECUADOR
 SJOKLAEDAGERDIN HF. (66°NORTH)        KARI STEINN KARLSSON         MIDHRAUN 11                                                    GARDABAER                 210           GARDABAER
 SOHO LETTERPRESS INC.                 ANNE NOONAN                  4014 FIRST AVENUE                    SUITE 303 MB UNIT 12      BROOKLYN          NY      11232
 SRS SECUIRTY AGENCY, LLC              RICK GARCIA                  PO BOX 267                                                     BLOOMINGDALE      NJ      07403
 STUDIO GALA                           ATTN: GERARD LAETHEM         10, RUE VERSIGNY                                               PARIS             FRANCE 75018       FRANCE
 SUNNYLIFE LLC                         ATTN: SAM HERRBACH           300 N CRESCENT HEIGHTS BLVD                                    LOS ANGELES       CA      90048
 SWEET STREET DESSERTS INC             ACCOUNTS RECEIVABLE          722 HIESTERS LANE                                              READING           PA      19605
 THE CAROLING PARTY INC                PAUL IAMS                    2319 GREENWOOD AVENUE                                          WILMETTE          IL      60091
 THE CLUTTS AGENCY, INC                REGAN BALLMER                1825 MARKET CENTER BLVD              SUITE 380                 DALLAS            TX      75207
 THE COSMETICS FRIDGE                                               739 SUMMER PARK CRESCENT                                       MISSISSAUGA       ONTARIO L5B4E2     CANADA
 THIS WORKS PRODUCTS LTD               SEEMA PATERSON               1090 KING GEORGES POST RD            SUITE 505                 EDISON            NJ      08837
 UN CADEAU DE LA PROVIDENCE            JESPER BORULF                NYBROGATAN 8                         C/O ALMA                  STOCKHOLM                 114 34     SWEDEN
 UNIVERSAL TAG, INC.                   PAUL MANDEVILLE              36 HALL ROAD                         PO BOX 1518               DUDLEY            MA      01571
 VIE HEALING                                                        132 S SPALDING DR                    APT 111                   BEVERLY HILLS     CA      90212-1845
 VIE HEALING INC                       MONA AHDOOT                  8500 MELROSE AVE STE 210                                       WEST HOLLYWOOD    CA      90069
 WILL MORGAN, MARTIN SLIVKA
 TRADING AS WILMA                      WILLIAM MORGAN               UNIT C, BLACKHORSE MEWS                                        LONDON            LONDON E17 6SL        UNITED KINGDOM
 WILLIAM G. BURNS' BUSINESS
 EXPRESS PRESS                         ATTN: WILLIAM G. BURNS       4601 LANGLAND                        SUITE 106                 DALLAS            TX       75244
 WINDSTREAM                                                         1450 N CENTER POINT RD                                         HIAWATHA          IA       52233
 WJM PRODUCTIONS, INC                  KARA REELS                   667 MADISON AVE                      FL 5                      NEW YORK          NY       10065-8029
 WJM PRODUCTIONS, INC                  C/O CLARITY MEDIA GROUP      ATTN: KARA REELS                     166 5TH AVE., FLOOR 6     NEW YORK          NY       10010
 XPO LOGISTICS                                                      255 WEST 36TH STREET                 3RD FLOOR                 NEW YORK          NY       10018




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                       NAME                                         ATTENTION                                 EMAIL
1 ABOVE ELEVATOR INSPECTIONS                     TIM SULLIVAN                               TIMSULLY04@GMAIL.COM
2HYPE INC                                                                                   JOEYA@2HYPEINC.COM
ABBCH OUSTERHOUT, LTD DBA O'MY GOODNESS!         ANDY OUSTERHOUT                            ANDY@OMYGOODNESS.COM
ADVERIS, LLC (DBA MOODCAST FRAGRANCE CO.)        ADAM HOCHSCHULER                           ADAM@MOODCAST.CO
AGI SUPREME LLC                                                                             FINANCE@MIMAKIDSUSA.COM
AIR FORCE FILTER, LLC.                                                                      AFF@AIRFORCEFILTER.COM
ALLIED FLOW SPECIALISTS, INC.                    CODY THOMAS                                ACCOUNTING@ALLIEDFLOW.COM
ALLUME                                           MAURIA FINLEY                              ANDREA@ALLUME.CO
ALLUME                                           MAURIA FINLEY                              FINANCE@ALLUME.CO
AMI PARIS                                        ATTN: COMPTABILITE                         COMPTABILITE@AMIPARIS.FR
ANAHEIM GLASS INC                                                                           ANAHEIMGLASS@SBCGLOBAL.NET
AURELE LIMITED                                   ACCOUNITNG DEPARTMENT                      ACCOUNTING@AURELELTD.COM
AUTONOLEGGIO CON CONDUCENTE ENRICO SECCI         ATTN ENRICO SECCI                          ENRICOSECCI.NCC@GMAIL.COM
BALLIN INTERNATIONAL                                                                        NANCY.TREMBLAY@BALLIN.COM
BAROQUE JAPAN LIMITED                            SHOMA KUREYAMA                             SHOMA.KUREYAMA@BAROQUE-GLOBAL.COM
                                                                                            ALICE@BIGISLANDCANDIES.COM
BIG ISLAND CANDIES                               BONNIE T. HONDA                            BONNIE@BIGISLANDCANDIES.COM
BRAVE KID SRL                                    ATTN: ALESSANDRO FAVERO                    ALESSANDRO_FAVERO@BRAVEKID.COM
CANON SOLUTIONS AMERICA, INC.                    ATTN: JAN SARSTEN                          JSARSTEN@CSA.CANON.COM
CELINA LEUNG                                                                                REDACTED ADDRESS
CELMOL INC. DBA MARK ROBERTS                     MARK ROBERTS                               MARK@MARK-ROBERTS.COM
CHAITNATH HARDUAR                                (LASER TECH JEWELRY REPAIR INC)            CHARDUAR350@GMAIL.COM
CHAMBERS & CHAMBERS WINE MERCHANTS                                                          CREDIT@CHAMBERSWINES.COM
CITY OF SUNRISE, A FLORIDA MUNICIPAL
CORPORATION                                      THOMAS P. MOSS, DEPUTY CITY ATTORNEY       TMOSS@SUNRISEFL.GOV
CITY OF TAMPA - ORACLE LOCKBOX                                                              SCOTT.STIGALL@TAMPAGOV.NET
CLEANERS SUPPLY, INC.                            ATTN: TIMOTHY JACOB MAYERS                 ACCOUNTANT@CLEANERSUPPLY.COM
CLOUDNOLA INC.                                   RITA DRAGONI                               RITA@CLOUDNOLA.COM
CREATIVE VISUAL SYSTEMS                          LAURA CHERRY                               LAURA@BREWERASSOCIATES.COM
DENVER MODEL & TALENT LTD                        DBA DONNA BALDWIN AGENCY                   BRAD@DONNABALDWIN.COM
DRIVERS LICENSE GUIDE COMPANY                                                               CDENBLEYKER@DRIVERSLICENSEGUIDE.COM
ELITE MODEL MANAGEMENT LLC                       DAVID SENUTO                               DAVID@ELITEMODELS.COM
FRANK NEW                                                                                   REDACTED ADDRESS
HARDIE'S FRUIT & VEGETABLE CO.-HOUSTON, LP       ATTN: KATE ELLIS, ESQ.                     KELLIS@MCCARRONLAW.COM
HEREU STUDIO, S.L                                                                           INFO@HEREUSTUDIO.COM
HP INC.                                          RAMONA S. NEAL                             RAMONA.NEAL@HP.COM
HP INC.                                                                                     RAMONA.NEAL@HP.COM
HUM NUTRITION                                    KIM PETTIFORD                              KIM@HUMNUTRITION.COM
JFA DESIGNS                                      JEAN-FRANCOIS ALBERT                       JF@JFADESIGNS.COM
JFA DESIGNS, INC                                 JEAN-FRANCOIS ALBERT                       JF@JFADESIGNS.COM
LIVIN, LLC                                       ATTN LAUREN CAROL GACHKAR                  LAUREN@OPALENSBEAUTY.COM
LIVIN, LLC                                       ATTN: LAUREN GACHKAR                       LAUREN@OPALENSBEAUTY.COM
In re: Neiman Marcus Group LTD LLC, et al.
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                    NAME                                          ATTENTION                                   EMAIL
LIVIN, LLC                                       OPALENS BEAUTY                             LAUREN@OPALENSBEAUTY.COM
MACKENZIE GROUP INC                              JONATHAN PAUL                              JPAUL@MACKENZIE-GROUP.COM
MAYA CHIA                                        SUSANNE NORWITZ                            SUSANNE@MAYACHIA.COM
MERRICK CULP DESIGNS LLC                         ATTN: MARIA HARRINGTON                     MARIA@TRUFFLECO.COM
MILK MANAGEMENT LIMITED                          CHRIS PURVIS                               CHRIS@MILKMANAGEMENT.CO.UK
MR. LUIS ESCARRIA                                                                           REDACTED ADDRESS
                                                 ATTN: NICOLETTA CAKE MARSHMALLOW DI
NICOLETTA CAKE MARSHMALLOW                       NICOLETTA MAFFIOLI                         NICOLETTAMARSHMALLOW@GMAIL.COM
OCCASIONALLY MADE LLC, DBA SWIG LIFE             MOLLY JONES                                ACCOUNTING@SWIGLIFE.COM
ON TIMES SALES LLC                               ACCOUNT RECEIVABLE                         DIANA@CLEANSETEC.COM
PASOTTI OMBRELLI S.R.L.                          ATTN: NICOLA BEGOTTI                       NICOLA@PASOTTIOMBRELLI.COM
                                                 GOURMET FOODS HAWAII C/O PETER DUDGEON
PETER DUDGEON INT'L                              INT'L DBA GOURMET FOODS HAWAII             INFO@GOURMETFOODS-HAWAII.COM
PHILLIP KADOWAKI                                                                            REDACTED ADDRESS
POETIC PILLOW                                                                               ONLINE@POETICPILLOW.COM
PRSB LLC                                         BRAD NAMDAR                                BN@NAMDARDECOR.COM
RADAR PROMOTIONS                                 RYAN JAMES PAULES                          RYAN@RADARPROMO.COM
RUFFLEBUTTS, INC                                 ATTN: ACCOUNTS RECEIVABLE                  AR@RUFFLEBUTTS.COM
SAFETY-KLEEN/CLEANHARBORS                        ATTN: KRISTINE T. ANDERSON                 ANDERSON.KRISTINE@CLEANHARBORS.COM
SENSISTUDIO S.A.                                 VIRGINIA GANCHOZO                          INFO@SENSISTUDIO.COM
SJOKLAEDAGERDIN HF. (66°NORTH)                   KARI STEINN KARLSSON                       KARI@66NORTH.IS
SOHO LETTERPRESS INC.                            ANNE NOONAN                                SOHOLETTERPRESS@GMAIL.COM
SRS SECUIRTY AGENCY, LLC                         RICK GARCIA                                RGARCIA.SRSAGENCY@GMAIL.COM
STUDIO GALA                                      ATTN: GERARD LAETHEM                       STUDIOGALA@ORANGE.FR
SUNNYLIFE LLC                                    ATTN: SAM HERRBACH                         AR@SUNNYLIFE.COM
SWEET STREET DESSERTS INC                        ACCOUNTS RECEIVABLE                        ACCOUNTS.RECEIVABLE@SWEETSTREETS.COM
THE CAROLING PARTY INC                           PAUL IAMS                                  PAUL@THECAROLINGPARTY.COM
THE CLUTTS AGENCY, INC                           REGAN BALLMER                              REGAN@THECLUTTSAGENCY.COM
THE COSMETICS FRIDGE                                                                        HELLO@THECOSMETICSFRIDGE.COM
THIS WORKS PRODUCTS LTD                          SEEMA PATERSON                             PEDROS@SOCKETMS.COM
UN CADEAU DE LA PROVIDENCE                       JESPER BORULF                              JESPER@CDLP.COM
UNIVERSAL TAG, INC.                              PAUL MANDEVILLE                            CAROL@UNIVERSALTAG.COM
VIE HEALING INC                                  MONA AHDOOT                                ACCOUNTING@VIEHEALING.COM
WILL MORGAN, MARTIN SLIVKA TRADING AS WILMA      WILLIAM MORGAN                             STUDIO@WEAREWILMA.COM
WILLIAM G. BURNS' BUSINESS EXPRESS PRESS         ATTN: WILLIAM G. BURNS                     BURNS@BURNSBEP.COM
WINDSTREAM                                                                                  BETH.WISE@WINDSTREAM.COM
WJM PRODUCTIONS, INC                             C/O CLARITY MEDIA GROUP ATTN: KARA REELS   KARA@CLARITYMEDIAGROUP.COM
WJM PRODUCTIONS, INC                             KARA REELS                                 KARA@CLARITYMEDIAGROUP.COM
XPO LOGISTICS                                                                               EMILY.PEREZ@XPO.COM



In re: Neiman Marcus Group LTD LLC, et al.
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                 NAME                                  ATTENTION                         ADDRESS 1            ADDRESS 2            CITY        STATE ZIP
BEFRUGAL                                CORIN YOUNG                              PO BOX 51607                               BOSTON            MA    02205
BRAD'S DEALS LLC                                                                 640 N LASALLE              SUITE 460       CHICAGO           IL    60654
BRAD'S DEALS LLC                        LIZ GALLAGHER                            6115 ESTATE SMITH BAY      SUITE 215 BOX 7 ST. THOMAS        VI    00802
CENTRAL TELEPHONE COMPANY-              CENTURYLINK COMMUNICATIONS, LLC -
NEVADA DBA CENTURYLINK                  BANKRUPTCY                               1025 EL DORADO BLVD                       BROOMFIELD         CO       80021
CENTRAL TELEPHONE COMPANY-              C/O CENTURYLINK COMMUNICATIONS,
NEVADA DBA CENTURYLINK                  LLC - BANKRUPTCY                         ATTN: JESSIE SCHAFER       220 N 5TH ST   BISMARCK           ND       58501
CESAR DUENAS                                                                     REDACTED ADDRESS
DERRALL BROWN                                                                    REDACTED ADDRESS
DLNY, LLC A DIVISION OF JERRY LEIGH
OF CALIFORNIA, INC                      ANNETTE GILL                             7860 NELSON ROAD                          VAN NUYS           CA       91402
EBONE BOWLES                                                                     REDACTED ADDRESS
ELK GROUP INTERNATIONAL                 ATTN: PAULA FISHER                       12 WILLOW LANE                            NESQUEHONING       PA       18240
HAWAII EMPLOYMENT SERVICES, INC         SEAN KNOX                                745 FORT ST. #124                         HONOLULU           HI       96813
JAMES JEANS                                                                      REDACTED ADDRESS
MONICA WRIGHT-SAPARI                                                             REDACTED ADDRESS
OSCAR ALVAREZ                                                                    REDACTED ADDRESS
POMEROY                                 ATTN: DANIELLE EMS                       12 WILLOW LANE                            NESQUEHONING       PA       18235
SA-LA LLC                               ARIE SETTON                              1024 BAYSIDE DRIVE # 419                  NEWPORT BEACH      CA       92660
TOGAS HOUSE OF TEXTILES                 TATIANA PINHASI                          1333 SECOND AVENUE                        NEW YORK           NY       11040
TOOTIE PIE CO.                          ATTN: BRIAN GILE                         3992 E HWY 290             #200           DRIPPING SPRINGS   TX       78620
WESLYN BRIGNONI                                                                  REDACTED ADDRESS
WHITLOCK (AUDIO FIDELITY
COMMUNICATIONS CORP)                                                             6301 BENJAMIN RD           SUITE 101      TAMPA              FL       33634




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                          NAME                                ATTENTION                              EMAIL
         BEFRUGAL                              CORIN YOUNG                             CORIN@BEFRUGAL.COM
         BRAD'S DEALS LLC                                                              AR@BRADSDEALS.COM
         BRAD'S DEALS LLC                      LIZ GALLAGHER                           AR@BRADSDEALS.COM
         CENTRAL TELEPHONE COMPANY-            CENTURYLINK COMMUNICATIONS, LLC -
         NEVADA DBA CENTURYLINK                BANKRUPTCY                              BANKRUPTCYLEGAL@CENTURYLINK.COM
         CENTRAL TELEPHONE COMPANY-            C/O CENTURYLINK COMMUNICATIONS, LLC -
         NEVADA DBA CENTURYLINK                BANKRUPTCY ATTN: JESSIE SCHAFER         BMG.BANKRUPTCY@CENTURYLINK.COM
         CESAR DUENAS                                                                  REDACTED ADDRESS
         DERRALL BROWN                                                                 REDACTED ADDRESS
         DLNY, LLC A DIVISION OF JERRY LEIGH
         OF CALIFORNIA, INC                    ANNETTE GILL                            AGILL@JERRYLEIGH.COM
         EBONE BOWLES                                                                  REDACTED ADDRESS
         ELK GROUP INTERNATIONAL               ATTN: PAULA FISHER                      AR@ELKGROUPINTERNATIONAL.COM
         HAWAII EMPLOYMENT SERVICES, INC       SEAN KNOX                               SKNOX@HI-EMPLOYMENT.COM
         JAMES JEANS                                                                   REDACTED ADDRESS
         MONICA WRIGHT-SAPARI                                                          REDACTED ADDRESS
         OSCAR ALVAREZ                                                                 REDACTED ADDRESS
         POMEROY                               ATTN: DANIELLE EMS                      AR@ELKGROUPINTERNATIONAL.COM
         SA-LA LLC                             ARIE SETTON                             ARIESETTON@GMAIL.COM
         TOGAS HOUSE OF TEXTILES               TATIANA PINHASI                         TPINHASI@TOGAS.COM
         TOOTIE PIE CO.                        ATTN: BRIAN GILE                        BRIAN.GILE@TOOTIEPIECO.COM
         WESLYN BRIGNONI                                                               REDACTED ADDRESS
         WHITLOCK (AUDIO FIDELITY
         COMMUNICATIONS CORP)                                                          MIKE.CHITTY@AVISPL.COM




In re: Neiman Marcus Group LTD LLC, et al.
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           NAME                      ATTENTION                   ADDRESS 1                     ADDRESS 2          CITY      STATE  ZIP COUNTRY
 OLT SAS                    ATTN: AUDE SERGENT          5 RUE DES PETITS CHAMPS                               PARIS        FRANCE 75001 FRANCE
                                                                                           4411 WEST PUTNAM
 PILYQ LLC                  C/O CONTRARIAN FUNDS, LLC   ATTN: TRADE CLAIMS GROUP           AVENUE, SUITE - 245  GREENWICH CT     06830
 PILYQ LLC                  C/O CONTRARIAN FUNDS, LLC   ATTN: 392426                       500 ROSS ST 154-0455 PITTSBURGH PA    15262
 TRAVERSE SYSTEMS LLC       CONTROLLER                  17503 LA CANTERA PARKWAY           SUITE 104-406        SAN ANTONIO TX   78257




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                                                                   Exhibit N
                                                             Served via Electronic Mail
                               NAME                   ATTENTION                           EMAIL
                           OLT SAS           ATTN: AUDE SERGENT            SALES@OLYMPIALETAN.COM
                                             C/O CONTRARIAN FUNDS, LLC     BRENDA@PQSWIM.COM
                           PILYQ LLC         ATTN: TRADE CLAIMS GROUP      BRENDA@PILYQ.COM
                           TRAVERSE
                           SYSTEMS LLC       CONTROLLER                    TERRI.WATTS@TRAVERSESYSTEMS.COM




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                                                                                                     Exhibit O
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                       NAME                              ATTENTION                            ADDRESS 1                            ADDRESS 2                      CITY             STATE         ZIP         COUNTRY
                                             SARAH DREW C/O MCINTYRE AND
10005111 OMOROVICZA COSMETICS INC            COMPANY CPAS LLC                     OMOROVICZA COSMETICS INC                   191 WOODPORT ROAD      SPARTA                    NJ              07871
                                                                                                                             SPACE ONE, 1 BEADON
10005111 OMOROVICZA COSMETICS INC            ELENA HOGAN                          OMOROVICZA COSMETICS LTD                   ROAD HAMMERSMITH       LONDON                                    W6 0EA
21ST CENTURY BRANDS LIMITED                                                       PO BOX 1036                                                       CHARLOTTE                 NC              28201
ADVANGEN LLC                                 C/O HAIN CAPITAL HOLDINGS LLC        301 ROUTE 17 N                             7TH FLOOR              RUTHERFORD                NJ              07070
AEFFE USA, INC                               ACCOUNTS RECEIVABLE                  30 WEST 56 STREET                                                 NEW YORK                  NY              10019
AG ADRIANO GOLDSCHMIED                                                            ATTN:: CREDIT DEPT                         2741 SEMINOLE AVENUE   SOUTH GATE                CA              90280
ALEXANDRE VAUTHIER SARL                      ATTN: ELISE JOURDAN                  3 RUE CHRISTOPHE COLOMB                                           PARIS                                     75008     FRANCE
ALLSAINTS WHOLESALE LIMITED                  ATTN: ACCOUNTS RECEIVABLE            15-17 JACK'S PLACE                         6 CORBET PLACE         LONDON                    ENGLAND         E1 6NN    UNITED KINGDOM
ALLSAINTS WHOLESALE LIMITED                  ATTN: LEGAL                          750 N SAN VICENTE BLVD.                    SUITE 1050             WEST HOLLYWOOD            CA              90069
ALYN ENTERPRISES, LLC DBA SCANTEXAS          MARY ALYN                            6 WILTSHIRE COURT                                                 LUCAS                     TX              75002
AQUAZZURA ITALIA SRL                         FRANCESCO TARCHI                     LUNGARNO CORSINI 8                                                FLORENCE                  ITALY           50143     ITALY
                                                                                  THE STABLE BLOCK, THE PLOUGH
ASHS LTD                                     SONIA JONES                          BREWERY                                    516 WANDSWORTH ROAD LONDON                                       SW8 3JX    UNITED KINGDOM
ASHS LTD                                     LOCKBOX NUMBER: 17202                5505 N CUMBERLAND AVE SUITE 307                                 CHICAGO                     IL              60656-1471
BERNHARDT FURNITURE CO                       JEFF L NORRIS JR                     1839 MORGANTON BLVD                                             LENOIR                      NC              28645
BIOEFFECT USA INC                                                                 450 LEXINGTON AVENUE                       4TH FLOOR            NEW YORK                    NY              10017
BIOEFFECT USA INC.                                                                VIKURHVARF 7                                                    KOPAVOGUR                   203 KOPAVOGUR   IS-203     ICELAND
BIOEFFECT USA INC.                           LYDIA LOVIG                          1005 JUEL STREET                                                ORLANDO                     FL              32814
BIZZDESIGN UNITED STATES INC.                ATTN MAARTEN VERSPYCK MIJNSSEN       800 BOYLSTON STREET, 16TH FLOOR                                 BOSTON                      MA              02199
BLACKHAWK TRANSPORT, INC.                    C/O SCHEEF & STONE, LLP              ATTN: PETER C. LEWIS                       500 N AKARD ST SUITE DALLAS                      TX              75201
BORDERX LAB, INC.                            JEFF UNZE                            298 S SUNNYVALE AVE, SUITE 210                                  SUNNYVALE                   CA              94086
BOSSI HOLDING INC                            C/O CONTRARIAN FUNDS LLC             411 W PUTNAM AVE                           SUITE 425            GREENWICH                   CT              06830
BRANDON VANCE LLC                            DANA PHAM                            20 E 49TH STREET FLOOR 5                                        NEW YORK                    NY              10017
CALERES                                      COMMERCIAL COLLECTION CORP OF NY     34 SEYMOUR ST                                                   TONAWANDA                   NY              14150
CAROLEE DESIGNS                              ELDA FISTANI                         86 34TH ST                                 UNIT 3               BROOKLYN                    NY              11232-2006
                                                                                                                             22001 LOUDOUN COUNTY
CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS    AKA VERIZON BUSINESS GLOBAL LLC      ATTN: WILLIAM M VERMETTE                   PKWY                 ASHBURN                     VA              20147
CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS    PAUL ADAMEC                          C/O VERIZON                                500 TECHNOLOGY DRIVE WELDON SPRING               MO              63304
CO COLLECTION LLC                            ATTN: PAOLA CORSO                    2121 E 7TH PLACE                           SUITE 216            LOS ANGELES                 CA              90021
CRAWFORD AND CO PRODUCTIONS INC              ZACH CRAWFORD                        8581 SANTA MONICA BLVD #466                                     WEST HOLLYWOOD              CA              90069
CYRANO SARL MADEMOISELLE                     PASCAL GRINCOURT                     4 RUE DU FAUBOURG ST HONORE                                     PARIS                                       75008     FRANCE
DNA MODEL MANAGEMENT LLC                     ROSEANN RUSTICI                      555 WEST 25TH STREET                       6TH FLOOR            NEW YORK                    NY              10001
DUTCH LLC JOIE EQUIPMENT                                                          PO BOX 1036                                                     CHARLOTTE                   NC              28201
DYSON, INC.                                  PETER J. BEHMKE                      450 LEXINGTON AVENUE, 14TH FLOOR                                NEW YORK                    NY              10017
EUROPERFUMES                                 ATTN: VICKEN ARSLANIAN               60 HONECK STREET                                                ENGLEWOOD                   NJ              07631
FRANK & EILEEN LLC                           AUDREY MCLOGHLIN                     843 S. LOS ANGELES ST, 500                                      LOS ANGLES                  CA              90014
FUZZI SPA                                    CROCE ANTONIO SCREPIS                388, VIA DEGLI IPPOCASTANI                                      SAN GIOVANNI IN MARIGNANO   IT              47842     ITALY
FUZZI SPA                                    C/O WEBHELP LOGBOX USA INC           1412 BROADWAY                              SUITE 2310           NEW YORK                    NY              10018
GRANITE TELECOMMUNICATIONS LLC                                                    100 NEWPORT AVE EXT                                             QUINCY                      MA              02171
HARBOR BRANDS GROUP                          ATTN: JIM FOX                        26 HARBOR PARK DRIVE                                            PORT WASHINGTON             NY              11050
HEIDI KLEIN INC                              CAROLE HAYWARD                       LAKESIDE HOUSE                             SQUIRES LANE         LONDON                                      N3 2QL    UK
HUNTING SEASON                               AIXA CAMPO                           3250 MARY STREET                                                COCONUT GROVE               FLORIDA         33133
HUNTING SEASON LLC                           DANIELLE CORONA                      6834 SUNRISE DRIVE                                              CORAL GABLES                FL              33133
IMAX CORPORATION                                                                  12424 E. 55TH STREET                                            TULSA                       OK              74146
INES DI SANTO CORP                           VERONICA DI SANTO                    UNIT 39 - 4300 STEELES AVE WEST                                 WOODBRIDGE                  ON              L4L4C2    CANADA
JM-BMM, LLC                                  C/O ADAM L. ROSEN PLLC               2-8 HAVEN AVENUE                           STE. 220             PORT WASHINGTON             NY              11050
                                                                                                                             2100 MCKINNEY AVENUE
JM-BMM, LLC                                  MELISSA MCNEEL, ASSOCIATE DIRECTOR   C/O CBRE PROPERTY MANAGEMENT               STE. 850             DALLAS                      TX              75201
JM-BMM, LLC                                  HARRY DREIZEN, GENERAL COUNSEL       3 COLUMBUS CIRCLE                          26TH FLOOR           NEW YORK                    NY              10019
JOOR, INC                                    TOM DIDESIDERO                       1239 BROADWAY, 9TH FLOOR                                        NEW YORK                    NY              10001
JOOR, INC                                                                         PO BOX 392698                                                   PITTSBURGH                  PA              15251
JORGE ADELER COLLECTION                      JORGE ADELER                         772 WALKER RD.                                                  GREAT FALLS                 VA              22066
KASSATEX                                                                          PO BOX 1036                                                     CHARLOTTE                   NC              28201
KINGDOM ANIMALIA LLC                         ATTN: JOSH HENRY ROSENZWEIG          1241 ELECTRIC AVENUE                                            VENICE                      CA              90291
LEFTBANK ART                                 ATTN: BINDY O'KELLY                  14930 ALONDRA BLVD                                              LA MIRADA                   CA              90638
LIFETIME BRANDS INC.                         JULIE RODRIGUEZ                      12 APPLEGATE DRIVE                                              ROBBINSVILLE                NJ              08691
LUBIAM                                                                            PO BOX 1036                                                     CHARLOTTE                   NC              28201
                                                                                  7TH FLOOR MINSTER BUILDING 21
LYST LTD                                     ELLIE EGERTON                        MINCING LANE                                                      LONDON                                    EC3R 7AG UNITED KINGDOM
METTLER USA                                  KATHLEEN PAUTLER                     5853 UPLANDER WAY                                                 CULVER CITY               CA              90230
MONAHAN PRODUCTS LLC                         C/O HAIN CAPITAL HOLDINGS LLC        301 ROUTE 17 N                             7TH FLOOR              RUTHERFORD                NJ              07070
NEI FASHIONS LLC D/B/A PENNY PREVILLE                                             44 BURLEWS CT.                                                    HACKENSACK                NJ              07601
OLD HICKORY TANNERY, INC.                    RAQUEL ARGUELLES                     970 LOCUST STREET                                                 HICKORY                   NC              28602
ORLANE INC                                   ACCOUNTS RECEIVABLE                  40 SAW MILL POND RD                                               EDISON                    NJ              08817


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                                                                                                Served via First-Class Mail



                       NAME                               ATTENTION                             ADDRESS 1                           ADDRESS 2                   CITY        STATE       ZIP      COUNTRY
PACIFIC ALLIANCE USA INC                                                           PO BOX 1036                                                      CHARLOTTE          NC           28201
PAVILION DIS TIC LTD T/A JCM LONDON          C/O HAIN CAPITAL HOLDINGS, LLC        301 ROUTE 17 NORTH, 7TH FLOOR                                    RUTHERFORD         NJ           07070
PERRICONE MD                                 ATTN: SUSAN VANDEGRIFT                600 MONTGOMERY STREET                      FLOOR 25              SAN FRANCISCO      CA           94111
PROCTER & GAMBLE DISTRIBUTING LLC            JACKIE MULLIGAN, TN5                  2 PROCTER & GAMBLE PLAZA                                         CINCINNATI         OH           45202
                                                                                                                              300 CRESCENT COURT,
PROJECT 1920, INC. D/B/A SENREVE             C/O DORSEY & WHITNEY LLP              ATTN JOSEPH ACOSTA                         STE. 400              DALLAS             TX           75201
PUIG NORTH AMERICA INC                       CAMILLA DEZZI                         183 MADISON AVENUE                         19TH FLOOR            NEW YORK           NY           10016
PUIG USA INC                                 ATTN: CAMILLA DEZZI                   183 MADISON AVENUE                         19TH FLOOR            NEW YORK           NY           10016
QUANTUM METRIC, INC.                         ATTN: LEGAL                           10807 NEW ALLEGIANCE DRIVE                 STE. 155              COLORADO SPRINGS   CO           80921
RECOLOGY                                     ATTN: ASHLEY HUI                      250 EXECUTIVE PARK SUITE 2100                                    SAN FRANCISCO      CA           94134
REPUBLIC CLOTHING GROUP                                                            PO BOX 1036                                                      CHARLOTTE          NC           28201
ROBERT GRAHAM DESIGNS LLC                                                          PO BOX 1036                                                      CHARLOTTE          NC           28201
SHANGHAI SILK GROUP CO LTD                   C/O BROWN & JOSEPH, LLC               ATTN: PETER GELDES                         PO BOX 249            ITASCA             IL           60143
SIRIUS COMPUTER SOLUTIONS, INC               ALAN ABBOTT                           10100 REUNION PLACE                        SUITE 500             SAN ANTONIO        TX           78216
SOPHIA WEBSTER                                                                     PO BOX 1036                                                      CHARLOTTE          NC           28201
SPANX                                                                              PO BOX 1036                                                      CHARLOTTE          NC           28201
STONE ISLAND USA INC                         C/O FERRANTE PLLC                     ATTN: JOSEPH SERINO                        5 W 19TH STREET       NEW YORK           NY           10011
STONE ISLAND USA INC                         C/O WEBHELP LOGBOX USA INC.           1412 BROADWAY                              SUITE 2310            NEW YORK           NY           10018
TANYA FARAH                                  ATTN: TANYA SOFER                     215 LEXINGTON AVE.                         STE 1301              NEW YORK           NY           10016
TEREZ UNIVERSE LLC                           DAN WANG                              150 WEST 22ND STREET                       12TH FLOOR            NEW YORK           NY           10011
                                             C/O THE COLLECTED GROUP COMPANY
THE COLLECTED GROUP LLC                      LLC                                   4775 EUCALYPTUS AVE                                              CHINO              CA           91710-9257
THE LEVY GROUP INC                                                                 PO BOX 1036                                                      CHARLOTTE          NC           28201
TIBI, LLC                                    ATTN: FRANK SMILOVIC                  50 INNOVATION DRIVE                                              BRUNSWICK          GA           31525
TIBI, LLC                                    FRANK SMILOVIC                        100 BROADWAY                               16TH CLOOR            NEW YORK           NY           10005
TIBI, LLC                                    GORDON E. R. TROY PC                  183 HIGHFIELD DRIVE                                              WEST WINDSOR       VT           05089
UNIVERSAL FURNITURE INTERNATIONAL INC        BENNIE CORBETT                        2575 PENNY ROAD                                                  HIGH POINT         NC           27265
VALEXTRA S.P.A.                              C/O AEM CARNELUTTI - EUGENIO MINOLI   551 MADISON AVENUE                         STE 450               NEW YORK           NY           10022
VERITIV OPERATING COMPANY                    MARIANNE NICHOLS                      6120 S GILMORE ROAD                                              FAIRFIELD          OH           45014




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                                                              Exhibit P
                                                        Served via Electronic Mail
                    NAME                                      ATTENTION                                   EMAIL
10005111 OMOROVICZA COSMETICS INC               ELENA HOGAN                            ELENA.HOGAN@OMOROVICZA.COM
10005111 OMOROVICZA COSMETICS INC               SARAH DREW                             ELENA.HOGAN@OMOROVICZA.COM
ADVANGEN LLC                                    C/O HAIN CAPITAL HOLDINGS LLC          MCGEE@ADVANGEN.COM.AU
AEFFE USA, INC                                  ACCOUNTS RECEIVABLE                    ABENIN@AEFFEUSA.COM
ALEXANDRE VAUTHIER SARL                         ATTN: ELISE JOURDAN                    ELISE@ALEXANDREVAUTHIER.COM
ALLSAINTS WHOLESALE LIMITED                     ATTN: LEGAL                            LEGAL@ALLSAINTS.COM
ALLSAINTS WHOLESALE LIMITED                     ATTN: ACCOUNTS RECEIVABLE              ACCOUNTSRECEIVABLE@ALLSAINTS.COM
ALYN ENTERPRISES, LLC DBA SCANTEXAS             MARY ALYN                              MARY@SCANTEXAS.COM
AQUAZZURA ITALIA SRL                            FRANCESCO TARCHI                       F.TARCHI@AQUAZZURA.COM
ASHS LTD                                        SONIA JONES                            SONIA.JONES@ANYAHINDMARCH.COM
ASHS LTD                                        LOCKBOX NUMBER: 17202                  SONIA.JONES@ANYAHINDMARCH.COM
BERNHARDT FURNITURE CO                          JEFF L NORRIS JR                       JEFFNORRIS@BERNHARDT.COM
BIOEFFECT USA INC.                              LYDIA LOVIG                            LYDIA.LOVIG@BIOEFFECT.COM
BIZZDESIGN UNITED STATES INC.                   ATTN MAARTEN VERSPYCK MIJNSSEN         M.VERSPYCK@BIZZDESIGN.COM
                                                C/O SCHEEF & STONE, LLP ATTN: PETER C.
BLACKHAWK TRANSPORT, INC.                       LEWIS                                  PETER.LEWIS@SOLIDCOUNSEL.COM
BORDERX LAB, INC.                               JEFF UNZE                              JEFF@BORDERXLAB.COM
BOSSI HOLDING INC                               C/O CONTRARIAN FUNDS LLC               ROSE@GEVRIL.COM
BRANDON VANCE LLC                               DANA PHAM                              DANA@BRANDONVMAXWELL.COM
CALERES                                         COMMERCIAL COLLECTION CORP OF NY       ABOYER@COMMERCIALCOLLECTION.COM
CAROLEE DESIGNS                                 ELDA FISTANI                           EFISTANI@DECONIC.COM
CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS       PAUL ADAMEC C/O VERIZON                PAUL.ADAMEC@VERIZON.COM
                                                AKA VERIZON BUSINESS GLOBAL LLC
CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS       ATTN: WILLIAM M VERMETTE               WILLIAM.VERMETTE@VERIZON.COM
CO COLLECTION LLC                               ATTN: PAOLA CORSO                      PAOLA@CO-COLLECTIONS.COM
CRAWFORD AND CO PRODUCTIONS INC                 ZACH CRAWFORD                          ZACH@CRAWFORDANDCOPRODUCTIONS.COM
CYRANO SARL MADEMOISELLE                        PASCAL GRINCOURT                       PASCAL@MADEMOISELLEAGENCY.FR
                                                                                       ROSEANN@DNAMODELS.COM
DNA MODEL MANAGEMENT LLC                        ROSEANN RUSTICI                        ROSEANN.ACCT@DNAMODELS.COM
DYSON, INC.                                     PETER J. BEHMKE                        PETER.BEHMKE@HSF.COM
EUROPERFUMES                                    ATTN: VICKEN ARSLANIAN                 HANNAH@EUROPARFUM.COM
FRANK & EILEEN LLC                              AUDREY MCLOGHLIN                       ACCOUNTING@FRANKANDEILEEN.COM
FUZZI SPA                                       CROCE ANTONIO SCREPIS                  MPUCCI@FUZZ.IT
FUZZI SPA                                       C/O WEBHELP LOGBOX USA INC             DMASI@WPS.WEBHELP.COM
GRANITE TELECOMMUNICATIONS LLC                                                         BANKRUPTCY@GRANITENET.COM
HARBOR BRANDS GROUP                             ATTN: JIM FOX                          JIM.FOX@HARBORFTW.COM
HEIDI KLEIN INC                                 CAROLE HAYWARD                         CAROLEH@HEIDIKLEIN.COM
HUNTING SEASON                                  AIXA CAMPO                             AIXA@CORONA-HOLDINGS.COM
HUNTING SEASON LLC                              DANIELLE CORONA                        DANIELLE@HUNTING-SEASON.COM
IMAX CORPORATION                                                                       SJRENTY@IMAXCORP.COM
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                                                              Exhibit P
                                                        Served via Electronic Mail
                       NAME                                    ATTENTION                                 EMAIL
INES DI SANTO CORP                              VERONICA DI SANTO                     VERONICA@INESDISANTO.COM
JM-BMM, LLC                                     HARRY DREIZEN, GENERAL COUNSEL        HARRY@MOINIANGROUP.COM
JM-BMM, LLC                                     C/O ADAM L. ROSEN PLLC                ADAM.ROSEN@ALRCOUNSEL.COM
JOOR, INC                                       TOM DIDESIDERO                        WCHEN@JOOR.COM
JORGE ADELER COLLECTION                         JORGE ADELER                          JORGE@JORGEADELER.COM
KINGDOM ANIMALIA LLC                            ATTN: JOSH HENRY ROSENZWEIG           LUCREZIA@HOURGLASSCOSMETICS.COM
LEFTBANK ART                                    ATTN: BINDY O'KELLY                   FINANCE@LEFTBANKART.COM
LIFETIME BRANDS INC.                            JULIE RODRIGUEZ                       JULIE.RODRIGUEZ@LIFETIMEBRANDS.COM
LYST LTD                                        ELLIE EGERTON                         ACCOUNTS@LYST.COM
METTLER USA                                     KATHLEEN PAUTLER                      KP@PANDTGROUP.COM
MONAHAN PRODUCTS LLC                            C/O HAIN CAPITAL HOLDINGS LLC         BMURRAY@UPPABABY.COM
NEI FASHIONS LLC D/B/A PENNY PREVILLE                                                 ERNIER@NEIGROUP.COM
OLD HICKORY TANNERY, INC.                       RAQUEL ARGUELLES                      RAQUEL.ARGUELLES@OHTINC.COM
ORLANE INC                                      ACCOUNTS RECEIVABLE                   ELISA.GIRAUDI@KELEMATA.IT
PAVILION DIS TIC LTD T/A JCM LONDON             C/O HAIN CAPITAL HOLDINGS, LLC        MEHMET@JCMLONDON.COM
PERRICONE MD                                    ATTN: SUSAN VANDEGRIFT                SVANDEGRIFT@PERRICONEMD.COM
PROCTER & GAMBLE DISTRIBUTING LLC               JACKIE MULLIGAN, TN5                  MULLIGAN.JS@PG.COM
                                                C/O DORSEY & WHITNEY LLP ATTN
PROJECT 1920, INC. D/B/A SENREVE                JOSEPH ACOSTA                         ACOSTA.JOSEPH@DORSEY.COM
PUIG NORTH AMERICA INC                          CAMILLA DEZZI                         US.CUSTOMER.SERVICE@PUIG.COM
PUIG USA INC                                    ATTN: CAMILLA DEZZI                   US.CUSTOMER.SERVICE@PUIG.COM
QUANTUM METRIC, INC.                            ATTN: LEGAL                           LEGAL@QUANTUMMETRIC.COM
RECOLOGY                                        ATTN: ASHLEY HUI                      AHUI@RECOLOGY.COM
                                                C/O BROWN & JOSEPH, LLC ATTN: PETER
SHANGHAI SILK GROUP CO LTD                      GELDES                                LAWYER@BROWNANDJOSEPH.COM
SIRIUS COMPUTER SOLUTIONS, INC                  ALAN ABBOTT                           JOHN.CARRASCO@SIRIUSCOM.COM
                                                C/O FERRANTE PLLC ATTN: JOSEPH
STONE ISLAND USA INC                            SERINO                                JOE.SERINO@SPWCO.US
STONE ISLAND USA INC                            C/O WEBHELP LOGBOX USA INC.           DMASI@WPS.WEBHELP.COM
TANYA FARAH                                     ATTN: TANYA SOFER                     TANYA@TANYAFARAH.COM
TEREZ UNIVERSE LLC                              DAN WANG                              DAN@TEREZ.COM
                                                C/O THE COLLECTED GROUP COMPANY       MARIA.QUINONEZ@THECOLLECTEDGROUP.COM
THE COLLECTED GROUP LLC                         LLC                                   ASHOK.RAMADOSS@THECOLLECTEDGROUP.COM
TIBI, LLC                                       ATTN: FRANK SMILOVIC                  FRANK.SMILOVIC@TIBI.COM
TIBI, LLC                                       GORDON E. R. TROY PC                  OFFICE@WEBTM.COM
TIBI, LLC                                       FRANK SMILOVIC                        FRANK.SMILOVIC@TIBI.COM
UNIVERSAL FURNITURE INTERNATIONAL INC           BENNIE CORBETT                        BCORBETT@UNIVERSALFURNITURE.COM
VALEXTRA S.P.A.                                 C/O AEM CARNELUTTI - EUGENIO MINOLI   EMINOLI@AEMCARNELUTTI.COM
VERITIV OPERATING COMPANY                       MARIANNE NICHOLS                      MARIANNE.NICHOLS@VERITIVCORP.COM

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                   NAME                                ATTENTION                                  ADDRESS 1                             ADDRESS 2                       CITY              STATE      ZIP          COUNTRY
 13BC SARL                                   ANDREA BOGHOSSIAN                  STARCO , BLOCK B, 11TH FLOOR                  MINET EL HOSN                 BEIRUT                      LEBANON                LEBANON
 ABACUS TECHNICAL SERVICES LLC                                                  5068 W PLANO PKWY, STE 155                                                  PLANO                       TX        75093
 ABYSS & HABIDECOR                           ATTN: SUSAN CADY                   92 N. MAIN ST. BLDG 3C                        PO BOX 429                    WINDSOR                     NJ        08561
 ABYSS & HABIDECOR                                                              PO BOX 429                                                                  WINDSOR                     NJ        08561
 ALEWEL'S COUNTRY MEATS                      RANDY ALEWEL                       911 N SIMPSON DR                                                            WARRENSBURG                 MO        64093
 ALEXANDROS GROUP LLC                        ACCOUNTING                         3620 34TH STREET                                                            LONG ISLAND CITY            NY        11106
 ALLUME                                      MAURIA FINLEY                      550 CHURCHILL AVE                                                           PALO ALTO                   CA        94301-3605
 ALLUME                                      MAURIA FINLEY                      550 CHURCHILL AVE                                                           PALO ALTO                   CA        94301
 AMP CREATIVE                                ATTN: LISA WARNER                  10763 SANDEN DRIVE                                                          DALLAS                      TX        75238
 AMP CREATIVE                                LISA WARNER                        PO BOX 551177                                                               DALLAS                      TX        75355
 ARMAN JEWELRY INC                                                              11423 CANTON DRIVE                                                          STUDIO CITY                 CA        91604
 ARMAN JEWELRY INC                           ARMAN SARKISYAN                    13253 MOORPARK ST                                                           SHERMAN OAKS                CA        91423
 ART HEADQUARTERS LLC                        CHARLIE HENDRICK                   6465 126TH AVE N                                                            LARGO                       FL        33773
 BASTIDE                                     ATTN: JOSEPH SANTACROCE            747 THIRD AVENUE                              31ST FLOOR                    NEW YORK                    NY        10017
 CHARLES TERHOUT                                                                REDACTED ADDRESS
 CHEFS CORNER STORE                          DARREN BARKER                      9800 E EASTER AVE., STE 125                                                 CENTENNIAL                  CO        80112
 CHEFS CORNER STORE                          C/O MESSNER REEVES, LLP            ATTN: DEANNE R. STODDEN                       1430 WYNKOOP ST., SUITE 300   DENVER                      CO        80202
 CIRE TRUDON USA INC                         CLAUDINE AQUINO                    10-34 44TH DRIVE, 2ND FL                                                    LONG ISLAND CITY            NY        11101
 CODY FOSTER & CO., INC                      CRYSTAL HOMAN                      601 WEST A STREET                                                           VALENTINE                   NE        69201
 CODY FOSTER & CO., INC                      DIANE FOSTER                       601 WEST A STREET                                                           VALENTINE                   NE        69201
 CREATIVE GROUP                              C/O ROBERT HALF INTERNATIONAL      ATTN: AMBER BAPTISTE                          PO BOX 5024                   SAN RAMON                   CA        94583
 CREATIVE GROUP                              C/O RECOVERY DEPT.                 ATTN: AMBER BAPTISTE                          2613 CAMINO RAMON             SAN RAMON                   CA        94583
 DCM INFOTECH LIMITED                        ASHOK R CHOUDHURY                  39159 PASEO PADRE PKWY                        SUITE 303                     FREMONT                     CA        94538
 DD KARMA LLC                                                                   415 N ABERDEEN                                                              CHICAGO                     IL        60642
 DESIGNS BY TAMARA NOVA COLLECTION           ATTN: TAMARA TAYLOR                10939 SHADY TRL                               STE C                         DALLAS                      TX        75220-1396
 DEVINE CORPORATION                          ATWELL CURTIS + BROOKS             204 STONEHINGE LANE                                                         CARLE PLACE                 NY        11514
 DEVON LEIGH DESIGNS, INC.                   DEVON SEDLACEK                     2214 TALMADGE ST.                                                           LOS ANGELES                 CA        90027
 DR. LIVINGSTONE I PRESUME                   GREG COGHLAN                       1502 E IRVING BLVD                                                          IRVING                      TX        75060
 DR. VRANJES FIRENZE SPA                                                        VIA SANDRO PERTINI, 5 - BAGNO A RIPOLI                                      FLORENCE                    IT        50012      ITALY
 DRV US CORP                                                                    2140 SOUTH DUPONT HIGHWAY                                                   CAMDEN, KENT                US        19934
 DUGUD LAB                                                                      REDACTED ADDRESS
 ELK GROUP INTERNATIONAL                     DANIELLE EMS                       12 WILLOW LANE                                                              NESQUEHONING                PA       18240
 EUGENIA KIM INC                             EUGENIA KIM, CEO                   347 W 36TH STREET #501                                                      NEW YORK                    NY       10018
 FOUR HANDS LLC                                                                 2090 WOODWARD ST                                                            AUSTIN                      TX       78744
 GILMAR DIVISIONE INDUSTRIA S.P.A.           ANNIBALE SFRAPPINI                 VIA MALPASSO, 723/725                                                       SAN GIOVANNI IN MARIGNANO   ITALY    47842      ITALY
 GP INTERIORS SRLS                           ATTN: MS. CINZIA DELLE CAVE        VIA M. TROISI I TRAV. SNC                                                   BRUSCIANO                            80031      ITALY
 GROWN ALCHEMIST                             JUSTINE KIPPIN                     3 MOSS PLACE                                                                NORTH MELBOURNE             VICTORIA 3051       AUSTRALIA
 H.O.B. LLC DBA LEE BREVARD                                                     3435 OCEAN PARK BLVD                          STE. 107-420                  SANTA MONICA                CA       90405
 HALBERT USA INC                                                                PO BOX 418172                                                               BOSTON                      MA       02241
 HALBERT USA INC./DBA TATEOSSIAN             ROBERT TATEOSSIAN                  445 31F FIFTH AVE.                                                          NEW YORK                    NY       10016
 JETSETGO, LLC                               CAROLE MATIC                       535 8TH AVENUE, SUITE 2101                                                  NEW YORK                    NY       10018
 JILL PUMPELLY FINE ART, LLC                 ATTN: JILL MARIE PUMPELLY          8423 SAN LEANDRO DR.                                                        DALLAS                      TX       75218
 JOULES USA INC                              CREDIT CONTROL                     58 WEST 40TH STREET                           12TH FLOOR                    NEW YORK                    NY       10018
 JOULES USA INC                                                                 PO BOX 675298                                                               DETROIT                     MI       48267
 JPT GROUP, LLC                                                                 220 S 6TH ST                                  STE 300                       MINNEAPOLIS                 MN       55402-1418
 JPT GROUP, LLC                                                                 809 MEANDER CT                                809 MEANDER CT                MEDINA                      OR       97702
 JPT GROUP, LLC                              ATTN THOMAS ALLEN WILLIAMS         19485 RANDALL CT                                                            BEND                        OR       97702
 JULIA KNIGHT INC.                           ATTN: JULIA KNIGHT                 1400 LINCOLN AVE.                                                           MINNEAPOLIS                 MN       55403-2803
 JUST BEE QUEEN                              SYDNEY STRAUSS                     690 HARBOR DRIVE                                                            KEY BISCAYNE                FL       33149
 KALATY RUG CORP.                            FARSHAD KALATY                     156 DUFFY AVE                                                               HICKSVILLE                  NY       11801
 KAT MACONIE LIMITED                         KAT MACONIE                        FIRST FLOOR                                   1 BERMONDSEY SQUARE           LONDON                      LONDON SE1 3UN      UNITED KINGDOM
 KOH GEN DO AMERICAS LLC                     CINDEE DAY                         2665 WILLIAMSON PL, SUITE 112                                               DUPONT                      WA       98327
 LE CREUSET OF AMERICA                       ACCOUNTS PAYABLE                   114 BOB GIFFORD BLVD                                                        EARLY BRANCH                SC       29916
 LE CREUSET OF AMERICA, INC.                 JENNIFER WILSON                    114 BOB GIFFORD BLVD                                                        EARLY BRANCH                SC       29916
 LENOX CORP.                                 LISA MCDONNELL                     1414 RADCLIFFE ST                                                           BRISTOL                     PA       19007
 LIFETECH RESOURCES, LLC                     ATTN: ANNA CARIERI                 700 SCIENCE DR                                                              MOORPARK                    CA       93021
 LOCALISED INC                               FINANCE DEPARTMENT                 1460 BROADWAY                                                               NEW YORK                    NY       10036
 LUCAS + MCKEARN, LLC                        JOSEPH MCKEARN                     10300 PERKINS ROAD                            SUITE 101                     BATON ROUGE                 LA       70810
 LUZ CAMINO                                                                     AUGUSTO FIGUEROA 27 3B                                                      MADRID                               28004
 MARGIELA USA INC                            GAIL CREE                          220 W. 19TH. STREET                                                         NEW YORK                    NY       10011
 MARION PARKE DESIGNS LLC                    ACCOUNTS RECEIVABLE                275 MARKET STREET                             SUITE C-27                    MINNEAPOLIS                 MN       55405
 MATRIX RESOURCES, INC.                      CHRIS GLASTETTER                   400 PERIMETER CENTER TERRACE                  SUITE 300                     ATLANTA                     GA       30346
 MEMO AMERICA INC.                           PASCAL RIESEN                      60 BROAD STREET                                                             NEW YORK                    NY       10004
 MIRROR IMAGE HOME                           CHAD CANALE                        2710 SUPPLY AVE                                                             COMMERCE                    CA       90040

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                  NAME                                    ATTENTION                           ADDRESS 1                                ADDRESS 2                     CITY    STATE       ZIP       COUNTRY
 MONTINO                                     ATTN: FRED GASIMOV                13 RUE DE MAUBEUGE                                                        PARIS                       75009      FRANCE
 N. GOGOLICK & SON CORP                      LARRY A GOGOLICK                  5244 MAYFIELD RD                                                          LYNDHURST          OH       44124
 NUNA BABY ESSENTIALS, INC                   ATTN: JAMES FLAMM                 70 THOUSAND OAKS BLVD                                                     MORGANTOWN         PA       19543
 OLARTE FOUSSARD & CO, INC                   EMEE OLARTE FOUSSARD              60 WALKER STREET                                                          NEW YORK           NY       10013
 ONE JEANSWEAR GROUP LLC                     ATTN: NANCY M. DODDERIDGE, ESQ.   1411 BROADWAY                                                             NEW YORK           NY       10018
 ONE JEANSWEAR GROUP LLC                     C/O GEOFFREY T. RAICHT, PC        ATTN GEOFFREY T. RAICHT                     1 KITTLE RD                   CHAPPAQUA          NY       10514
 PENINSULA HOME COLLECTION CO.               ATTN: GONZALO ALONSO              17501 VON KARMAN AVE                                                      IRVINE             CA       92614-6207
 PETITE PLUME LLC                            EMILY HIKADE                      619 NEW YORK AVE                                                          CLAYMONT           DE       19703
 PLS/MAISON LABICHE                          AMILKA LORA                       6801 WEST SIDE AVENUE                                                     NORTH BERGEN       NJ       07047
 RARE BEAUTY BRANDS, INC.                    ATTN: MARC SHORES                 83 MORSE ST.                                STE 8A                        NORWOOD            MA       02062
 REBECCA TAYLOR, INC.                        ATTN AKIKO OKUMA                  GENERAL COUNSEL                             500 FIFTH AVENUE 20TH FLOOR   NEW YORK           NY       10110
 REEM ACRA                                   ATTN: SCOTT VOGEL                 240 WEST 35TH ST                            7TH FLOOR                     NEW YORK           NY       10001
 REWARDSTYLE, INC                            SALLY STORIE                      3102 OAK LAWN AVENUE                        SUITE 900                     DALLAS             TX       75219
 ROOTS SAS                                   10 RUE DE LA PAIX                                                                                           PARIS                       75002      FRANCE
 ROYAL-PEDIC MATTRESS MFG.                   TONY KELEMEN                      341 N. ROBERTSON BLVD.                                                    BEVERLY HILLS      CA       90211
 ROYAL-PEDIC MATTRESS MFG.                                                     341 N. ROBERTSON BLVD.                                                    BEVERLY HILLS      CA       90211
 SAVOY HOUSE                                 GINA JINKS                        3130 N.BERKELEY LAKE RD                                                   DULUTH             GA       30096
 SIENA LASKER                                SIENA LASKER                      11918 CHAPARAL ST.                                                        LOS ANGELES        CA       90049
 SIGNED PIECES                               PAWEL GOJ                         551 FIFTH AVE                               SUITE 1416                    NEW YORK           NY       10176
 SKC & SONS, INC.                            RAVI BHUSHAN                      932 W. VENICE BLVD.                                                       LOS ANGELES        CA       90015
 SOLACE LONDON                               C/O LAURA TAYLOR SOLACE LONDON    115 COVENTRY ROAD                                                         LONDON                      E2 6GG     UK
 SWIMWEAR ANYWHERE                           SWIMWEAR ANYWHERE INC             85 SHERWOOD AVE                                                           FARMINGDALE        NY       11735
 TAI JEWELRY                                 ATTN: TAI RITTICHAI               56 WEST DAYTON STREET                                                     PASADENA,          CA       91105
 TAYLOR JAMES LLC                            ATTN JACKIE PARKER                200 E GRAYSON STREET                        SUITE 112                     SAN ANTONIO        TX       78215
 THIERRY MUGLER SAS                          BRIEUC CAILLIEZ                   49 AVENUE DE L'OPERA                                                      PARIS                       75002      FRANCE
 THULE INC                                   KELLY STABILO                     42 SILVERMINE ROAD                                                        SEYMOUR            CT       06483
 US BOX FACTORY                              ATTN: HEIDI RINCON                PO BOX 1652                                                               MINERAL WELLS      TX       76068
 VIVA MODEL MANAGEMENT                       MR. CYRIL BRULE                   15 ALLÉE DU BEAU PASSAGE                                                  PARIS                       75007      FRANCE
 WELLNESS MGMT LLC                           ATTN BRET KRAVITZ                 325 W. HURON ST.                            SUITE 412                     CHICAGO            IL       60654
 WILD AND WOLF, INC.                                                           234 WEST 39TH STREET, 9TH FLOOR                                           NEW YORK           NY       10018
 WILLIAM ARTHUR INC*61567*                                                     1466 CURRAN HIGHWAY                         PO BOX 897                    N ADAMS            MA       01247
 WINWARD INTERNATIONAL INC.                  CINDY FLETCHER                    42760 ALBRAE STREET                                                       FREMONT            CA       94538
 WOLF DESIGNS, INC                           ACCOUNTING DEPT.                  332 HINDRY AVENUE                                                         LOS ANGELES        CA       90301




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                                                        Served via Electronic Mail
                         NAME                            ATTENTION                                     EMAIL
      13BC SARL                               ANDREA BOGHOSSIAN                      ANDREA@13-BC.COM
      ABACUS TECHNICAL SERVICES LLC                                                  ACCOUNTING@ABACUSTECHNICAL.COM
      ABYSS & HABIDECOR                       ATTN: SUSAN CADY                       SCADY@HABIDECORUSA.COM
      ALEWEL'S COUNTRY MEATS                  RANDY ALEWEL                           RALEWEL@ALEWELS.COM
      ALEXANDROS GROUP LLC                    ACCOUNTING                             KOULLIS@JMENDEL.COM
      ALLUME                                  MAURIA FINLEY                          ANDREA@ALLUME.CO
      ALLUME                                  MAURIA FINLEY                          FINANCE@ALLUME.CO
      AMP CREATIVE                            ATTN: LISA WARNER                      ACCOUNTING@AMPCREATIVE.COM
      AMP CREATIVE                            LISA WARNER                            ACCOUNTING@AMPCREATIVE.COM
      ARMAN JEWELRY INC                                                              ARMAN@ARMANSARKISYAN.COM
      ARMAN JEWELRY INC                       ARMAN SARKISYAN                        ARMAN@ARMANSARKISYAN.COM
      ART HEADQUARTERS LLC                    CHARLIE HENDRICK                       CHARLIE.HENDRICK@WENDOVERART.COM
      BASTIDE                                 ATTN: JOSEPH SANTACROCE                JSANTACROCE@FEKKAI.COM
      CHARLES TERHOUT                                                                REDACTED ADDRESS
      CHEFS CORNER STORE                      DARREN BARKER                          DARREN@CHEFSCORNERSTORE.COM
      CHEFS CORNER STORE                      C/O MESSNER REEVES, LLP                BANKRUPTCY@MESSNER.COM
      CIRE TRUDON USA INC                     CLAUDINE AQUINO                        C.AQUINO@ALTIOS.COM
      CODY FOSTER & CO., INC                  CRYSTAL HOMAN                          CRYSTAL@CODYFOSTER.COM
      CODY FOSTER & CO., INC                  DIANE FOSTER                           CRYSTAL@CODYFOSTER.COM
      CREATIVE GROUP                          C/O ROBERT HALF INTERNATIONAL          AMBER.BAPTISTE@ROBERTHALF.COM
      CREATIVE GROUP                          C/O RECOVERY DEPT.                     AMBER.BAPTISTE@ROBERTHALF.COM
      DCM INFOTECH LIMITED                    ASHOK R CHOUDHURY                      ASHOKRC@DCMINFOTECH.COM
      DD KARMA LLC                                                                   AMAIDEN@DERMAFLASH.COM
      DESIGNS BY TAMARA NOVA COLLECTION       ATTN: TAMARA TAYLOR                    NOVACOLLECTION@GMAIL.COM
      DEVINE CORPORATION                      ATWELL CURTIS + BROOKS                 ATWELL@ACBLTD.COM
      DEVON LEIGH DESIGNS, INC.               DEVON SEDLACEK                         INFO@DEVONLEIGHDESIGN.COM
      DR. LIVINGSTONE I PRESUME               GREG COGHLAN                           GCOGHLAN@DLIP.COM
      DR. VRANJES FIRENZE SPA                                                        SARA.BINI@DRVRANJES.IT
      DRV US CORP                                                                    AMMINISTRAZIONE@DRVRANJES.IT
      DUGUD LAB                                                                      REDACTED ADDRESS
      ELK GROUP INTERNATIONAL                 DANIELLE EMS                           AR@ELKGROUPINTERNATIONAL.COM
      EUGENIA KIM INC                         EUGENIA KIM, CEO                       EUGENIAKIM@EUGENIAKIM.COM
      FOUR HANDS LLC                                                                 CWELCH@FOURHANDS.COM
      GILMAR DIVISIONE INDUSTRIA S.P.A.       ANNIBALE SFRAPPINI                     ASFRAPPINI@GILMAR.IT
      GP INTERIORS SRLS                       ATTN: MS. CINZIA DELLE CAVE            GP-INTERIORS@OUTLOOK.IT
      GROWN ALCHEMIST                         JUSTINE KIPPIN                         JUSTINE@GROWNALCHEMIST.COM
      H.O.B. LLC DBA LEE BREVARD                                                     BRYANM@BREVARDDESIGN.COM
      HALBERT USA INC./DBA TATEOSSIAN         ROBERT TATEOSSIAN                      ROBERT@TATEOSSIAN.COM
      JETSETGO, LLC                           CAROLE MATIC                           CAROLE@JETSETGO.NYC
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                        NAME                               ATTENTION                                   EMAIL
      JILL PUMPELLY FINE ART, LLC             ATTN: JILL MARIE PUMPELLY              JILLPUMPELLY@YAHOO.COM
      JOULES USA INC                          CREDIT CONTROL                         CAROLINE.SOLEYN@JOULES.COM
      JOULES USA INC                                                                 USA.CREDITCONTROL@JOULES.COM
      JPT GROUP, LLC                          ATTN THOMAS ALLEN WILLIAMS             TOMWILLIAMS6060@GMAIL.COM
      JULIA KNIGHT INC.                       ATTN: JULIA KNIGHT                     JULIA@JULIAKNIGHTCOLLECTION.COM
      JUST BEE QUEEN                          SYDNEY STRAUSS                         MVALENTINE@JUSTBEEQUEEN.COM
      KALATY RUG CORP.                        FARSHAD KALATY                         FARSHAD@KALATY.COM
      KAT MACONIE LIMITED                     KAT MACONIE                            CHO@KATMACONIE.COM
      KOH GEN DO AMERICAS LLC                 CINDEE DAY                             ACCOUNTS@KOHGENDO.US
      LE CREUSET OF AMERICA                   ACCOUNTS PAYABLE                       ACCOUNTSRECEIVABLE.US@LECREUSET.COM
      LE CREUSET OF AMERICA, INC.             JENNIFER WILSON                        JENNIFER.WILSON@LECREUSET.COM
      LENOX CORP.                             LISA MCDONNELL                         LISA_JANUSZ-MCDONNELL@LENOX.COM
      LIFETECH RESOURCES, LLC                 ATTN: ANNA CARIERI                     ACARIERI@LIFETECHRESOURCES.COM
      LOCALISED INC                           FINANCE DEPARTMENT                     INVOICES@LOCALISED.COM
      LUCAS + MCKEARN, LLC                    JOSEPH MCKEARN                         JOEM@LUCASMCKEARN.COM
      LUZ CAMINO                                                                     INFO@LUZCAMINO.COM
      MARGIELA USA INC                        GAIL CREE                              GAIL_CREE@OTB.NET
      MARION PARKE DESIGNS LLC                ACCOUNTS RECEIVABLE                    STEPHANIE@MARIONPARKE.COM
      MATRIX RESOURCES, INC.                  CHRIS GLASTETTER                       CGLASTETTER@MATRIXRES.COM
      MEMO AMERICA INC.                       PASCAL RIESEN                          PASCAL.RIESEN@MEMOFRAGRANCES.COM
      MIRROR IMAGE HOME                       CHAD CANALE                            NIKKI@MIRRORIMAGEHOME.COM
      MONTINO                                 ATTN: FRED GASIMOV                     HELLO@FREDGASIMOV.COM
      N. GOGOLICK & SON CORP                  LARRY A GOGOLICK                       GOGOLICK@YAHOO.COM
      NUNA BABY ESSENTIALS, INC               ATTN: JAMES FLAMM                      JIM.FLAMM@NUNABABY.COM
      OLARTE FOUSSARD & CO, INC               EMEE OLARTE FOUSSARD                   EMEE@OLARTEFOUSSARD.COM
      ONE JEANSWEAR GROUP LLC                 ATTN: NANCY M. DODDERIDGE, ESQ.        NDODDERIDGE@PBG.COM
      ONE JEANSWEAR GROUP LLC                 C/O GEOFFREY T. RAICHT, PC             GRAICHT@RAICHTLAWPC.COM
                                                                                     INFO@PHCOLLECTION.COM
      PENINSULA HOME COLLECTION CO.           ATTN: GONZALO ALONSO                   HADI@PHCOLLECTION.COM
      PETITE PLUME LLC                        EMILY HIKADE                           EMILY@PETITE-PLUME.COM
      PLS/MAISON LABICHE                      AMILKA LORA                            ALORA@US-LOGFRET.COM
      RARE BEAUTY BRANDS, INC.                ATTN: MARC SHORES                      MZYLA@RAREBEAUTYBRANDS.COM
      REBECCA TAYLOR, INC.                    ATTN AKIKO OKUMA                       LEGAL@VINCE.COM
      REEM ACRA                               ATTN: SCOTT VOGEL                      SCOTTV@REEMACRA.COM
      REWARDSTYLE, INC                        SALLY STORIE                           SALLY.STORIE@REWARDSTYLE.COM
      ROOTS SAS                               10 RUE DE LA PAIX                      NICOLE@OLIVIERTHEYSKENS.COM
      ROYAL-PEDIC MATTRESS MFG.               TONY KELEMEN                           TONY@ROYALPEDIC.COM
      SAVOY HOUSE                             GINA JINKS                             GJINKS@PROGRESSIVELIGHTING.COM
      SIENA LASKER                            SIENA LASKER                           SIENA@SIENAJEWELRY.COM
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                                                             Exhibit R
                                                       Served via Electronic Mail
                       NAME                                 ATTENTION                                   EMAIL
      SIGNED PIECES                           PAWEL GOJ                             PAWEL@SIGNEDPIECES.COM
      SKC & SONS, INC.                        RAVI BHUSHAN                          RODEMA@CHAUDRYFASHION.COM
      SOLACE LONDON                           C/O LAURA TAYLOR SOLACE LONDON        LAURA@SOLACELONDON.COM
      SWIMWEAR ANYWHERE                       SWIMWEAR ANYWHERE INC                 JCONTI@SWIMWEARANYWHERE.COM
      TAI JEWELRY                             ATTN: TAI RITTICHAI                   TAI@TAI-RITTICHAI.COM
      TAYLOR JAMES LLC                        ATTN JACKIE PARKER                    ACCOUNTING@SUPERGOOP.COM
      THIERRY MUGLER SAS                      BRIEUC CAILLIEZ                       BRIEUC.CAILLIEZ@MUGLER.NET
      THULE INC                               KELLY STABILO                         KELLY.STABILO@THULE.COM
      US BOX FACTORY                          ATTN: HEIDI RINCON                    HEIDI.RINCON@RIGIDBOX.NET
      VIVA MODEL MANAGEMENT                   MR. CYRIL BRULE                       CLAIRE.LEBE-VIOLIER@VIVA-PARIS.COM
      WELLNESS MGMT LLC                       ATTN BRET KRAVITZ                     RBROWN@GTIGROWS.COM
      WILD AND WOLF, INC.                                                           ACCOUNTS.US@WILDANDWOLF.COM
      WILLIAM ARTHUR INC*61567*                                                     SRIVARD@CRANE.COM
      WINWARD INTERNATIONAL INC.              CINDY FLETCHER                        CINDYF@WINWARDSILKS.COM
      WOLF DESIGNS, INC                       ACCOUNTING DEPT.                      ACCOUNTING@WOLF1834.COM




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                                                                                                   Exhibit S
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                    NAME                                   ATTENTION                      ADDRESS 1                         ADDRESS 2               CITY            STATE        ZIP        COUNTRY
                                                                                                                    3452 E FOOTHILL BLVD,
  55HAITAO                                   HAITAO LLC                          ATTN JOSEPHINE NIEH                SUITE 610                 PASADENA         CA            91107
  ACCOUNTEMPS                                C/O ROBERT HALF INTERNATIONAL       ATTN: AMBER BAPTISTE               PO BOX 5024               SAN RAMON        CA            94583
  ACCOUNTEMPS                                C/O RECOVERY DEPT.                  ATTN: AMBER BAPTISTE               2613 CAMINO RAMON         SAN RAMON        CA            94583
  AEFFE USA, INC.                            ACCOUNT RECEIVABLES                 30 WEST 56 STREET                                            NEW YORK         NY            10019
  AMBELLA HOME COLLECTION, INC.                                                  4910 LAKAWANA STREET                                         DALLAS           TX            75247
  AMERR RUGS                                 RAJ CHOUDHARY                       3000 PACIFIC DRIVE                                           NORCROSS         GA            30071
  AMERR RUGS                                 RAJ CHOUDHARY                       PO BOX 1828                                                  NORCROSS         GA            30091
                                                                                 C/O ART REMEDY, D/B/A OLIVER
  ART REMEDY, LLC                            ANA SANCHEZ                         GAL ARTIST COMPANY                 2590 HOLLYWOOD BLVD       HOLLYWOOD        FL            33021
  AVCON ENGINEERING PC                       ELLA MALKIN                         580 8TH AVENUE , 14FL.                                       NEW YORK         NY            10018
  BEN-AMUN                                   ATTN REGINA MANEVITZ                246 WEST 38TH ST, 12A                                        NEW YORK         NY            10018
  BILL BLASS DESIGN LLC                                                          236 5TH AVENUE                     5TH FLOOR                 NEW YORK         NY            10001
  BOGDON CANDY COMPANY INC                   TRACEY BURTON                       101 ERIE BLVD                                                CANAJOHARIE      NY            13317
  CAMDEN J ROBINSON                                                              REDACTED ADDRESS
  CELCIA INC                                 ATTN: MARIA D. KARELAS              460 PARK AVENUE, 21ST FL                                     NEW YORK         NY            10022
  CLERGERIE                                  ROBERT CLERGERIE AMERICA INC        60 BROAD ST SUITE 3502                                       NEW YORK         NY            10004
  CLOSED US INC                                                                  860 S LOS ANGELES STREET           SUITE 321                 LOS ANGELES      CA            90014
  CLOSED US INC.                             C/O WEBHELP LOGBOX USA INC          1412 BROADWAY                      SUITE 2310                NEW YORK         NY            10018
  CLOSED US INC.                             BRITTANY MCLAUGHLIN                 343 CANAL ST                       #4                        NEW YORK         NY            10013
  COLOMBIER HACOT, INC.                      C/O SAMBOURG ASSOCIATES             14 NE 1ST AVE                      STE 1205                  MIAMI            FL            33132-2408
  COOPERS DIY, LLC                           ROBERT LEWIS                        3366 N DODGE BLVD                                            TUCSON           AZ            85716
  CRIMSON BUSINESS EDUCATION GROUP                                               PO BOX 380302                                                CAMBRIDGE        MA            02238
  CRIMSON BUSINESS EDUCATION GROUP           ATTN: SOPHIA F. SUN                 2135 LA ROCHELLE CT                                          BROOKFIELD       WI            53045
  DAVID SCHINMAN                                                                 REDACTED ADDRESS
  DIANE JAMES DESIGNS, INC.                  C/O C. MATRULLO                     112 MAIN STREET                                              NORWALK          CT            06851
  DREAM PROJECTS LLC DBA RTA BRAND                                               209 EAST 32ND ST                                             LOS ANGELES      CA            90011
  ELAINE HEDAYA                                                                  REDACTED ADDRESS
  EVERCOR FACILITY MANAGEMENT                                                    902 WYOMING AVE                                              WYOMING          PA            18644
  FISHER SIGERSON MORRISON LLC               ATTN: ROGER HO                      777 WEST PUTNAM AVENUE                                       GREENWICH        CT            06830
  FUSION MODELING AGENCY LLC                 ATTN: JODY GORDON                   101 N 10TH STREET #301                                       BROOKLYN         NY            11249
  GARRETT LEIGHT LLC                         ELIZABETH BERECZ                    2301 E. 7TH STREET, D113                                     LOS ANGELES      CA            90023
  GIGIANDCICI LLC.                           ATTN: SOLEN ALTOP                   125 PARKWAYROAD                    SUITE 1218                BRONXVILLE       NY            10708
  GLOBAL CROSSING
  TELECOMMUNICATIONS, INC.                   C/O CENTURYLINK COMMUNICATIONS      ATTN: LEGAL - BKY                  1025 ELDORADO BLVD        BROOMFIELD       CO            80021
  GRAPHIC IMAGE, INC.                        ATTN: JAMES MONAHAN                 305 SPAGNOLI RD                                              MELVILLE         NY            11747
  HAITAO LLC                                                                     3452 E FOOTHILL BLVD               SUITE 610                 PASADENA         CA            91107
  KASSL BV                                   PHILINE VAN ZINNICQ BERGMANN        OUDESCHANS 26                                                AMSTERDAM        NOORD-HOLLAND 1011LB   THE NETHERLANDS
  KASSL BV                                   CHARLOTTE SCHREUDER                 OUDESCHANS 26                                                AMSTERDAM        NOORD-HOLLAND 1011LB   THE NETHERLANDS
  KELKOO GROUP LTD                           ATTN: MARINA WALKER                 60 BUCKINGHAM PALACE ROAD                                    LONDON           ENGLAND       SW1W 0AH UNITED KINGDOM
                                                                                 4098 STE-CATHERINE STREET
  KIKI DE MONTPARNASSE                       LINDA SCAVONE                       WEST                               SUITE 400                 MONTREAL         QUEBEC        H3Z1P2     CANADA
  LADORADA                                   C/O JUAN WEIL                       6799 COLLINS AVE                   UNIT 1501                 MIAMI BEACH      FL            33141
  LASH STAR BEAUTY                           ORLA MAGUIRE                        9 RONWOOD RD                                                 CHESTNUT RIDGE   NY            10977
  LEE MATHEWS WORKROOM PTY LTD               LEE MATHEWS                         UNIT 1                             67-69 LORDS ROAD          LEICHHARDT       NSW           2040       AUSTRALIA
  LEXINGTON INTERNATIONAL LLC                ATTN: DAVID MICHAELS                1040 HOLLAND DRIVE                                           BOCA RATON       FL            33487
  LLADRO USA INC                             CHRISTINA PAGANO                    979 THIRD AVE                      SUITE 1805                NEW YORK         NY            10022
  LONDONTOWN USA INC.                        JEAN STYLES                         148 EAST 5TH STREET                BUILDING 7A               BAYONNE          NJ            07002
  LURE ENTERPRISES LLC                       ATTN: IGOR CHERNYAVSKIY             703 MOHICAN CT                                               MORGANVILLE      NJ            07751
  M.B. FISHER LLC                            ATTN: ROGER HO                      777 WEST PUTNAM AVENUE                                       GREENWICH        CT            06830
  MAGGIE LOUISE CONFECTIONS LLC                                                  415 E ST ELMO                      SUITE 4F                  AUSTIN           TX            78745
  MEMO AMERICA INC.                          PASCAL RIESEN                       60 BROAD STREET                                              NEW YORK         NY            10004
  MERCER US INC                              ATTN KIM JANSEN                     12421 MEREDITH DRIVE                                         URBANDALE        IA            50398
  MERCER US INC                                                                  PO BOX 730182                                                DALLAS           TX            75373-0182
  MISSONI S.P.A.                             LIVIO PROLI                         VIA LUIGI ROSSI N. 52                                        SUMIRAGO (VA)    VARESE        21040      ITALY
  MOGIMO INC                                                                     250 GREENWICH STREET               FLOOR 10, SILVER SUITES   NEW YORK         NY            10007
  MOTTAHEDEH & CO. INC.                      C/O WENDY KUALHEIM                  4225 PROVINCE LINE ROAD                                      PRINCETON        TX            08540
  MOTTAHEDEH & CO., INC.                     OWNER                               5 CORPORATE DRIVE                                            CRANBURY         NJ            08512
                                                                                                                    204 STONEHINGE LANE PO
  MOTTAHEDEH & CO., INC.                     C/O ATWELL, CURTIS & BROOKS, LTD.   ATTN: MIKE FOX                     BOX 363                CARLE PLACE         NY            11514-0363
  MUSE IMPORTS                               DABNEY MOXHAM                       601 HUDSON ST                                             NEW YORK            NY            10014
In re: Neiman Marcus Group LTD LLC, et al.
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                    NAME                                  ATTENTION                      ADDRESS 1                       ADDRESS 2              CITY                STATE       ZIP          COUNTRY
                                             C/O COFACE NORTH AMERICA                                             650 COLLEGE ROAD EAST
  NOXS INC.                                  INSURANCE COMPANY                  ATTN: AMY SCHMIDT                 SUITE 2005              PRINCETON         NJ              08540
  OLD WORLD DESIGN                           LYNN HAMILTON                      134 RIVEREDGE DR                                          DALLAS            TX              75207
  PEACOCK ALLEY, INC.                        C/O CONTRARIAN FUNDS LLC           411 WEST PUTNAM AVENUE            SUITE - 425             GREENWICH         CT              06830
  PEACOCK ALLEY, INC.                        C/O CONTRARIAN FUNDS LLC           ATTN: 392426                      500 ROSS ST 154-0455    PITTSBURGH        PA              15262
  PEPLO SRL                                  CAROLA BARBERA                     VIA DEL CERVO 1                                           BIELLA            BI              13900        ITALY
  PROSPETTIVE                                ATTN: PAOLO FICHERA                VIA LUIGI MANCINELLI 25                                   ROME                              00199        ITALY
  PROSPETTIVE S.R.L.                         ATTN PAOLO FICHERA                 VIA CARLO ALBERTO RACCHIA 2                               ROME              00195                        ITALY
  RODARTE LLC                                ATTN: WILLIAM MULLEAVY             715 S OAKLAND AVE                                         PASADENA          CA              91106
  S & G HAMPTON SUN LLC                      SALVATORE PIAZZOLLA                241 WEST 30TH STREET              4TH FLOOR               NEW YORK          NY              10001
  SATYA TWENA LLC                                                               2510 LADERA ROAD                                          OJAI              CA              93023
  SELECT MIAMI, INC.                                                            1665 WASHINGTON AVE.              3                       MIAMI BEACH       FL              33139
  SELETTI NORTH AMERICA                      ATTN: SARA ROMANO                  110 GREENE STREET                 SUITE 1109              NEW YORK          NY              10012
  SIGNORIA DI FIRENZE                        NICK PRENCIPE                      PO BOX 0034                                               BRATTLEBORO       VT              05302-0034
  SIGNORIA DI FIRENZE LLC                    NICK PRENCIPE                      PO BOX 757                                                WINDSOR           VT              05089
  SUBATOMIC DIGITAL                          HOLLY SUPERNEAU                    151 BLAIR PARK RD                                         WILLISTON         VT              05495
  SWISSCOSMET CORP.                          GENE GALIANESE                     5540 ROWAN ROAD                                           NEW PORT RICHEY   FL              34653
  TDX COMPANIES, LLC                         DONNA BRAND                        5735 W. OLD SHAKOPEE ROAD         STE 100                 BLOOMINGTON       MN              55437
                                             ACCOUNTS RECEIVABLE / CHRISTINE
  TEA FORTE INC                              GLOWA                              5 MILL & MAIN PL                  SUITE 5-211             MAYNARD           MA              01754
  TIA MAZZA                                                                     50 E 80TH STREET                  1A                      NEW YORK          NY              10075
  TITLE OF WORK                              JONATHAN MEIZLER                   57 ORCHARD STREET                                         NEW YORK          NY              10002
  TL AT HOME                                 ATTN: SHARI KLINE                  29 ROUTE 9 H                      P O BOX 416             CLAVERACK         NY              12513
  TOWN OF PALM BEACH                                                            FINANCE DEPT                      360 SOUTH COUNTY RD     PALM BEACH        FL              33480
  V.P. DESIGNS LTD                           ATTN: VILMA WIESENMAIER            PO BOX 8618                       SUITE D-4               PELHAM            NY              10803
                                             DEEPA DADLANI & SOO JUNG CRYSTAL
  VICI ENTERPRISES, INC.                     YUN                                555 WEST 59TH STREET                                      NEW YORK          NY              10019
  VISUAL COMFORT & CO                        CYNTHIA COHA                       7400 LINDER AVE                                           SKOKIE            IL              60077
  WALDIN LLC                                 MILA MOURSI                        6924 CANBY AVE., SUITE 116                                RESEDA            CA              91335
  WELLE NORTH AMERICA INC                    C/O ZAPKEN & LOEB, LLP             3 CROSSWAYS PARK DR. WEST                                 WOODBURY          NY              11797
  WENDY M MCMURTREY                                                             REDACTED ADDRESS
  WILL-RICH SHOE COMPANY, LLC                ATTN: CREDIT/AR DEPARTMENT         39672 EUREKA DRIVE                                        NEWARK            CA              94560




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                                                              Exhibit T
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                          NAME                            ATTENTION                                   EMAIL
        55HAITAO                              HAITAO LLC ATTN JOSEPHINE NIEH         JOSEPHINE.NIEH@55HAITAO.COM
                                              C/O ROBERT HALF INTERNATIONAL
        ACCOUNTEMPS                           ATTN: AMBER BAPTISTE                   AMBER.BAPTISTE@ROBERTHALF.COM
        AEFFE USA, INC.                       ACCOUNT RECEIVABLES                    ABENIN@AEFFEUSA.COM
                                                                                     ABENSON@AMBELLAHOME.COM
        AMBELLA HOME COLLECTION, INC.                                                GSMOUSSA@AMBELLAHOME.COM
        AMERR RUGS                            RAJ CHOUDHARY                          ACCOUNTS@AMERRUGS.COM
                                              ANA SANCHEZ C/O ART REMEDY, D/B/A
        ART REMEDY, LLC                       OLIVER GAL ARTIST COMPANY              ANA@OLIVERGAL.COM
        AVCON ENGINEERING PC                  ELLA MALKIN                            EMALKIN@AVCON-ENG.COM
                                                                                     REGINA@BEN-AMUN.COM
        BEN-AMUN                              ATTN REGINA MANEVITZ                   SHANTA@BEN-AMUN.COM
        BILL BLASS DESIGN LLC                                                        KOAK@BILLBLASS.COM
        BOGDON CANDY COMPANY INC              TRACEY BURTON                          TGRAY@RICHARDSONBRANDS.COM
        CAMDEN J ROBINSON                                                            REDACTED ADDRESS
        CELCIA INC                            ATTN: MARIA D. KARELAS                 MKARELAS@MELTZERLIPPE.COM
        CELCIA INC                            ATTN: DIONYSIS ZAFEIROPOULOS           DZAFEIROPOULOS@IFAS.GR
        CLERGERIE                             ROBERT CLERGERIE AMERICA INC           MDJITE@KVBPARTNERS.COM
        CLOSED US INC.                        BRITTANY MCLAUGHLIN                    BRITTANY.MCLAUGHLIN@CLOSED.COM
        CLOSED US INC.                        C/O WEBHELP LOGBOX USA INC             DMASI@WPS.WEBHELP.COM
        COLOMBIER HACOT, INC.                 C/O SAMBOURG ASSOCIATES                DCLEMENTE@SAMBOURG-ASSOCIATES.COM
                                                                                     ROBERTL@COOPERSDIY.COM
        COOPERS DIY, LLC                      ROBERT LEWIS                           ROBERTL@MRBEES.COM
        CRIMSON BUSINESS EDUCATION GROUP                                             INFO@HARVARDCONSULTING.ORG
        CRIMSON BUSINESS EDUCATION GROUP      ATTN: SOPHIA F. SUN                    SSUN1@HARVARDCONSULTING.ORG
        DAVID SCHINMAN                                                               REDACTED ADDRESS
        DIANE JAMES DESIGNS, INC.             C/O C. MATRULLO                        CYNTHIA@DIANEJAMES.COM
        DREAM PROJECTS LLC DBA RTA BRAND                                             DAVID@RTABRAND.COM
        ELAINE HEDAYA                                                                REDACTED ADDRESS
        EVERCOR FACILITY MANAGEMENT                                                  MATT.SHRADER@EVERCOR.COM
        FISHER SIGERSON MORRISON LLC          ATTN: ROGER HO                         RHO@FISHERFOOTWEAR.COM
        FUSION MODELING AGENCY LLC            ATTN: JODY GORDON                      ACCOUNTING@FUSIONMODELSNYC.COM
        GARRETT LEIGHT LLC                    ELIZABETH BERECZ                       LIZ@GARRETTLEIGHT.COM
        GBS ENTERPRISES                       D.B.A. BRITTANY LYNN DESIGN CO.        BRITTANYLYNNDESIGNCO@GMAIL.COM
        GIGIANDCICI LLC.                      ATTN: SOLEN ALTOP                      SOLEN@GIGIANDCICI.COM
        GLOBAL CROSSING                       C/O CENTURYLINK COMMUNICATIONS
        TELECOMMUNICATIONS, INC.              ATTN: LEGAL - BKY                      BANKRUPTCYLEGAL@CENTURYLINK.COM
        GRAPHIC IMAGE, INC.                   ATTN: JAMES MONAHAN                    JMONAHAN@GRAPHICIMAGE.COM

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                                                             Exhibit T
                                                       Served via Electronic Mail
                        NAME                               ATTENTION                                  EMAIL
        KASSL BV                              PHILINE VAN ZINNICQ BERGMANN          PHILINE@KASSLEDITIONS.NL
        KASSL BV                              CHARLOTTE SCHREUDER                   CHARLOTTE@KASSLEDITIONS.NL
        KELKOO GROUP LTD                      ATTN: MARINA WALKER                   MARINA.WALKER@KELKOOGROUP.COM
        KIKI DE MONTPARNASSE                  LINDA SCAVONE                         LINDA@MAJESTICTEES.COM
        LADORADA                              C/O JUAN WEIL                         JWEIL@LADORADASHOP.COM
        LASH STAR BEAUTY                      ORLA MAGUIRE                          ACCOUNTING@LASHSTARBEAUTY.COM
        LEE MATHEWS WORKROOM PTY LTD          LEE MATHEWS                           ACCOUNTS@LEEMATHEWS.COM.AU
        LEXINGTON INTERNATIONAL LLC           ATTN: DAVID MICHAELS                  DM@HAIRMAX.COM
        LLADRO USA INC                        CHRISTINA PAGANO                      CPAGANO@US.LLADRO.COM
        LONDONTOWN USA INC.                   JEAN STYLES                           ACCOUNTING@LONDONTOWNUSA.COM
        LURE ENTERPRISES LLC                  ATTN: IGOR CHERNYAVSKIY               IGORC@LUREESSENTIALS.COM
        M.B. FISHER LLC                       ATTN: ROGER HO                        ROGER.HO@FISHERFOOTWEAR.COM
        MAGGIE LOUISE CONFECTIONS LLC                                               MAGGIE@MAGGIELOUISECONFECTIONS.COM
        MEMO AMERICA INC.                     PASCAL RIESEN                         PASCAL.RIESEN@MEMOFRAGRANCES.COM
        MERCER US INC                         ATTN KIM JANSEN                       MERCER.NA.AR@MMC.COM
        MISSONI S.P.A.                        LIVIO PROLI                           NOPPOLITI@AEMCARNELUTTI.COM
        MOGIMO INC                                                                  FINANCE@HYPRBRANDS.COM
        MOTTAHEDEH & CO., INC.                OWNER                                 WENDY@MOTTAHEDEH.COM
        MUSE IMPORTS                          DABNEY MOXHAM                         DABNEY.MOXHAM@MUSESHOWROOM.COM
                                              C/O COFACE NORTH AMERICA
                                              INSURANCE COMPANY ATTN: AMY
        NOXS INC.                             SCHMIDT                               AMY.SCHMIDT@COFACE.COM
        OLD WORLD DESIGN                      LYNN HAMILTON                         LYNN@OWDDALLAS.COM
        PEACOCK ALLEY, INC.                   C/O CONTRARIAN FUNDS LLC              SJORGENSON@PEACOCKALLEY.COM
        PEPLO SRL                             CAROLA BARBERA                        C.BOCCHIO@LUCIANOBARBERA.IT
        PROSPETTIVE S.R.L.                    ATTN PAOLO FICHERA                    INFO@PAOLOFICHERA.COM
        RODARTE LLC                           ATTN: WILLIAM MULLEAVY                PERRY@RODARTE.NET
        S & G HAMPTON SUN LLC                 SALVATORE PIAZZOLLA                   SALES@HAMPTONSUNCARE.COM
        SATYA TWENA LLC                                                             STUDIO@SATYATWENA.COM
        SELECT MIAMI, INC.                                                          MICHAEL@SELECTMODEL.COM
        SELETTI NORTH AMERICA                 ATTN: SARA ROMANO                     SARA.ROMANO@SELETTI.US
        SIGNORIA DI FIRENZE                   NICK PRENCIPE                         ACCOUNTING@SIGNORIAUSA.COM
        SIGNORIA DI FIRENZE LLC               NICK PRENCIPE                         NPRENCIPE@SIGNORIAUSA.COM
        SUBATOMIC DIGITAL                     HOLLY SUPERNEAU                       HOLLY@SUBATOMICDIGITAL.COM
        SWISSCOSMET CORP.                     GENE GALIANESE                        GGALIANESE@SWISSCOSMET.COM
                                                                                    CHAYES@TDXTECH.COM
        TDX COMPANIES, LLC                    DONNA BRAND                           KBENNEWITZ@TDXTECH.COM


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                                                             Exhibit T
                                                       Served via Electronic Mail
                          NAME                           ATTENTION                                EMAIL
                                              ACCOUNTS RECEIVABLE / CHRISTINE
        TEA FORTE INC                         GLOWA                            BILLING@TEAFORTE.COM
        TIA MAZZA                                                              TIA@TIAMAZZA.COM
        TITLE OF WORK                         JONATHAN MEIZLER                 JONATHAN@TITLEOFWORK.COM
        TL AT HOME                            ATTN: SHARI KLINE                SHARI@TRADITIONSLINENS.COM
        TOWN OF PALM BEACH                    FINANCE DEPT                     MMCQUAIG@TOWNOFPALMBEACH.COM
        V.P. DESIGNS LTD                      ATTN: VILMA WIESENMAIER          VILMUSKA@AOL.COM
                                              DEEPA DADLANI & SOO JUNG CRYSTAL DEEPA@VICIBRANDS.COM
        VICI ENTERPRISES, INC.                YUN                              CRYSTAL@VICIBRANDS.COM
        VISUAL COMFORT & CO                   CYNTHIA COHA                     CCOHA@VISUALCOMFORTCO.COM
        WALDIN LLC                            MILA MOURSI                      ACCOUNTING@MILAMOURSI.COM
        WELLE NORTH AMERICA INC               C/O ZAPKEN & LOEB, LLP           JESSICA.LAYTON@WELLECO.COM
        WENDY M MCMURTREY                                                      REDACTED ADDRESS
        WILL-RICH SHOE COMPANY, LLC           ATTN: CREDIT/AR DEPARTMENT       AR@NYTCORP.COM




In re: Neiman Marcus Group LTD LLC, et al.
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                     NAME                             ATTENTION                      ADDRESS 1                        ADDRESS 2                   CITY                      STATE       ZIP        COUNTRY
  A DE R SAS                               C/O JD MITCHELL ASSOCIATES    ATTN: JOHN DERMOTT MICHELL         3 PARK AVENUE 29TH FLOOR   NEW YORK                    NY               10016
  AFFIL-MK OFFICE OF SERVICES LLC          ATTN: GENERAL COUNSEL         2045 W GRAND AVE                   SUITE B PMB 20228          CHICAGO                     IL               60612-1577
  AIMÉ LEON DORE                           GRANT SIMM                    37-18 NORTHERN BLVD                SUITE 301A                 LONG ISLAND CITY            NY               11101
  AMBIUS                                   BANKRUPTCY TEAM               1125 BERKSHIRE BLVD.               SUITE 150                  READING                     PA               19610
  AMUSEMINTS                               ATTN: PAUL CICCONE            530 WEST JOHN STREET                                          HICKSVILLE                  NY               11801
  ATLANTIC FOLK LTD                        HUGO MIDDLETON                THE CHURCHYARD                                                LONG SUTTON                 LINCS            PE12 9JH   UNITED KINGDOM
  BIGELOW TRADING LTD*INACTIVE*                                          414 6TH AVENUE                                                NEW YORK CITY               NY               10011
  BREAK POINT MEDIA LLC                    ANDREW ROTHSCHILD             21 S 5TH ST                        5A                         BROOKLYN                    NY               11249
  CAMFIL USA INC                           LORETTA L. LIVATINO           ONE N CORPORATE DR                                            RIVERDALE                   NJ               07457
  CANDER INC                               ELIZABETH MINETT              3921 ALTON ROAD                    341                        MIAMI BEACH                 FL               33140
  CARL TALLENT                                                           REDACTED ADDRESS
  CASEY HESS                                                             REDACTED ADDRESS
  CIRCLE UG (HAFTUNGSBESCHRÄNKT)                                         MASSENBACHHAUSENER STR. 62                                    SCHWAIGERN                                   74193        GERMANY
  CLOUDNOLA, INC                           RITA DRAGONI                  5119 HAWTHORNE DR                  SUITE K                    WEST DES MOINES             IA               50265
  COMPASS GROUP USA                        CATHY ALION                   2400 YORKMONT ROAD                                            CHARLOTTE                   NC               28217
  DECREE SIGNS & GRAPHICS D/B/A
  MANHATTAN SIGNS                          C/O MANHATTAN SIGNS           ATTN: MARIE MARTINECK              91 TULIP AVE KD1           FLORAL PARK                 NY               11001
  DORFMAN-PACIFIC CO.                                                    2615 BOEING WAY                                               STOCKTON                    CA               95206
  DORFMAN-PACIFIC CO.                                                    PO BOX 674620                                                 DETROIT                     MI               48267-4620
  ELEVENTY USA                             ATWELL CURTIS + BROOKS        204 STONEHINGE LANE                                           CARLE PLACE                 NY               11514
  FABRA CLEEN CARPET & FABRIC SPECIALISTS,
  INC.                                     ATTN: LORNE GREENBERG         71-02 80TH STREET                                             GLENDALE                    NY               11385
  FABRA CLEEN CARPET & FABRIC SPECIALISTS,
  INC.                                     ATTN: LORNE GREENBERG         1 DIX CIR                                                     DIX HILLS                   NY
  FASHIOANTA INC                           ACCOUNTS                      246W 17TH ST APT 2E                                           NEW YORK                    NY               10011
  FG FOOD SERVICE LLC                      KEVIN PETROVSKY               1211 NE 9TH AVENUE                                            FORT LAUDERDALE             FL               33304
  G.E.A. SRL                               ATTN: ALBERTA SCHIAVON        VIA DEL POGGETTO, 439/E                                       LUCCA                       LUCCA            55100        ITALY
  GAMEZ TPS LLC DBA TEXAS PERSONNEL
  SERVICE                                  BETTY LOU GAMEZ-FIEL          PO BOX 12524                                                  SAN ANTONIO                 TX               78212
  GARDA CL GREAT LAKES, INC. (GARDAWORLD) JULIE HAYASHI                  2000 NW CORPORATE BOULEVARD                                   BOCA RATON                  FL               33431
  GARDAWORLD                                                             2000 NW CORPORATE BOULEVARD                                   BOCA RATON                  FL               33431
  GENERATION JOY LLC                                                     434 AVE P 2ND FLOOR                                           BROOKLYN                    NY               11223
  GILMAR DIVISIONE INDUSTRIA S.P.A.        ANNIBALE SFRAPPINI            VIA MALPASSO, 723/725                                         SAN GIOVANNI IN MARIGNANO   ITALY            47842        ITALY
  HANAMINT CORP.                           RUSSELL SORENSON              8010 THORNDIKE RD.                                            GREENSBORO                  NC               27409
  HIGH TECH LANDSCAPES                     STEVEN M. COZZA               10 CULNEN DRIVE                                               BRANCHBURG                  NJ               08876
  HUNZA G LTD., A PRIVATE LIMITED COMPANY
  REGISTERED IN THE UNITED KINGDOM         KRISTEN ABEL                  53 GREAT TITCHFIELD ST.                                       LONDON                                       W1W 7PJ      UNITED KINGDOM
  HUNZA G LTD., A PRIVATE LIMITED COMPANY                                                                   638 CAMINO DE LOS MARES
  REGISTERED IN THE UNITED KINGDOM         C/O HELLER LAW APC            ATTN: MARC GREGORY HELLER          STE. H130A, UNIT 124       SAN CLEMENTE                CA               92673
  INDIVIDUALIZED SHIRT COMPANY                                           PO BOX 1409                                                   BRENTWOOD                   TN               37024
  JONATHAN Y DESIGN'S INC                                                185 MADISON AVE                FLOOR 6                        NEW YORK                    NY               10016-4325
  KARO STUDIOS INC.                        KARO MARTIROSYAN              413 ROSS STREET                                               GLENDALE                    CA               91207
  KAT BURKI SKINCARE INC                   ACCOUNTING                    2 FRASER LANE                                                 WESTPORT                    CT               06880
  KIN COLLECTIVE LLC                       EDWARD KIM                    1915 VIOLET ST.                                               LOS ANGELES                 CA               90021
  KIYASA CORPORATION                       KIANA BAHADORZADEH            3350 SCOTT BLVD                BUIDLING 50                    SANTA CLARA                 CA               95054
  LADORADA                                 C/O JUAN WEIL                 6799 COLLINS AVE               UNIT 1501                      MIAMI BEACH                 FL               33141
  LAZYPANTS/08                             LINDA SCAVONE                 4098 STE-CATHERINE STREET WEST SUITE 400                      MONTREAL                    QUEBEC           H3Z1P2      CANADA
  LBV INC.                                 TRISHA PETERSON               14000 QUAIL SPRINGS PKWY       SUITE 2200                     OKLAHOMA CITY               OK               73134
  LBV INC.                                 FRANK VELLUCCI                1301 AVENUE OF THE AMERICAS                                   NEW YORK                    NY               10019
  LBV INC.                                 SEAN CUTRONA                  28 WARREN STREET               2ND FLOOR                      NEW YORK                    NY               10007
  LIPAULT                                  C/O SAMSONITE LLC             ATTN: JAMES B. REGO            575 WEST ST., SUITE 110        MANSFIELD                   MA               02048
  LSA INTERNATIONAL INC                    MALCOLM FOREMAN               17TH FLOOR, 41 MADISON AVENUE                                 NEW YORK                    NY               10010
  LUCKY SCENT INC.                                                       726 N CAHUENGA BLVD                                           LOS ANGELES                 CA               90038
  MAGICLINKS, INC                          BRIAN NICKERSON               361 VERNON AVENUE              #6                             VENICE                      CA               90291
  MAINSTREAM SWIMSUITS, INC.               DAWN FINLAYSON                610 UHLER ROAD                                                EASTON                      PA               18040
  MAUI EPICURE LLC                                                       PO BOX 782                                                    KULA                        HI               96790
  MIFANLI INC                                                            740 E CAMPBELL RD, SUITE 700                                  RICHARDSON                  TX               75081
  MOCKINGBIRD FOOD CO                                                    120 SAINT LOUIS AVE            STE 103                        FORT WORTH                  TX               76104-1259
  MOCKINGBIRD FOOD CO                      DENA SHASKAN                  4550 COCKRELL AVE                                             FORT WORTH                  TX               76133
  MODERN FORMS                             ATTN ALLY NELSON              44 HARBOR PARK DRIVE                                          PORT WASHINGTON             NY               11050
  MODERN FORMS                             ATTN ALLY NELSON              23550 NETWORK PLACE                                           CHICAGO                     IL               XXX-XX-XXXX
  NANCY PRICE INTERIOR DESIGN                                            3110 OLD CANTON ROAD                                          JACKSON                     MS               39216
  NEPENTHES AMERICA INC.                   YE PHONE                      22-19 41ST AVENUE              #401                           LONG ISLAND CITY            NY               11101
  NEXGEN PACKAGING LTD                     MICHAEL NAIMO                 1010 EXECUTIVE COURT, STE. 100                                WESTMONT                    IL               60559



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                      NAME                            ATTENTION                       ADDRESS 1                         ADDRESS 2                  CITY         STATE      ZIP   COUNTRY
                                             C/O COFACE NORTH AMERICA                                          650 COLLEGE ROAD EAST
  NOXS INC.                                  INSURANCE COMPANY              ATTN: AMY SCHMIDT                  SUITE 2005                PRINCETON         NJ           08540
  NTRONIXCORP                                THEODORE E ESPEJO              1437 EASTSIDE DR                                             MESQUITE          TX           75149
  OLO                                        TESSA LOWE                     PO BOX 311                                                   MERCER ISLAND     WA           98040
  OLO & CO                                   TESSA LOWE                     4223 93RD AVE SE                                             MERCER ISLAND     WA           98040
  ONE FASHION HOUSE, INC                                                    2600 NORTHAVEN RD                  SUITE 100                 DALLAS            TX           75229
  ORIGINAL MADRAS TRADING CO.                PRASAN SHAH                    57 WEST 38TH STREET                4TH FLOOR                 NEW YORK          NY           10018
  PLANT PEOPLE, INC.                         HUDSON GAINES-ROSS             49 ELIZABETH STREET 3RD FLOOR                                NEW YORK          NY           10013
  PLANT PEOPLE, INC.                         ANNE MYRA SUAREZ MINGIONE      49 ELIZABETH STREET 3RD FLOOR                                NEW YORK          NY           10013
  QOSINA CORP.                               ATTN: SAUL STERNSCHEIN, CFO    2002-Q ORVILLE DRIVE NORTH                                   RONKONKOMA        NY           11779
  RENTOKIL                                   BANKRUPTCY TEAM                1125 BERKSHIRE BLVD.               SUITE 150                 READING           PA           19610
  ROJAS LIFESTYLE LLC                        JAMES MANNINO                  8125 GOULD AVENUE                                            LOS ANGELES       CA           90046
  SARREID LTD                                TRAVIS D COLEY                 3905 AIRPORT DR NW                                           WILSON            NC           27896
  SHOP IT TO ME, INC.                        CHARLIE GRAHAM                 3527 MT. DIABLO BLVD #393                                    LAFAYETTE         CA           94549
  THE BOATMAN GROUP                                                         100 NORTH PARK AVENUE                                        PERU              IN           46970
  TINA CHEN DESIGN COMPANY                   ATTN: QING CHEN                3620 195 STREET                                              FLUSHING          NY           11358
  VITA KIN, INC.                             ROMAN KINDRACHUK               3535 FOX RUN DRIVE                                           ALLENTOWN         PA           18103
  WANGS ALLIANCE CORP.                       ALLY NELSON                    44 HARBOR PARK DRIVE                                         PORT WASHINGTON   NY           11050




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                         NAME                                    ATTENTION                                    EMAIL
                                                  C/O JD MITCHELL ASSOCIATES ATTN: JOHN
 A DE R SAS                                       DERMOTT MICHELL                           JDMITCHELL@JDMITCHELLASSOCIATES.COM
 AFFIL-MK OFFICE OF SERVICES LLC                  ATTN: GENERAL COUNSEL                     CHRISTOPHER@RAYATLAW.COM
 AIMÉ LEON DORE                                   GRANT SIMM                                ED@AIMELEONDORE.COM
 AMBIUS                                           BANKRUPTCY TEAM                           TARA.CONARD@RENTOKIL.COM
 AMUSEMINTS                                       ATTN: PAUL CICCONE                        PCICCONE@CHOCOLATEINN.NET
 ATLANTIC FOLK LTD                                HUGO MIDDLETON                            HUGO@ATLANTICFOLK.COM
 BIGELOW TRADING LTD*INACTIVE*                                                              CINDY@COBIGELOW.COM
 BREAK POINT MEDIA LLC                            ANDREW ROTHSCHILD                         ANDREW@BREAKPOINT.MEDIA
 CAMFIL USA INC                                   LORETTA L. LIVATINO                       LORETTA.LIVATINO@CAMFIL.COM
 CANDER INC                                       ELIZABETH MINETT                          ELIZABETH@CANDERPARIS.COM
 CARL TALLENT                                                                               REDACTED ADDRESS
 CASEY HESS                                                                                 REDACTED ADDRESS
 CIRCLE UG (HAFTUNGSBESCHRÄNKT)                                                             S.PENKOW@BIGSTAR-AGENCY.COM
 CLOUDNOLA, INC                                RITA DRAGONI                                 RITA@CLOUDNOLA.COM
 COMPASS GROUP USA                             CATHY ALION                                  CATHERINE.ALION@COMPASS-USA.COM
                                               C/O MANHATTAN SIGNS ATTN: MARIE
 DECREE SIGNS & GRAPHICS D/B/A MANHATTAN SIGNS MARTINECK                                    MMARTINECK@MANHATTANSIGNSCO.COM
 DORFMAN-PACIFIC CO.                                                                        ARREMITADV@DORFMAN-PACIFIC.COM
 DORFMAN-PACIFIC CO.                                                                        LORRA.BLANKENSHIP@DORFMAN-PACIFIC.COM
 ELEVENTY USA                                  ATWELL CURTIS + BROOKS                       ATWELL@ACBLTD.COM
 FABRA CLEEN CARPET & FABRIC SPECIALISTS, INC. ATTN: LORNE GREENBERG                        LORNE@FABRACLEEN.COM
 FASHIOANTA INC                                ACCOUNTS                                     ACCOUNTS@FASHIONATA.COM.AU
 FG FOOD SERVICE LLC                           KEVIN PETROVSKY                              KEVIN@WETAKETHECAKE.COM
 G.E.A. SRL                                    ATTN: ALBERTA SCHIAVON                       INFO@MARIELLAFERRARI.IT
 GAMEZ TPS LLC DBA TEXAS PERSONNEL SERVICE     BETTY LOU GAMEZ-FIEL                         TPS1000@HOTMAIL.COM
 GARDA CL GREAT LAKES, INC. (GARDAWORLD)       JULIE HAYASHI                                JULIE.HAYASHI@GARDA.COM
 GENERATION JOY LLC                                                                         FRANKIE@GENERATIONJOY.COM
 GILMAR DIVISIONE INDUSTRIA S.P.A.             ANNIBALE SFRAPPINI                           ASFRAPPINI@GILMAR.IT
 HANAMINT CORP.                                RUSSELL SORENSON                             RSORENSON@HANAMINT.COM
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 HUNZA G LTD., A PRIVATE LIMITED COMPANY       C/O HELLER LAW APC ATTN: MARC
 REGISTERED IN THE UNITED KINGDOM              GREGORY HELLER                               MARC@HELLERLAWAPC.COM
 HUNZA G LTD., A PRIVATE LIMITED COMPANY
 REGISTERED IN THE UNITED KINGDOM              KRISTEN ABEL                                 KRISTEN@HUNZAG.COM
 INDIVIDUALIZED SHIRT COMPANY                                                               G.DENNEY@TOMJAMES.COM
 JONATHAN Y DESIGN'S INC                                                                    JANET.ZHANG@JONATHANY.COM
 KARO STUDIOS INC.                             KARO MARTIROSYAN                             KARO@KAROSTUDIOS.COM
 KAT BURKI SKINCARE INC                        ACCOUNTING                                   ACCOUNTING@KATBURKI.COM
 KIN COLLECTIVE LLC                            EDWARD KIM                                   EDWARD@ASTRTHELABEL.COM
 KIYASA CORPORATION                            KIANA BAHADORZADEH                           KIANA@KIYASA.COM
  LADORADA                                        C/O JUAN WEIL                             JWEIL@LADORADASHOP.COM
In re: Neiman Marcus Group LTD LLC, et al.
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 LAZYPANTS/08                                     LINDA SCAVONE                            LINDA@MAJESTICTEES.COM
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 LBV INC.                                         TRISHA PETERSON                          TRISHA@LBVOFFICIAL.COM
 LBV INC.                                         FRANK VELLUCCI                           FRANK.VELLUCCI@NORTONROSEFULLBRIGHT.COM
 LIPAULT                                          C/O SAMSONITE LLC ATTN: JAMES B. REGO    JAMES.REGO@SAMSONITE.COM
 LSA INTERNATIONAL INC                            MALCOLM FOREMAN                          MF@LSA-INTERNATIONAL.COM
 LUCKY SCENT INC.                                                                          ACCOUNTING@LUCKYSCENT.COM
 MAGICLINKS, INC                                  BRIAN NICKERSON                          BRIAN@MAGICLINKS.COM
 MAINSTREAM SWIMSUITS, INC.                       DAWN FINLAYSON                           DAWN@SWIMUSA.COM
 MAUI EPICURE LLC                                                                          CHRIS@MAUIEPICURE.COM
 MIFANLI INC                                                                               CANDICE@MIFANLI.COM
 MOCKINGBIRD FOOD CO                              DENA SHASKAN                             DENA@MOCKINGBIRDFOOD.COM
 MOCKINGBIRD FOOD CO                                                                       DENA@MOCKINGBIRDFOD.COM
 MODERN FORMS                                     ATTN ALLY NELSON                         ALLY.NELSON@WACLIGHTING.COM
 NANCY PRICE INTERIOR DESIGN                                                               NPDESIGNER@AOL.COM
 NEPENTHES AMERICA INC.                           YE PHONE                                 YE@NEPENTHESNY.COM
                                                                                           SUSAN.JIANG@NEXGENPKG.COM
 NEXGEN PACKAGING LTD                             MICHAEL NAIMO                            MIKE.NAIMO@NEXGENPKG.COM
                                                  C/O COFACE NORTH AMERICA INSURANCE
 NOXS INC.                                        COMPANY ATTN: AMY SCHMIDT                AMY.SCHMIDT@COFACE.COM
 NTRONIXCORP                                      THEODORE E ESPEJO                        EDDIE@NTRONIXCORP.COM
 OLO                                              TESSA LOWE                               TLOWE@OLOFOODS.COM
 OLO & CO                                         TESSA LOWE                               TLOWE@OLOFOODS.COM
 ONE FASHION HOUSE, INC                                                                    ONEFASHIONHOUSEINC@TIMEWORLDUSA.COM
 ORIGINAL MADRAS TRADING CO.                      PRASAN SHAH                              PRASANSHAH@OMTCNYC.COM
 PLANT PEOPLE, INC.                               HUDSON GAINES-ROSS                       PARTNERS@PLANTPEOPLE.CO
 PLANT PEOPLE, INC.                               ANNE MYRA SUAREZ MINGIONE                MYRA@PLANTPEOPLE.CO
 QOSINA CORP.                                     ATTN: SAUL STERNSCHEIN, CFO              SAUL.STERNSCHEIN@QOSINA.COM
 RENTOKIL                                         BANKRUPTCY TEAM                          TARA.CONARD@RENTOKIL.COM
 ROJAS LIFESTYLE LLC                              JAMES MANNINO                            JIM@JIMMANNINO.COM
 SARREID LTD                                      TRAVIS D COLEY                           TDC@SARREID.COM
 SHOP IT TO ME, INC.                              CHARLIE GRAHAM                           CHARLIE@SHOPITTOME.COM
 THE BOATMAN GROUP                                                                         VALERIE.VELLER@THEBOATMANGROUP.COM
 TINA CHEN DESIGN COMPANY                         ATTN: QING CHEN                          TINA.CHEN61@GMAIL.COM
 VITA KIN, INC.                                   ROMAN KINDRACHUK                         ROMAN@VITAKIN.NET
 WANGS ALLIANCE CORP.                             ALLY NELSON                              ALLY.NELSON@WACLIGHTING.COM




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               NAME                              ATTENTION                     ADDRESS 1                          ADDRESS 2            CITY        STATE     ZIP        COUNTRY
 1 ABOVE ELEVATOR INSPECTIONS          TIM SULLIVAN                  6818 DUDLEY CIRCLE                                         ARVADA            CO     80004
 2HYPE INC                                                           1384 BROADWAY SUITE 902                                    NEW YORK          NY     10018
 ABBCH OUSTERHOUT, LTD DBA O'MY
 GOODNESS!                             ANDY OUSTERHOUT               910 SHERWOOD DR STE 19                                     LAKE BLUFF        IL       60044
 AGI SUPREME LLC                                                     2252 HAYES STREET                                          HOLLYWOOD         FL       33020-0000
                                                                                                          5426 MONTGOMERY
 ALLIED FLOW SPECIALISTS, INC.         CODY THOMAS                   PO BOX 1150                          ROAD                  MIDLOTHIAN        TX       76065
 ANAHEIM GLASS INC                                                   542 SOUTH ANAHEIM BOULEVARD                                ANAHEIM           CA       92805
 BALLIN INTERNATIONAL                                                63 LAWRENCE PAQUETTE DRIVE                                 CHAMPLAIN         NY       12919
 CANON SOLUTIONS AMERICA, INC.         ATTN: JAN SARSTEN             4560 COMMUNICATION AVE               #100                  BOCA RATON        FL       33431-4485
 CELINA LEUNG                                                        REDACTED ADDRESS
 CELMOL INC. DBA MARK ROBERTS          MARK ROBERTS                  1611 E SAINT ANDREW PL                                     SANTA ANA         CA       92705
 CHAITNATH HARDUAR (LASER TECH
 JEWELRY REPAIR INC)                                                 8651 MUSKET STREET                                         BELLEROSE         NY       11427
 CITY OF SUNRISE, A FLORIDA            THOMAS P. MOSS, DEPUTY CITY   10770 W. OAKLAND PARK
 MUNICIPAL CORPORATION                 ATTORNEY                      BOULEVARD                                                  SUNRISE           FL       33351
 CITY OF TAMPA - ORACLE LOCKBOX                                      PO BOX 23328                                               TAMPA             FL       33623
 CITY OF TAMPA - ORACLE LOCKBOX                                      PO BOX 23328                         PO BOX 30191          TAMPA             FL       33623
 CLEANERS SUPPLY, INC.                 ATTN: TIMOTHY JACOB MAYERS    1059 POWERS ROAD                                           CONKLIN           NY       13748
 CLOUDNOLA INC.                        RITA DRAGONI                  5119 HAWTHORNE DR                    SUITE K               WEST DES MOINES   IA       50265
 DENVER MODEL & TALENT LTD DBA
 DONNA BALDWIN AGENCY                                                925 W 7TH AVE                                              DENVER            CO       80204
 ELITE MODEL MANAGEMENT LLC            DAVID SENUTO                  245 FIFTH AVE, FL 24                                       NEW YORK          NY       10016
 FRANK NEW                                                           REDACTED ADDRESS
 HUM NUTRITION                         KIM PETTIFORD                 750 N SAN VICENTE BLVD               UNIT 303              NORTH HOLLYWOOD   CA       91601
 JFA DESIGNS, INC                      JEAN-FRANCOIS ALBERT          2708 CLIFF DRIVE                                           NEWPORT BEACH     CA       92663
 LIVIN, LLC                            ATTN: LAUREN GACHKAR          12897 CROSS POINT DR.                                      FRISCO            TX       75033
 LIVIN, LLC                            OPALENS BEAUTY                12897 CROSS POINT DR                                       FRISCO            TX       75033
 LIVIN, LLC                            ATTN LAUREN CAROL GACHKAR     5000 ELDORADO PKWY                   STE 150-188           FRISCO            TX       75033
 MAYA CHIA                             SUSANNE NORWITZ               2450 ASHLEY RIVER RD                 SUITE A               CHARLESTON        SC       29414
 MERRICK CULP DESIGNS LLC              ATTN: MARIA HARRINGTON        3981 S CLERMONT STREET                                     ENGLEWOOD         CO       80113
 MILK MANAGEMENT LIMITED               CHRIS PURVIS                  40-44 NEWMAN STREET                                        LONDON                     W1T 1QD      UK
 ON TIMES SALES LLC                    ACCOUNT RECEIVABLE            360 OSER AVENUE                                            HAUPPAUGE         NY       11788
 PASOTTI OMBRELLI S.R.L.               ATTN: NICOLA BEGOTTI          VIA ROMA 77                                                CASTELLUCCHIO     MN       46014        ITALY
                                                                     C/O PETER DUDGEON INT'L DBA          ATTN: SHANNON PIPER
 PETER DUDGEON INT'L                   GOURMET FOODS HAWAII          GOURMET FOODS HAWAII                 740 KOPKE ST.         HONOLULU          HI       96819
 PHILLIP KADOWAKI                                                    250 STANHOPE ST.                     APT. 1R               BROOKLYN          NY       11237
 POETIC PILLOW                                                       5111 TELEGRAPH AVENUE #186                                 OAKLAND           CA       94609
 PRSB LLC                              BRAD NAMDAR                   3232 MCKINNEY AVE, SUITE 500                               DALLAS            TX       75204
 RADAR PROMOTIONS                      RYAN JAMES PAULES             150 S GLENOAKS BLVD                  #9153                 BURBANK           CA       91502
 RUFFLEBUTTS, INC                      ATTN: ACCOUNTS RECEIVABLE     4055 CORPORATE DR #200                                     GRAPEVINE         TX       76051
 SAFETY-KLEEN/CLEANHARBORS             ATTN: KRISTINE T. ANDERSON    42 LONGWATER DRIVE                   PO BOX 9149           NORWELL           MA       02061
 SENSISTUDIO S.A.                      VIRGINIA GANCHOZO             KM 7.5 PROSPERINA AVENUDA            8VA Y CALLE 2DA       GUAYAQUIL         GUAYAS                ECUADOR
 SRS SECUIRTY AGENCY, LLC              RICK GARCIA                   PO BOX 267                                                 BLOOMINGDALE      NJ       07403
 STUDIO GALA                           ATTN: GERARD LAETHEM          10, RUE VERSIGNY                                           PARIS             FRANCE   75018        FRANCE
 SUNNYLIFE LLC                         ATTN: SAM HERRBACH            300 N CRESCENT HEIGHTS BLVD                                LOS ANGELES       CA       90048
 SWEET STREET DESSERTS INC             ACCOUNTS RECEIVABLE           722 HIESTERS LANE                                          READING           PA       19605
 THE CAROLING PARTY INC                PAUL IAMS                     2319 GREENWOOD AVENUE                                      WILMETTE          IL       60091
 THE CLUTTS AGENCY, INC                REGAN BALLMER                 1825 MARKET CENTER BLVD              SUITE 380             DALLAS            TX       75207
 THIS WORKS PRODUCTS LTD               SEEMA PATERSON                1090 KING GEORGES POST RD            SUITE 505             EDISON            NJ       08837
 UN CADEAU DE LA PROVIDENCE            JESPER BORULF                 NYBROGATAN 8                         C/O ALMA              STOCKHOLM                  114 34       SWEDEN
In re: Neiman Marcus Group LTD LLC, et al.
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                NAME                            ATTENTION                    ADDRESS 1                      ADDRESS 2                   CITY    STATE     ZIP       COUNTRY
 UNIVERSAL TAG, INC.                   PAUL MANDEVILLE            36 HALL ROAD                         PO BOX 1518             DUDLEY          MA     01571
 WILLIAM G. BURNS' BUSINESS
 EXPRESS PRESS                         ATTN: WILLIAM G. BURNS     4601 LANGLAND                        SUITE 106               DALLAS          TX      75244
 WJM PRODUCTIONS, INC                  KARA REELS                 667 MADISON AVE                      FL 5                    NEW YORK        NY      10065-8029
 WJM PRODUCTIONS, INC                  C/O CLARITY MEDIA GROUP    ATTN: KARA REELS                     166 5TH AVE., FLOOR 6   NEW YORK        NY      10010
 XPO LOGISTICS                                                    255 WEST 36TH STREET                 3RD FLOOR               NEW YORK        NY      10018




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                   NAME                                  ATTENTION                                          EMAIL
    1 ABOVE ELEVATOR INSPECTIONS         TIM SULLIVAN                                     TIMSULLY04@GMAIL.COM
    2HYPE INC                                                                             JOEYA@2HYPEINC.COM
    ABBCH OUSTERHOUT, LTD DBA O'MY
    GOODNESS!                            ANDY OUSTERHOUT                                  ANDY@OMYGOODNESS.COM
    AGI SUPREME LLC                                                                       FINANCE@MIMAKIDSUSA.COM
    ALLIED FLOW SPECIALISTS, INC.        CODY THOMAS                                      ACCOUNTING@ALLIEDFLOW.COM
    ANAHEIM GLASS INC                                                                     ANAHEIMGLASS@SBCGLOBAL.NET
    BALLIN INTERNATIONAL                                                                  NANCY.TREMBLAY@BALLIN.COM
    CANON SOLUTIONS AMERICA, INC.        ATTN: JAN SARSTEN                                JSARSTEN@CSA.CANON.COM
    CELINA LEUNG                                                                          REDACTED ADDRESS
    CELMOL INC. DBA MARK ROBERTS         MARK ROBERTS                                     MARK@MARK-ROBERTS.COM
    CHAITNATH HARDUAR (LASER TECH
    JEWELRY REPAIR INC)                                                                   CHARDUAR350@GMAIL.COM
    CITY OF SUNRISE, A FLORIDA
    MUNICIPAL CORPORATION                THOMAS P. MOSS, DEPUTY CITY ATTORNEY             TMOSS@SUNRISEFL.GOV
    CITY OF TAMPA - ORACLE LOCKBOX                                                        SCOTT.STIGALL@TAMPAGOV.NET
    CLEANERS SUPPLY, INC.                ATTN: TIMOTHY JACOB MAYERS                       ACCOUNTANT@CLEANERSUPPLY.COM
    CLOUDNOLA INC.                       RITA DRAGONI                                     RITA@CLOUDNOLA.COM
    DENVER MODEL & TALENT LTD            DBA DONNA BALDWIN AGENCY                         BRAD@DONNABALDWIN.COM
    ELITE MODEL MANAGEMENT LLC           DAVID SENUTO                                     DAVID@ELITEMODELS.COM
    FRANK NEW                                                                             REDACTED ADDRESS
    HUM NUTRITION                        KIM PETTIFORD                                    KIM@HUMNUTRITION.COM
    JFA DESIGNS                          JEAN-FRANCOIS ALBERT                             JF@JFADESIGNS.COM
    JFA DESIGNS, INC                     JEAN-FRANCOIS ALBERT                             JF@JFADESIGNS.COM
    LIVIN, LLC                           ATTN LAUREN CAROL GACHKAR                        LAUREN@OPALENSBEAUTY.COM
    LIVIN, LLC                           ATTN: LAUREN GACHKAR                             LAUREN@OPALENSBEAUTY.COM
    LIVIN, LLC                           OPALENS BEAUTY                                   LAUREN@OPALENSBEAUTY.COM
    MAYA CHIA                            SUSANNE NORWITZ                                  SUSANNE@MAYACHIA.COM
    MERRICK CULP DESIGNS LLC             ATTN: MARIA HARRINGTON                           MARIA@TRUFFLECO.COM
    MILK MANAGEMENT LIMITED              CHRIS PURVIS                                     CHRIS@MILKMANAGEMENT.CO.UK
    ON TIMES SALES LLC                   ACCOUNT RECEIVABLE                               DIANA@CLEANSETEC.COM
    PASOTTI OMBRELLI S.R.L.              ATTN: NICOLA BEGOTTI                             NICOLA@PASOTTIOMBRELLI.COM
                                         GOURMET FOODS HAWAII C/O PETER DUDGEON
    PETER DUDGEON INT'L                  INT'L DBA GOURMET FOODS HAWAII                   INFO@GOURMETFOODS-HAWAII.COM
    PHILLIP KADOWAKI                                                                      REDACTED ADDRESS
    POETIC PILLOW                                                                         ONLINE@POETICPILLOW.COM
    PRSB LLC                             BRAD NAMDAR                                      BN@NAMDARDECOR.COM
    RADAR PROMOTIONS                     RYAN JAMES PAULES                                RYAN@RADARPROMO.COM
    RUFFLEBUTTS, INC                     ATTN: ACCOUNTS RECEIVABLE                        AR@RUFFLEBUTTS.COM
In re: Neiman Marcus Group LTD LLC, et al.
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                  NAME                                     ATTENTION                                     EMAIL
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    SENSISTUDIO S.A.                     VIRGINIA GANCHOZO                             INFO@SENSISTUDIO.COM
    SRS SECUIRTY AGENCY, LLC             RICK GARCIA                                   RGARCIA.SRSAGENCY@GMAIL.COM
    STUDIO GALA                          ATTN: GERARD LAETHEM                          STUDIOGALA@ORANGE.FR
    SUNNYLIFE LLC                        ATTN: SAM HERRBACH                            AR@SUNNYLIFE.COM
    SWEET STREET DESSERTS INC            ACCOUNTS RECEIVABLE                           ACCOUNTS.RECEIVABLE@SWEETSTREETS.COM
    THE CAROLING PARTY INC               PAUL IAMS                                     PAUL@THECAROLINGPARTY.COM
    THE CLUTTS AGENCY, INC               REGAN BALLMER                                 REGAN@THECLUTTSAGENCY.COM
    THIS WORKS PRODUCTS LTD              SEEMA PATERSON                                PEDROS@SOCKETMS.COM
    UN CADEAU DE LA PROVIDENCE           JESPER BORULF                                 JESPER@CDLP.COM
    UNIVERSAL TAG, INC.                  PAUL MANDEVILLE                               CAROL@UNIVERSALTAG.COM
    WILLIAM G. BURNS' BUSINESS
    EXPRESS PRESS                        ATTN: WILLIAM G. BURNS                        BURNS@BURNSBEP.COM
    WJM PRODUCTIONS, INC                 C/O CLARITY MEDIA GROUP ATTN: KARA REELS      KARA@CLARITYMEDIAGROUP.COM
    WJM PRODUCTIONS, INC                 KARA REELS                                    KARA@CLARITYMEDIAGROUP.COM
    XPO LOGISTICS                                                                      EMILY.PEREZ@XPO.COM




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               NAME                            ATTENTION                        ADDRESS 1            ADDRESS 2            CITY        STATE ZIP
 BEFRUGAL                           CORIN YOUNG                         PO BOX 51607                               BOSTON            MA    02205
 BRAD'S DEALS LLC                                                       640 N LASALLE              SUITE 460       CHICAGO           IL    60654
 BRAD'S DEALS LLC                   LIZ GALLAGHER                       6115 ESTATE SMITH BAY      SUITE 215 BOX 7 ST. THOMAS        VI    00802
 CENTRAL TELEPHONE COMPANY-         CENTURYLINK COMMUNICATIONS, LLC -
 NEVADA DBA CENTURYLINK             BANKRUPTCY                        1025 EL DORADO BLVD                         BROOMFIELD         CO      80021
 CENTRAL TELEPHONE COMPANY-         C/O CENTURYLINK COMMUNICATIONS,
 NEVADA DBA CENTURYLINK             LLC - BANKRUPTCY                  ATTN: JESSIE SCHAFER         220 N 5TH ST   BISMARCK           ND      58501
 CESAR DUENAS                                                         REDACTED ADDRESS
 DERRALL BROWN                                                        REDACTED ADDRESS
 DLNY, LLC A DIVISION OF JERRY
 LEIGH OF CALIFORNIA, INC           ANNETTE GILL                        7860 NELSON ROAD                          VAN NUYS           CA      91402
 EBONE BOWLES                                                           REDACTED ADDRESS
 ELK GROUP INTERNATIONAL            ATTN: PAULA FISHER                  12 WILLOW LANE                            NESQUEHONING       PA      18240
 JAMES JEANS                                                            REDACTED ADDRESS
 MONICA WRIGHT-SAPARI                                                   REDACTED ADDRESS
 OSCAR ALVAREZ                                                          REDACTED ADDRESS
 POMEROY                            ATTN: DANIELLE EMS                  12 WILLOW LANE                            NESQUEHONING       PA      18235
 SA-LA LLC                          ARIE SETTON                         1024 BAYSIDE DRIVE # 419                  NEWPORT BEACH      CA      92660
 TOGAS HOUSE OF TEXTILES            TATIANA PINHASI                     1333 SECOND AVENUE                        NEW YORK           NY      11040
 TOOTIE PIE CO.                     ATTN: BRIAN GILE                    3992 E HWY 290             #200           DRIPPING SPRINGS   TX      78620
 WESLYN BRIGNONI                                                        REDACTED ADDRESS
 WHITLOCK (AUDIO FIDELITY
 COMMUNICATIONS CORP)                                                   6301 BENJAMIN RD           SUITE 101      TAMPA              FL      33634




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                         NAME                              ATTENTION                                   EMAIL
           BEFRUGAL                          CORIN YOUNG                                 CORIN@BEFRUGAL.COM
           BRAD'S DEALS LLC                  LIZ GALLAGHER                               AR@BRADSDEALS.COM
           CENTRAL TELEPHONE COMPANY-        CENTURYLINK COMMUNICATIONS, LLC -
           NEVADA DBA CENTURYLINK            BANKRUPTCY                                  BANKRUPTCYLEGAL@CENTURYLINK.COM
           CENTRAL TELEPHONE COMPANY-        C/O CENTURYLINK COMMUNICATIONS, LLC -
           NEVADA DBA CENTURYLINK            BANKRUPTCY ATTN: JESSIE SCHAFER             BMG.BANKRUPTCY@CENTURYLINK.COM
           CESAR DUENAS                                                                  REDACTED ADDRESS
           DERRALL BROWN                                                                 REDACTED ADDRESS
           DLNY, LLC A DIVISION OF JERRY
           LEIGH OF CALIFORNIA, INC          ANNETTE GILL                                AGILL@JERRYLEIGH.COM
           EBONE BOWLES                                                                  REDACTED ADDRESS
           ELK GROUP INTERNATIONAL           ATTN: PAULA FISHER                          AR@ELKGROUPINTERNATIONAL.COM
           JAMES JEANS                                                                   REDACTED ADDRESS
           MONICA WRIGHT-SAPARI                                                          REDACTED ADDRESS
           OSCAR ALVAREZ                                                                 REDACTED ADDRESS
           POMEROY                           ATTN: DANIELLE EMS                          AR@ELKGROUPINTERNATIONAL.COM
           SA-LA LLC                         ARIE SETTON                                 ARIESETTON@GMAIL.COM
           TOGAS HOUSE OF TEXTILES           TATIANA PINHASI                             TPINHASI@TOGAS.COM
           TOOTIE PIE CO.                    ATTN: BRIAN GILE                            BRIAN.GILE@TOOTIEPIECO.COM
           WESLYN BRIGNONI                                                               REDACTED ADDRESS
           WHITLOCK (AUDIO FIDELITY
           COMMUNICATIONS CORP)                                                          MIKE.CHITTY@AVISPL.COM




In re: Neiman Marcus Group LTD LLC, et al.
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                                                                      Exhibit AA
                                                                Served via First-Class Mail
                   NAME                    ATTENTION                   ADDRESS 1                   ADDRESS 2             CITY   STATE ZIP
            OLT SAS                Attn Aude Sergent           5 rue des petits champs                               Paris      France 75001
                                                                                              4411 West Putnam
            PILYQ LLC              c/o Contrarian Funds, LLC   Attn: Trade Claims Group       Avenue, Suite - 245    Greenwich   CT    06830
            PILYQ LLC              c/o Contrarian Funds, LLC   Attn: 392426                   500 Ross St 154-0455   Pittsburgh  PA    15262
            Traverse Systems LLC   Controller                  17503 La Cantera Parkway       Suite 104-406          San Antonio TX    78257




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                                                                  Exhibit AB
                                                             Served via Electronic Mail
                                NAME                  ATTENTION                           EMAIL
                                             C/O CONTRARIAN FUNDS, LLC     BRENDA@PQSWIM.COM
                           PILYQ LLC         ATTN: TRADE CLAIMS GROUP      BRENDA@PILYQ.COM
                           TRAVERSE
                           SYSTEMS LLC       CONTROLLER                    TERRI.WATTS@TRAVERSESYSTEMS.COM
                           OLT SAS           ATTN AUDE SERGENT             AUDE.SERGENT@OLYMPIALETAN.COM
                           OLT SAS           ATTN: AUDE SERGENT            SALES@OLYMPIALETAN.COM




In re: Neiman Marcus Group LTD LLC, et al.
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                                                                                                          Exhibit AC
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                   NAME                                ATTENTION                         ADDRESS 1                          ADDRESS 2                         CITY                    STATE      ZIP            COUNTRY
                                                                                                                  SPACE ONE, 1 BEADON ROAD
  10005111 OMOROVICZA COSMETICS INC          ELENA HOGAN                     OMOROVICZA COSMETICS LTD             HAMMERSMITH                     LONDON                                      W6 0EA       UNITED KINGDOM
                                                                                                                  C/O MCINTYRE AND COMPANY
  10005111 OMOROVICZA COSMETICS INC          SARAH DREW                      OMOROVICZA COSMETICS INC             CPAS LLC 191 WOODPORT ROAD      SPARTA                      NJ              07871
  21ST CENTURY BRANDS LIMITED                                                PO BOX 1036                                                          CHARLOTTE                   NC              28201
  ADVANGEN LLC                               C/O HAIN CAPITAL HOLDINGS LLC   301 ROUTE 17 N                       7TH FLOOR                       RUTHERFORD                  NJ              07070
  AEFFE USA, INC                             ACCOUNTS RECEIVABLE             30 WEST 56 STREET                                                    NEW YORK                    NY              10019
  AG ADRIANO GOLDSCHMIED                                                     ATTN:: CREDIT DEPT                   2741 SEMINOLE AVENUE            SOUTH GATE                  CA              90280
  ALEXANDRE VAUTHIER SARL                    ATTN: ELISE JOURDAN             3 RUE CHRISTOPHE COLOMB                                              PARIS                                       75008        FRANCE
  ALLSAINTS WHOLESALE LIMITED                ATTN: ACCOUNTS RECEIVABLE       15-17 JACK'S PLACE                   6 CORBET PLACE                  LONDON                      ENGLAND         E1 6NN       UNITED KINGDOM
  ALLSAINTS WHOLESALE LIMITED                ATTN: LEGAL                     750 N SAN VICENTE BLVD.              SUITE 1050                      WEST HOLLYWOOD              CA              90069
  ALYN ENTERPRISES, LLC DBA
  SCANTEXAS                                  MARY ALYN                       6 WILTSHIRE COURT                                                    LUCAS                       TX              75002
  AQUAZZURA ITALIA SRL                       FRANCESCO TARCHI                LUNGARNO CORSINI 8                                                   FLORENCE                    ITALY           50143        ITALY
                                                                             THE STABLE BLOCK, THE PLOUGH
  ASHS LTD                                   SONIA JONES                     BREWERY                              516 WANDSWORTH ROAD             LONDON                                    SW8 3JX    UNITED KINGDOM
  ASHS LTD                                   LOCKBOX NUMBER: 17202           5505 N CUMBERLAND AVE SUITE 307                                      CHICAGO                     IL            60656-1471
  BERNHARDT FURNITURE CO                     JEFF L NORRIS JR                1839 MORGANTON BLVD                                                  LENOIR                      NC            28645
  BIOEFFECT USA INC                                                          450 LEXINGTON AVENUE                 4TH FLOOR                       NEW YORK                    NY            10017
  BIOEFFECT USA INC.                                                         VIKURHVARF 7                                                         KOPAVOGUR                   203 KOPAVOGUR IS-203     ICELAND
  BIOEFFECT USA INC.                         LYDIA LOVIG                     1005 JUEL STREET                                                     ORLANDO                     FL            32814
                                             ATTN MAARTEN VERSPYCK
  BIZZDESIGN UNITED STATES INC.              MIJNSSEN                        800 BOYLSTON STREET, 16TH FLOOR                                      BOSTON                      MA              02199
  BLACKHAWK TRANSPORT, INC.                  C/O SCHEEF & STONE, LLP         ATTN: PETER C. LEWIS                 500 N AKARD ST SUITE            DALLAS                      TX              75201
  BORDERX LAB, INC.                          JEFF UNZE                       298 S SUNNYVALE AVE, SUITE 210                                       SUNNYVALE                   CA              94086
  BOSSI HOLDING INC                          C/O CONTRARIAN FUNDS LLC        411 W PUTNAM AVE                     SUITE 425                       GREENWICH                   CT              06830
  BRANDON VANCE LLC                          DANA PHAM                       20 E 49TH STREET FLOOR 5                                             NEW YORK                    NY              10017
                                             COMMERCIAL COLLECTION CORP
  CALERES                                    OF NY                           34 SEYMOUR ST                                                        TONAWANDA                   NY              14150
  CAROLEE DESIGNS                            ELDA FISTANI                    86 34TH ST                           UNIT 3                          BROOKLYN                    NY              11232-2006
  CELLCO PARTNERSHIP D/B/A VERIZON           AKA VERIZON BUSINESS GLOBAL
  WIRELESS                                   LLC                             ATTN: WILLIAM M VERMETTE             22001 LOUDOUN COUNTY PKWY       ASHBURN                     VA              20147
  CELLCO PARTNERSHIP D/B/A VERIZON
  WIRELESS                                   PAUL ADAMEC                     C/O VERIZON                          500 TECHNOLOGY DRIVE            WELDON SPRING               MO              63304
  CO COLLECTION LLC                          ATTN: PAOLA CORSO               2121 E 7TH PLACE                     SUITE 216                       LOS ANGELES                 CA              90021
  CRAWFORD AND CO PRODUCTIONS INC            ZACH CRAWFORD                   8581 SANTA MONICA BLVD #466                                          WEST HOLLYWOOD              CA              90069
  CYRANO SARL MADEMOISELLE                   PASCAL GRINCOURT                4 RUE DU FAUBOURG ST HONORE                                          PARIS                                       75008        FRANCE
  DNA MODEL MANAGEMENT LLC                   ROSEANN RUSTICI                 555 WEST 25TH STREET                 6TH FLOOR                       NEW YORK                    NY              10001
  DUTCH LLC JOIE EQUIPMENT                                                   PO BOX 1036                                                          CHARLOTTE                   NC              28201
  DYSON, INC.                                PETER J. BEHMKE                 450 LEXINGTON AVENUE                 14TH FLOOR                      NEW YORK                    NY              10017
  EUROPERFUMES                               ATTN: VICKEN ARSLANIAN          60 HONECK STREET                                                     ENGLEWOOD                   NJ              07631
  FRANK & EILEEN LLC                         AUDREY MCLOGHLIN                843 S. LOS ANGELES ST, 500                                           LOS ANGLES                  CA              90014
  FUZZI SPA                                  CROCE ANTONIO SCREPIS           388, VIA DEGLI IPPOCASTANI                                           SAN GIOVANNI IN MARIGNANO   IT              47842        ITALY
  FUZZI SPA                                  C/O WEBHELP LOGBOX USA INC      1412 BROADWAY                        SUITE 2310                      NEW YORK                    NY              10018
  GRANITE TELECOMMUNICATIONS LLC                                             100 NEWPORT AVE EXT                                                  QUINCY                      MA              02171
  HARBOR BRANDS GROUP                        ATTN: JIM FOX                   26 HARBOR PARK DRIVE                                                 PORT WASHINGTON             NY              11050
  HEIDI KLEIN INC                            CAROLE HAYWARD                  LAKESIDE HOUSE                       SQUIRES LANE                    LONDON                                      N3 2QL       UK
  HUNTING SEASON                             AIXA CAMPO                      3250 MARY STREET                                                     COCONUT GROVE               FLORIDA         33133
  HUNTING SEASON LLC                         DANIELLE CORONA                 6834 SUNRISE DRIVE                                                   CORAL GABLES                FL              33133
  IMAX CORPORATION                                                           12424 E. 55TH STREET                                                 TULSA                       OK              74146
  INES DI SANTO CORP                         VERONICA DI SANTO               UNIT 39 - 4300 STEELES AVE WEST                                      WOODBRIDGE                  ON              L4L4C2       CANADA
  INES DI SANTO CORP                         VERONICA DI SANTO               UNIT 39 - 4300 STEELES WEST                                          WOODBRIDGE                  ON              L4L4C2       CANADA
  JM-BMM, LLC                                C/O ADAM L. ROSEN PLLC          2-8 HAVEN AVENUE                     STE. 220                        PORT WASHINGTON             NY              11050
                                             MELISSA MCNEEL, ASSOCIATE
  JM-BMM, LLC                                DIRECTOR                        C/O CBRE PROPERTY MANAGEMENT         2100 MCKINNEY AVENUE STE. 850   DALLAS                      TX              75201
                                             HARRY DREIZEN, GENERAL
  JM-BMM, LLC                                COUNSEL                         3 COLUMBUS CIRCLE                    26TH FLOOR                      NEW YORK                    NY              10019
  JOOR, INC                                  TOM DIDESIDERO                  1239 BROADWAY, 9TH FLOOR                                             NEW YORK                    NY              10001
  JOOR, INC                                                                  PO BOX 392698                                                        PITTSBURGH                  PA              15251
  JORGE ADELER COLLECTION                    JORGE ADELER                    772 WALKER RD.                                                       GREAT FALLS                 VA              22066
  KASSATEX                                                                   PO BOX 1036                                                          CHARLOTTE                   NC              28201
  KINGDOM ANIMALIA LLC                       ATTN: JOSH HENRY ROSENZWEIG     1241 ELECTRIC AVENUE                                                 VENICE                      CA              90291
  LEFTBANK ART                               ATTN: BINDY O'KELLY             14930 ALONDRA BLVD                                                   LA MIRADA                   CA              90638

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                  NAME                                 ATTENTION                        ADDRESS 1                                ADDRESS 2                CITY         STATE       ZIP      COUNTRY
  LIFETIME BRANDS INC.                       JULIE RODRIGUEZ                12 APPLEGATE DRIVE                                                 ROBBINSVILLE       NJ           08691
  LUBIAM                                                                    PO BOX 1036                                                        CHARLOTTE          NC           28201
  LYST LTD                                   ELLIE EGERTON                  7TH FLOOR MINSTER BUILDING          21 MINCING LANE                LONDON                          EC3R 7AG UNITED KINGDOM
  NEI FASHIONS LLC D/B/A PENNY
  PREVILLE                                                                  44 BURLEWS CT.                                                     HACKENSACK         NJ           07601
  OLD HICKORY TANNERY, INC.                  RAQUEL ARGUELLES               970 LOCUST STREET                                                  HICKORY            NC           28602
  ORLANE INC                                 ACCOUNTS RECEIVABLE            40 SAW MILL POND RD                                                EDISON             NJ           08817
  PACIFIC ALLIANCE USA INC                                                  PO BOX 1036                                                        CHARLOTTE          NC           28201
  PERRICONE MD                               ATTN: SUSAN VANDEGRIFT         600 MONTGOMERY STREET               FLOOR 25                       SAN FRANCISCO      CA           94111
  PROCTER & GAMBLE DISTRIBUTING LLC          JACKIE MULLIGAN, TN5           2 PROCTER & GAMBLE PLAZA                                           CINCINNATI         OH           45202
  PROJECT 1920, INC. D/B/A SENREVE           C/O DORSEY & WHITNEY LLP       ATTN JOSEPH ACOSTA                  300 CRESCENT COURT, STE. 400   DALLAS             TX           75201
  PUIG NORTH AMERICA INC                     CAMILLA DEZZI                  183 MADISON AVENUE                  19TH FLOOR                     NEW YORK           NY           10016
  PUIG USA INC                               ATTN: CAMILLA DEZZI            183 MADISON AVENUE                  19TH FLOOR                     NEW YORK           NY           10016
  QUANTUM METRIC, INC.                       ATTN: LEGAL                    10807 NEW ALLEGIANCE DRIVE          STE. 155                       COLORADO SPRINGS   CO           80921
  RECOLOGY                                   ATTN: ASHLEY HUI               250 EXECUTIVE PARK SUITE 2100                                      SAN FRANCISCO      CA           94134
  REPUBLIC CLOTHING GROUP                                                   PO BOX 1036                                                        CHARLOTTE          NC           28201
  ROBERT GRAHAM DESIGNS LLC                                                 PO BOX 1036                                                        CHARLOTTE          NC           28201
  SIRIUS COMPUTER SOLUTIONS, INC             ALAN ABBOTT                    10100 REUNION PLACE                 SUITE 500                      SAN ANTONIO        TX           78216
  SOPHIA WEBSTER                                                            PO BOX 1036                                                        CHARLOTTE          NC           28201
  SPANX                                                                     PO BOX 1036                                                        CHARLOTTE          NC           28201
  STONE ISLAND USA INC                       C/O FERRANTE PLLC              ATTN: JOSEPH SERINO                 5 W 19TH STREET                NEW YORK           NY           10011
  STONE ISLAND USA INC                       C/O WEBHELP LOGBOX USA INC.    1412 BROADWAY                       SUITE 2310                     NEW YORK           NY           10018
  TANYA FARAH                                ATTN: TANYA SOFER              215 LEXINGTON AVE.                  STE 1301                       NEW YORK           NY           10016
  TEREZ UNIVERSE LLC                         DAN WANG                       150 WEST 22ND STREET                12TH FLOOR                     NEW YORK           NY           10011
                                             C/O THE COLLECTED GROUP
  THE COLLECTED GROUP LLC                    COMPANY LLC                    4775 EUCALYPTUS AVE                                                CHINO              CA           91710-9257
  THE LEVY GROUP INC                                                        PO BOX 1036                                                        CHARLOTTE          NC           28201
  TIBI, LLC                                  GORDON E. R. TROY PC           183 HIGHFIELD DRIVE                                                WEST WINDSOR       VT           05089
  TIBI, LLC                                  ATTN: FRANK SMILOVIC           50 INNOVATION DRIVE                                                BRUNSWICK          GA           31525
  TIBI, LLC                                  FRANK SMILOVIC                 100 BROADWAY                        16TH CLOOR                     NEW YORK           NY           10005
  TIBI, LLC                                  GORDON E. R. TROY, PC                                              183 HIGHFIELD DRIVE            WEST WINDSOR       VT           05089
  UNIVERSAL FURNITURE INTERNATIONAL
  INC                                        BENNIE CORBETT                 2575 PENNY ROAD                                                    HIGH POINT         NC           27265
                                             C/O AEM CARNELUTTI - EUGENIO
  VALEXTRA S.P.A.                            MINOLI                         551 MADISON AVENUE                  STE 450                        NEW YORK           NY           10022
  VERITIV OPERATING COMPANY                  MARIANNE NICHOLS               6120 S GILMORE ROAD                                                FAIRFIELD          OH           45014




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                                                            Exhibit AD
                                                        Served via Electronic Mail
                    NAME                                   ATTENTION                                   EMAIL
  10005111 OMOROVICZA COSMETICS INC          ELENA HOGAN                            ELENA.HOGAN@OMOROVICZA.COM
  10005111 OMOROVICZA COSMETICS INC          SARAH DREW                             ELENA.HOGAN@OMOROVICZA.COM
  ADVANGEN LLC                               C/O HAIN CAPITAL HOLDINGS LLC          MCGEE@ADVANGEN.COM.AU
  AEFFE USA, INC                             ACCOUNTS RECEIVABLE                    ABENIN@AEFFEUSA.COM
  ALEXANDRE VAUTHIER SARL                    ATTN: ELISE JOURDAN                    ELISE@ALEXANDREVAUTHIER.COM
  ALLSAINTS WHOLESALE LIMITED                ATTN: LEGAL                            LEGAL@ALLSAINTS.COM
  ALLSAINTS WHOLESALE LIMITED                ATTN: ACCOUNTS RECEIVABLE              ACCOUNTSRECEIVABLE@ALLSAINTS.COM
  ALYN ENTERPRISES, LLC DBA SCANTEXAS        MARY ALYN                              MARY@SCANTEXAS.COM
  AQUAZZURA ITALIA SRL                       FRANCESCO TARCHI                       F.TARCHI@AQUAZZURA.COM
  ASHS LTD                                   SONIA JONES                            SONIA.JONES@ANYAHINDMARCH.COM
  BERNHARDT FURNITURE CO                     JEFF L NORRIS JR                       JEFFNORRIS@BERNHARDT.COM
  BIOEFFECT USA INC.                         LYDIA LOVIG                            LYDIA.LOVIG@BIOEFFECT.COM
  BIZZDESIGN UNITED STATES INC.              ATTN MAARTEN VERSPYCK MIJNSSEN         M.VERSPYCK@BIZZDESIGN.COM
                                             C/O SCHEEF & STONE, LLP ATTN: PETER C.
  BLACKHAWK TRANSPORT, INC.                  LEWIS                                  PETER.LEWIS@SOLIDCOUNSEL.COM
  BORDERX LAB, INC.                          JEFF UNZE                              JEFF@BORDERXLAB.COM
  BOSSI HOLDING INC                          C/O CONTRARIAN FUNDS LLC               ROSE@GEVRIL.COM
  BRANDON VANCE LLC                          DANA PHAM                              DANA@BRANDONVMAXWELL.COM
  CALERES                                    COMMERCIAL COLLECTION CORP OF NY       ABOYER@COMMERCIALCOLLECTION.COM
  CAROLEE DESIGNS                            ELDA FISTANI                           EFISTANI@DECONIC.COM
  CELLCO PARTNERSHIP D/B/A VERIZON
  WIRELESS                                   PAUL ADAMEC C/O VERIZON                 PAUL.ADAMEC@VERIZON.COM
  CELLCO PARTNERSHIP D/B/A VERIZON           AKA VERIZON BUSINESS GLOBAL LLC
  WIRELESS                                   ATTN: WILLIAM M VERMETTE                WILLIAM.VERMETTE@VERIZON.COM
  CO COLLECTION LLC                          ATTN: PAOLA CORSO                       PAOLA@CO-COLLECTIONS.COM
  CRAWFORD AND CO PRODUCTIONS INC            ZACH CRAWFORD                           ZACH@CRAWFORDANDCOPRODUCTIONS.COM
  CYRANO SARL MADEMOISELLE                   PASCAL GRINCOURT                        PASCAL@MADEMOISELLEAGENCY.FR
                                                                                     ROSEANN@DNAMODELS.COM
  DNA MODEL MANAGEMENT LLC                   ROSEANN RUSTICI                         ROSEANN.ACCT@DNAMODELS.COM
  DYSON, INC.                                PETER J. BEHMKE                         PETER.BEHMKE@HSF.COM
  EUROPERFUMES                               ATTN: VICKEN ARSLANIAN                  HANNAH@EUROPARFUM.COM
  FRANK & EILEEN LLC                         AUDREY MCLOGHLIN                        ACCOUNTING@FRANKANDEILEEN.COM
  FUZZI SPA                                  CROCE ANTONIO SCREPIS                   MPUCCI@FUZZ.IT
  FUZZI SPA                                  C/O WEBHELP LOGBOX USA INC              DMASI@WPS.WEBHELP.COM
  GRANITE TELECOMMUNICATIONS LLC                                                     BANKRUPTCY@GRANITENET.COM
  HARBOR BRANDS GROUP                        ATTN: JIM FOX                           JIM.FOX@HARBORFTW.COM
  HEIDI KLEIN INC                            CAROLE HAYWARD                          CAROLEH@HEIDIKLEIN.COM
  HUNTING SEASON                             AIXA CAMPO                              AIXA@CORONA-HOLDINGS.COM
  HUNTING SEASON LLC                         DANIELLE CORONA                         DANIELLE@HUNTING-SEASON.COM
In re: Neiman Marcus Group LTD LLC, et al.
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                                                            Exhibit AD
                                                        Served via Electronic Mail
                    NAME                                  ATTENTION                                      EMAIL
  IMAX CORPORATION                                                                   SJRENTY@IMAXCORP.COM
  INES DI SANTO CORP                         VERONICA DI SANTO                       VERONICA@INESDISANTO.COM
  JM-BMM, LLC                                HARRY DREIZEN, GENERAL COUNSEL          HARRY@MOINIANGROUP.COM
  JM-BMM, LLC                                C/O ADAM L. ROSEN PLLC                  ADAM.ROSEN@ALRCOUNSEL.COM
  JOOR, INC                                  TOM DIDESIDERO                          WCHEN@JOOR.COM
  JORGE ADELER COLLECTION                    JORGE ADELER                            JORGE@JORGEADELER.COM
  KINGDOM ANIMALIA LLC                       ATTN: JOSH HENRY ROSENZWEIG             LUCREZIA@HOURGLASSCOSMETICS.COM
  LEFTBANK ART                               ATTN: BINDY O'KELLY                     FINANCE@LEFTBANKART.COM
  LIFETIME BRANDS INC.                       JULIE RODRIGUEZ                         JULIE.RODRIGUEZ@LIFETIMEBRANDS.COM
  LYST LTD                                   ELLIE EGERTON                           ACCOUNTS@LYST.COM
  NEI FASHIONS LLC D/B/A PENNY PREVILLE                                              ERNIER@NEIGROUP.COM
  OLD HICKORY TANNERY, INC.                  RAQUEL ARGUELLES                        RAQUEL.ARGUELLES@OHTINC.COM
  ORLANE INC                                 ACCOUNTS RECEIVABLE                     ELISA.GIRAUDI@KELEMATA.IT
  PERRICONE MD                               ATTN: SUSAN VANDEGRIFT                  SVANDEGRIFT@PERRICONEMD.COM
  PROCTER & GAMBLE DISTRIBUTING LLC          JACKIE MULLIGAN, TN5                    MULLIGAN.JS@PG.COM
                                             C/O DORSEY & WHITNEY LLP ATTN JOSEPH
  PROJECT 1920, INC. D/B/A SENREVE           ACOSTA                               ACOSTA.JOSEPH@DORSEY.COM
  PUIG NORTH AMERICA INC                     CAMILLA DEZZI                        US.CUSTOMER.SERVICE@PUIG.COM
  PUIG USA INC                               ATTN: CAMILLA DEZZI                  US.CUSTOMER.SERVICE@PUIG.COM
  QUANTUM METRIC, INC.                       ATTN: LEGAL                          LEGAL@QUANTUMMETRIC.COM
  RECOLOGY                                   ATTN: ASHLEY HUI                     AHUI@RECOLOGY.COM
  SIRIUS COMPUTER SOLUTIONS, INC             ALAN ABBOTT                          JOHN.CARRASCO@SIRIUSCOM.COM
                                             C/O FERRANTE PLLC ATTN: JOSEPH
  STONE ISLAND USA INC                       SERINO                               JOE.SERINO@SPWCO.US
  STONE ISLAND USA INC                       C/O WEBHELP LOGBOX USA INC.          DMASI@WPS.WEBHELP.COM
  TANYA FARAH                                ATTN: TANYA SOFER                    TANYA@TANYAFARAH.COM
  TEREZ UNIVERSE LLC                         DAN WANG                             DAN@TEREZ.COM
                                             C/O THE COLLECTED GROUP COMPANY      MARIA.QUINONEZ@THECOLLECTEDGROUP.COM
  THE COLLECTED GROUP LLC                    LLC                                  ASHOK.RAMADOSS@THECOLLECTEDGROUP.COM
  TIBI, LLC                                  ATTN: FRANK SMILOVIC                 FRANK.SMILOVIC@TIBI.COM
  TIBI, LLC                                  GORDON E. R. TROY, PC                OFFICE@WEBTM.COM
  UNIVERSAL FURNITURE INTERNATIONAL INC      BENNIE CORBETT                       BCORBETT@UNIVERSALFURNITURE.COM
  VALEXTRA S.P.A.                            C/O AEM CARNELUTTI - EUGENIO MINOLI  EMINOLI@AEMCARNELUTTI.COM
  VERITIV OPERATING COMPANY                  MARIANNE NICHOLS                     MARIANNE.NICHOLS@VERITIVCORP.COM




In re: Neiman Marcus Group LTD LLC, et al.
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                NAME                                     ATTENTION                        ADDRESS 1                  ADDRESS 2           CITY      STATE     ZIP
  AT&T                                       ACCT 831-000-7734 694              PO BOX 5019                                          CAROL STREAM IL     60197-5019
  ALA MOANA CENTER ASSOCIATION                                                  PO BOX 29960                                         HONOLULU     HI     96820-2360
                                             KAREN CAVAGNARO, AT&T LEGAL
  AT&T CORP.                                 DEPARTMENT                         ONE AT&T WAY                    SUITE 3A104          BEDMINSTER    NJ     07921
                                             C/O ARNOLD & PORTER KAYE                                           70 WEST MADISON
  AT&T CORP.                                 SCHOLER LLP                        ATTN: BRIAN J. LOHAN            STREET SUITE 4200    CHICAGO       IL     60602
                                             AS ASSIGNEE OF FEDEX
  FEDEX CORPORATE SERVICES INC.              EXPRESS/GROUND/FREIGHT/OFFICE      39665 AIRWAYS BLVD              MODULE G 3RD FLOOR   MEMPHIS       TN     38116-5017
  GGP ALA MOANA LLC-ALA MOANA CTR            ATTN: JULIE M. BOWDEN              350 N ORLEANS ST                SUITE 300            CHICAGO       IL     60654
  GGP NATICK WEST LLC                        ATTN: JULIE M. BOWDEN              350 N ORLEANS ST                SUITE 300            CHICAGO       IL     60654
                                                                                ATTN: JAMES S. CARR, ESQ. AND   101 PARK AVE 29TH
  TATA CONSULTANCY SERVICES LIMITED          C/O KELLEY DRYE & WARREN LLP       SEAN T. WILSON, ESQ.            FLOOR                NEW YORK      NY     10178
                                             ATTN: LATESH SEWANI & JASON
  TATA CONSULTANCY SERVICES LIMITED          BARTLETT, ESQ.                     379 THORNALL STREET             4TH FLOOR            EDISON        NJ     08837
                                             ATTN: JASON BARTLETT, LEGAL
  TATA CONSULTANCY SERVICES LIMITED          DEPARTMENT                         101 PARK AVENUE, 26TH FLOOR                          NEW YORK      NY     10178




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                        NAME                       ATTENTION                                   EMAIL

                AT&T CORP.       KAREN CAVAGNARO, AT&T LEGAL DEPARTMENT            KM1426@ATT.COM
                                 C/O ARNOLD & PORTER KAYE SCHOLER LLP ATTN:
                AT&T CORP.       BRIAN J. LOHAN                                    BRIAN.LOHAN@ARNOLDPORTER.COM
                FEDEX CORPORATE AS ASSIGNEE OF FEDEX
                SERVICES INC.    EXPRESS/GROUND/FREIGHT/OFFICE                     BANKRUPTCY@FEDEX.COM
                TATA CONSULTANCY C/O KELLEY DRYE & WARREN LLP ATTN: JAMES S.       JCARR@KELLEYDRYE.COM
                SERVICES LIMITED CARR, ESQ. AND SEAN T. WILSON, ESQ.               SWILSON@KELLEYDRYE.COM
                TATA CONSULTANCY                                                   JASON.BARTLETT@TCS.COM
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